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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA
AMY WAX,

                                           ATTACHMENT TO
                      Plaintiff,
                                           VERIFIED COMPLAINT
    v.

UNIVERSITY OF PENNSYLVANIA,
BOARD OF TRUSTEES OF THE
UNIVERSITY OF PENNSYLVANIA,




                      Defendants.


                                   EXHIBITS
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                Freedom at Penn.


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                Governing Sanctions Taken Against Members of
                the Faculty.

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C. Advice and Guidance
Any questions concerning potential conflicts of interest, appropriate
                                                                              II.E.11. Decreases in Salary
distribution of effort, or other problems associated with externally          (Source: Standing Resolution of the Trustees, October 16, 1959; revised
sponsored research, should be addressed to the ofﬁce of the Vice Provost      September 9, 1983; revised, Ofﬁce of the Provost, Memorandum No.
for Research.                                                                 190, June 8, 1990 (https://www.upenn.edu/provost/images/uploads/
                                                                              Decreases_in_Salary_(revised_1990).pdf))
VI. Requirements for Reporting Extramural Activities                          Academic base salaries of faculty members may be decreased only in
and Obligations                                                               accordance with an expressed agreement between the faculty member
At the end of each academic year, each faculty member shall submit            and the University or because of ﬁnancial exigency. Decreases for
to their department chair and dean a report of the faculty member's           ﬁnancial exigency shall be limited to the following:
extramural activities during that year, containing the following
information:                                                                    • Simultaneous uniform percentage decreases in the academic base
                                                                                  salaries of all faculty members in the University; and
1. Number of days (or hours, if preferred) of extramural activities for
                                                                                • Simultaneous uniform percentage decreases in the academic base
   fee (include consulting, professional practice, and outside teaching
                                                                                  salaries of a class of faculty members such as a particular rank,
   commitments).
                                                                                  department or school.
2. Names of organizations (government agencies, private ﬁrms,
   partnerships) for which the extramural activities conducted                No decrease for ﬁnancial exigency shall be made except after
   represented a continuing engagement.                                       consultation, initiated by the President, with the Executive Committee
3. Number of days (or hours, if preferred) of extramural activities on        of the Faculty Senate or with representatives selected by the class
   behalf of business enterprises in which the faculty member has a           of faculty members subject to a proposed decrease. Consultation
   ﬁnancial interest or ofﬁcial position.                                     shall cover such issues as the existence in fact of a ﬁnancial exigency,
                                                                              the appropriateness of the selection of the particular class for salary
4. Names of business organizations in which the faculty member is a
                                                                              decrease, alternative actions and the like.
   signiﬁcant owner, partner, ofﬁcer, director, or staff member.
                                                                              If after such consultation the academic base salaries of faculty members
The last item shall also be reported by all part-time faculty members for
                                                                              are decreased, with or without the concurrence of the Senate or the
whom any of the following conditions obtain:
                                                                              representatives of the class of faculty members, the President shall notify
1. The organization is a supplier of the University and the part-time         the affected faculty members, in writing, of
   faculty member participates in the decision to engage its services.
                                                                              1. the fact that the academic base salaries of all of the faculty members
2. The organization supplies goods or services to the University to be
                                                                                 in the University, or of a described class of faculty members, have
   used in the performance of externally sponsored research projects in
                                                                                 been simultaneously decreased,
   which the part-time faculty member participates.
                                                                              2. the formula applied uniformly to determine the amount of the
3. The part-time faculty member is privy to conﬁdential University
                                                                                 decrease, and
   information that could be used to the business advantage of the
                                                                              3. the reasons for the action taken.
   organization.
4. The afﬁliation of the part-time faculty member with the University
   may be mentioned in any publication of the organization.
                                                                              II.E.12. Faculty Grievance Procedure
                                                                              (Source: Ofﬁces of the President and Provost, Almanac, November 21,
Forms for the reporting of extramural activity are available from the Ofﬁce   1978; Addenda, Almanac, December 5, 1978; revised, Ofﬁce of the Provost,
of the Provost.                                                               Almanac, August 30, 1988; revised, Almanac, May 24, 1994 (https://
                                                                              almanac.upenn.edu/archive/v40pdf/n34/052494.pdf); revised, Almanac, -
All faculty members must also report on a continuing and timely basis to
                                                                              August 26, 2014 (https://almanac.upenn.edu/archive/volumes/v61/n02/
the appropriate administrators the relevant circumstances, as noted in
                                                                              faculty-grievance-procedure.html).)
the sections cited, whenever any of the following conditions are met:

1. They have or wish to initiate a relationship with an extramural
                                                                              I. Applicability
   business organization that is or may become a supplier or competitor       This grievance procedure is available to any member of the standing
   of the University (see section II.E.10.A. on Policy on Disclosure of       faculty, standing faculty-clinician-educator, associated faculty, academic
   Relationships with Organizations that are Suppliers or Potential           support staff, or compensated emeritus faculty at the University of
   Competitors of the University).                                            Pennsylvania (members of these classes are referred to in this document
                                                                              as “faculty” or “faculty members”).
2. They wish to undertake an engagement (grant, contract, client, etc.)
   through an extramural organization (see section II.E.10.B. on Policy       A grievance is a claim that action has been taken that involves a faculty
   on Acceptance of Engagements through Extramural Organizations).            member's personnel status or the terms or conditions of employment and
3. They intend to participate in a sponsored research project that may        that is:
   be related to their other sponsored research projects, to any of their
   extramural consulting relationships, or to any organization in which       1. arbitrary or capricious;
   they have signiﬁcant managerial or ﬁnancial interests (see section         2. discriminatory with regard to race, color, sex, sexual orientation,
   II.E.10 on Policy on Acceptance of Engagements through Extramural             gender identity, religion, creed, national or ethnic origin, citizenship
   Organizations).




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    status, age, disability, veteran status or any other legally protected       Since grievances may be cumulative, a faculty member may base
    class status; or                                                             their grievance on prior as well as current events or conditions. The
3. not in compliance with University procedures or regulations.                  grievance must be initiated not later than two years after the grievant
                                                                                 becomes aware of the initial event complained of and not later than
II. Faculty Grievance Commission                                                 four months after the end of the faculty member's compensated
The Faculty Grievance Commission (the Commission) will be composed               faculty appointment.
of three members of the standing faculty holding the rank of Professor.       B. After the ﬁling of a complaint, the grievant and the Chair of the
They will be appointed by the Senate Executive Committee for staggered           Commission (or an individual the Chair designates for this role)
three-year terms expiring June 30. These three members will serve                will meet to discuss the grounds for the grievance. If the Chair
serially as Chair-elect, Chair, and past-Chair of the Commission.                believes that the faculty member's claims raise issues of academic
                                                                                 freedom, or if the grievant so asserts, the Chair will send a copy
The Chair of the Commission will serve as the primary administrator of           of the grievance to the Senate Committee on Academic Freedom
the Faculty Grievance Procedure, and will be the Presiding Ofﬁcer at any         and Responsibility (SCAFR), which will promptly determine whether
grievance hearings during the Chair’s service in that position. The Chair-       the grievance raises signiﬁcant questions of academic freedom.
elect will observe the functions of the Commission, and additionally will        If so, the Commission will not hear the matter until SCAFR has
serve as one of three hearing panel members should a complaint proceed           resolved such questions. SCAFR will communicate its ﬁndings to
to a hearing. The past-Chair will observe the functions of the Commission        the Commission which will accept SCAFR’s ﬁndings with respect to
and serve as an alternate to the Chair and the Chair-elect in the roles          the academic freedom portions of the complaint. If the complaint
described above. Each member of the Commission may substitute for                that is concerned with academic freedom is brought against a
any other member when a member is unable to serve. If for any reason             University administrator, Dean, or involves more than one school or
a member of the Commission is unable to serve, the Commission, with              University policies of general interest, SCAFR will have jurisdiction.
the advice of the Chair of the Faculty Senate, may replace its missing           If the complaint concerns matters occurring in one school, the chair
members with former Commission members who still hold compensated                of SCAFR will forward the grievance to the chair of the appropriate
faculty appointments.                                                            school committee on academic freedom and responsibility, which will
                                                                                 have jurisdiction in this matter.
There will be an independent Legal Ofﬁcer to assist the Commission in
                                                                              C. For complaints not deemed to be signiﬁcantly concerned with
its operations. The Legal Ofﬁcer's appointment and terms of employment
                                                                                 academic freedom, the Chair will respond to the complaint by
will be jointly determined by the Chair of the Faculty Senate and the
                                                                                 discussing with the grievant possible options for resolution. The
Provost. Once appointed, the Legal Ofﬁcer's professional responsibility
                                                                                 Chair or the Chair’s designee may also meet with the parties against
will be to the Commission.
                                                                                 whom the grievance has been ﬁled to pursue possible resolution.
There will be a hearings list consisting of at least 30 persons selected by      The Chair may also arrange a meeting with the grievant and the
the Senate Executive Committee (SEC) from members of the standing                person(s) against whom s/he is bringing the grievance in an attempt
and associated faculties. The list should be broadly representative of           to mediate the dispute. The Chair, at their discretion, may include
these faculties and include women and members of underrepresented                someone trained in formal mediation procedures from the university
minorities. The hearings list may not include faculty members holding            in such discussions. The Chair may gather such information and
administrative appointments at the level of department Chair or above.           documentation from both parties and from other sources as the Chair
Faculty members will serve on the hearing list for three-year terms              deems useful to aid in the resolution of the complaint.
expiring on June 30. Appointments should be arranged so that the              D. If a resolution to the complaint cannot be reached, the Commission
terms of approximately one-third of the members will expire each year.           will evaluate whether a hearing is warranted based on the information
Replacements will be selected by SEC as needed.                                  available. The Commission may decide not to proceed with a hearing,
                                                                                 for example, because the claim is deemed not to be a grievance as
III. Pre-Hearing Procedures                                                      deﬁned under Section I, because the matter at issue has been the
A. Before ﬁling a grievance with the Commission, a faculty member                subject of a previous grievance, or because the grievance is of so
   must ﬁrst review the complaint with their Department Chair or Dean,           little consequence or merit that no panel should be created.
   or, alternatively, the Vice Provost for Faculty in a case in which the        Once the Commission has decided to proceed with the grievance
   grievance involves the dean. Every effort should be made to bring             hearing, the Chair will so inform in writing the grievant, the dean, or
   about an equitable resolution among the parties. If a resolution is not       department chair, as well as the Provost. This document will ask the
   reached, the Department Chair, Dean, or the Vice Provost for Faculty,         Provost to name the University's representative (the respondent)
   upon request of the grievant, must provide the grievant with a written        who will act on behalf of all the persons complained of. The grievant
   statement of the reasons for the actions which are the subject of             and the respondent may each designate a University colleague to
   the complaint. Before ﬁling a grievance with the Commission, the              act as advisors during the hearing. The grievant's colleague may be
   faculty member is advised to consult with the University Ombuds,              any member of the standing, associated, or emeritus faculty; the
   to determine whether the Ombuds' ofﬁce can be of assistance in                respondent's colleague must be selected from the group of persons
   resolving the dispute, and whether the Commission is the appropriate          eligible to serve on panels. A colleague may not serve as a legal
   body to hear the potential complaint.                                         advocate, but may aid the grievant and the respondent in preparation
   If after these consultations, the faculty member still wishes to ﬁle          and presentation of their respective cases. Neither the grievant nor
   a complaint, the faculty member may initiate a grievance with the             the University may have counsel present in the hearing room; both
   Commission. The faculty member must submit written notice of the              parties may consult with attorneys outside of the hearing.
   complaint, and the request for a hearing will be submitted to the          E. For each hearing, the Chair will form a hearing panel of three persons,
   Commission through its Chair. The faculty member must provide                 including
   copies to the Provost and the Department Chair or Dean.


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     1. the Chair-elect of the Commission, and                                dossiers are to be examined. The panel may request the Presiding Ofﬁcer
     2. two faculty members from the hearings list selected by the Chair      to obtain expert opinion from inside or outside the University.
        with due regard for relevant subject matter expertise, balance,
                                                                              If documentary evidence is needed by the grievant or the respondent
        and representativeness, and other considerations the Chair
                                                                              in the preparation of their case, or by the panel in the course of its
        may deem important. As soon as possible after receiving notice
                                                                              deliberations, application will be made to the Presiding Ofﬁcer. The
        from the Chair of the initial panel membership, either party may
                                                                              Presiding Ofﬁcer will determine whether the evidence requested is
        move the Commission to disqualify individuals from service on
                                                                              relevant. The Presiding Ofﬁcer will then obtain all relevant evidence.
        the hearing panel for cause, such as conflicts of interest due to
                                                                              All such evidence will be available to the panel, the respondent, the
        personal relationships with individuals involved. In addition, both
                                                                              colleagues, and, subject to the restrictions of conﬁdentiality set forth
        the grievant and the respondent may exercise one peremptory
                                                                              below, to the grievant.
        strike to remove a member of the hearing panel without cause,
        although neither of the parties may move to strike the Chair-elect.   The conﬁdentiality of peer evaluation materials, including letters of
        A party choosing to exercise this right must inform the Chair in      recommendation and evaluation, is integral to the tenure process.
        writing within one week of learning of the proposed composition       Accordingly, while the Commission may obtain peer evaluation materials,
        of the panel. Replacements for disqualiﬁed panel members will be      if during the hearings, the grievant asks that such materials be presented
        selected by the Chair of the Commission from the list of potential    to the panel, the Presiding Ofﬁcer will consider the following factors to
        hearing members.                                                      determine whether disclosure to the panel is appropriate. The Presiding
                                                                              Ofﬁcer will take into account, among other things, whether the grievant
IV. Hearings                                                                  has shown cause to believe that the grievance is sufﬁciently well-founded
Hearings should begin within two months after the acceptance of a             to justify examination of conﬁdential peer evaluation materials, and
grievance by the Commission. Hearings will be convened and organized          whether examination of conﬁdential peer evaluation materials is essential
by the Chair of the Commission, assisted by the Legal Ofﬁcer who may          to reach a judgment concerning the substance of the grievance.
advise the Chair on procedural and evidentiary matters. The decision
on the merits of a grievance will be made by the panel after hearings in      If the Presiding Ofﬁcer decides that peer evaluation materials are relevant
which the grievant and the respondent have the opportunity to present         and essential to reaching a judgment concerting the substance of the
their cases. Where consistent with conﬁdentiality rules outlined in           grievance, the Presiding Ofﬁcer will make such materials available for
this section, each party should submit evidence and arguments in              examination by the hearing panel. Under no circumstances may such
written form for prior distribution to the other side and to the panel.       conﬁdential materials be provided by the Grievance Commission or
The Chair, as Presiding Ofﬁcer, has the power to call witnesses and to        hearing panel to either the grievant or the respondent or their advisors.
introduce documents and obtain expert opinion from inside or outside
                                                                              Like all other members of the faculty, members of departmental or school
the University. Each side will have the right to address questions to
                                                                              personnel committees may testify in grievance hearings, although they
witnesses, and members of the panel may question witnesses during the
                                                                              will not be required to testify in any such proceeding. Members of such
hearing.
                                                                              committees who agree to appear in grievance hearings may testify
The hearings will be audio-recorded, and such recording will be kept          speciﬁcally about their own participation in committee deliberations,
in the custody of the Commission. The hearing panel, the grievant,            present the committee's vote, and give a general characterization of
the respondent, and their advisors will have reasonable access to this        its discussion. They are explicitly prohibited from disclosing direct
recording during the processing of a grievance. No copies of the whole or     quotations, positions, or votes of other individuals on these committees.
part of any such recording may be made without express permission of,
                                                                              Unreasonable delays by either side may subject the offending party to
and supervision by, the Commission. Such permission will be granted to
                                                                              sanctions. In cases where primary blame for the delay may be attributed
the Provost and the grievant upon request.
                                                                              to one side, the Commission has the right to suspend or terminate
A hearing will follow an agenda prepared by the Chair that is based           proceedings and recommend that the panel send to the Provost an
on demonstration of relevance by the grievant or the respondent. The          accusatory report including reasons for this suspension or termination
Chair may seek advice from the Legal Ofﬁcer as to the admissibility or        and recommendations for action. A copy of this document will be sent to
relevance of issues, oral statements, and other evidence presented.           the Chair of the Faculty Senate.
However, the ﬁnal decision on admissibility or relevance will be made by
                                                                              The Commission may establish further rules and procedures to govern
the Chair.
                                                                              its operations. Where procedures have not been adopted, the Presiding
The Commission will have access to all documentary evidence that              Ofﬁcer may rule on the matter and may seek the advice of the Legal
is in the custody of or under the control of the person or persons who        Ofﬁcer in making such rulings. Appeals from rulings established in
took the action complained of or of the grievant and that is deemed by        this way may be presented to the SEC to be decided by majority vote.
the Commission to be relevant to the grievance, with the exception of         Procedures adopted under this provision should be included in the
such evidence that was prepared speciﬁcally in connection with the            Commission's annual report.
Chair’s efforts to mediate and resolve the complaint described in Section
III.b above. The Presiding Ofﬁcer has the authority to obtain additional      V. Findings
documents including the dossiers of other comparable members of               Upon conclusion of the hearings and after consultation with the Presiding
the same department, or if none exists, comparable members of the             Ofﬁcer and the Legal Advisor concerning the format of the report, the
same school who are alleged to have recently or currently received            panel will prepare a written report to the Provost which may include a
more favorable treatment. Such dossiers will be examined and held             minority opinion. The report will state each element of the grievance and
in accordance with the conﬁdentiality procedures described below in           in separate, clearly labeled sections record the ﬁndings of fact and the
subsection e. Notice is to be given to those faculty members whose            recommendations for action by the Provost.


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As part of its recommendations, the panel may propose remedies. In               members of panels, grievants, respondents, colleagues, witnesses and
cases where reappointment, promotion or tenure has been denied, it may           all other concerned parties have the professional obligation to maintain
recommend a full review and reevaluation of the case. The panel may              conﬁdentiality with respect to oral and documentary evidence presented
also suggest to the Provost procedures that might be followed in such a          and deliberations occurring during the processing of grievances (except
reevaluation, but the choice of procedures remains with the Provost.             as necessary for the preparation of a grievance or as subject to legal
                                                                                 process, or as otherwise noted in this document). Any breaches of
However, a panel will not have the responsibility or the authority to            conﬁdentiality will be reported by the Chair of the Commission to the
evaluate professional competence either in the case of an individual             Provost and the Chair of the Faculty Senate. In the event of a breach of
or in comparison with other individuals. If the Provost, on receiving the        conﬁdentiality, the Commission has the right to terminate proceedings. In
panel's report, decides that a reevaluation will be carried out, the Provost     such a case it may advise the panel that it should send to the Provost its
will ensure that the recommendations of the panel and the relevant               recommendations in a report.
supporting documentation are included in the documents considered in
that reevaluation.                                                               Except as otherwise provided in this document or as authorized by the
                                                                                 Provost or the Chair of the Faculty Senate, the report of a panel will be
The Presiding Ofﬁcer will distribute the panel's report to the Provost,          treated as conﬁdential by all participants in a grievance hearing and by all
the dean, the grievant, the respondent, the person or persons who took           members of the University community.
the action complained of, and the Chair of the Faculty Senate. If the
Provost wishes to consult with the Presiding Ofﬁcer to obtain more               VII. Hearings by Senate Committee on Academic
information about the case, the Presiding Ofﬁcer will provide details and
                                                                                 Freedom and Responsibility
make available the full documentation, including a copy of the hearing
                                                                                 In cases in which reappointment, promotion, or tenure has been denied to
recording.
                                                                                 the grievant, and in which the Provost has declined or failed to implement
If the grievance is withdrawn or settled prior to the completion of the          the recommendations of the panel, within one month after the issuance
hearings, the Presiding Ofﬁcer will dismiss the panel with thanks, and           of the Provost's response, the grievant may request a hearing before
no report will be prepared. However, if the hearings are completed and           SCAFR to review the Provost’s decision. The report of the panel and the
the panel submits a report to the Provost, the Presiding Ofﬁcer will be          Provost's decision will be made available to SCAFR which will then decide
informed by the Provost when ﬁnal action on the grievance has been               whether to hold its own hearing on the matter. SCAFR will also have
taken within the University. The Presiding Ofﬁcer will then dissolve the         access to all evidence presented to the panel and to the records of the
panel.                                                                           grievance hearings.

After the receipt of the panel's ﬁnal report, the Presiding Ofﬁcer will return   SCAFR will follow the procedures outlined in Part IV of these Grievance
all borrowed documents to their owners and turn over to the Commission           Procedures, except that the parties will not be permitted to introduce
a complete ﬁle of the case for secure retention — including one complete         evidence before SCAFR. The ﬁndings of fact made by the panel will be
set of documents and the audio-recording of the hearings. The Presiding          binding on SCAFR, except to the extent SCAFR ﬁnds from the records
Ofﬁcer will destroy all other copies of the documents used by the panel.         that the Commission’s ﬁndings are not substantially supported by
The conﬁdentiality of peer evaluation materials, including outside letters,      the evidence. SCAFR will issue an opinion as to whether the Provost's
will be preserved by the Commission. Except when the Chair of the                action in declining or failing to implement the recommendations of the
Commission determines otherwise, the complete ﬁle will be sent to the            panel was reasonable. If, however, SCAFR ﬁnds that there is signiﬁcant
archive for permanent storage according to the University archives policy        evidence not previously available to the panel, SCAFR may return the
for six years after the grievance has terminated. However, the panel's           case to the Presiding Ofﬁcer for reconsideration by the panel.
report will be kept permanently on ﬁle along with the Provost's response.
                                                                                 SCAFR will promptly report its ﬁndings and recommendations to the
Although the panel's report is to be accorded great weight, it is advisory       President, with copies to the Provost, the Chair of the Commission, the
and not binding upon the Provost. The Provost's decision will be                 panel, the Chair of the Faculty Senate, the grievant and the respondent,
communicated in writing without undue delay to the Chair of the                  and the Almanac for publication.
Commission, the grievant, and the respondent.
                                                                                 VIII. Expenses
In the event the Provost declines to implement one or more of the                The Commission's appropriate expenses for processing a grievance,
Commission’s recommendations, the written communication will include             including compensation for the Legal Ofﬁcer, will be met from University
the detailed reasons for the failure to adopt the relevant recommendation        resources. It will be the responsibility of the Presiding Ofﬁcer to
and will be sent also to the Chair of the Faculty Senate.                        determine what is appropriate; such expenses will not include any
                                                                                 per diem expenses, released time charges, or travel expenses for any
If the grievance proceeding identiﬁes an administrative action or practice
                                                                                 participant in the hearings. To the extent possible, administrative and
that seemingly violated University procedures or otherwise led to
                                                                                 secretarial services will be provided by the ofﬁce of the Senate. Services
inequitable treatment, the Commission on behalf of itself or the panel
                                                                                 that cannot be provided in this way and other appropriate expenses
should bring the matter to the attention of the Provost and the Chair
                                                                                 should be charged to the Faculty Senate. These charges will be under the
of the Faculty Senate. The Provost and the Chair of the Faculty Senate
                                                                                 administration of the Chair of the Grievance Commission.
should examine the matter and see to it that appropriate corrections are
made if needed. Within six months they will inform the Senate Executive
                                                                                 IX. Annual Report
Committee concerning the problem and its resolution.
                                                                                 At the end of each academic year, the Commission will write a report
VI. Conﬁdentiality                                                               describing its activities and giving a summary account of the cases
                                                                                 completed or in progress. The report will be sent to the president, the
The work of the Commission and its panels requires the highest level of
                                                                                 Provost, and the Chair of the Faculty Senate. The Commission must
sensitivity to the privacy of all concerned. Members of the Commission,

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send a separate report to the Almanac for publication. This report must       govern the establishment, merger and closing of departments, divisions
be written with due regard for the maintenance of conﬁdentiality of any       and similar entities (hereinafter “departments”) within the schools of the
involved parties, and should contain only a brief summary of the matters      University.
addressed or decided.
                                                                              Although the organization of a school into departments is an

II.E.13. Transfers of Faculty Members or                                      administrative decision, the dean should make a recommendation
                                                                              concerning the establishment, merger or closing of a department only
Terminations of Faculty Appointments                                          after careful study and consultation with involved faculty inside and

Resulting from Discontinuation of                                             outside the school, including discussion in a meeting of the faculty of the
                                                                              school. The process leading to such recommendations requires special
Programs                                                                      care in reviewing possible courses of action, special efforts to consult
                                                                              early and often with interested parties, and special sensitivity to the
(Source: Standing Resolution of the Trustees, September 9, 1983 (https://
                                                                              legitimate interests of faculty who may be affected.
archives.upenn.edu/digitized-resources/docs-pubs/trustees-minutes/
minutes-1983/september-9/))
                                                                              Careful Study
Where a faculty or school is discontinued for valid academic or ﬁnancial      The decision to establish, merge or close a department should be based
considerations in accordance with University procedures, an attempt to        upon academic considerations and priorities as determined by the faculty
relocate members of the Standing Faculty and the Associated Faculty           as a whole or appropriate committees hereof. Accordingly, there should
within the University shall be made. In considering any transfer of a         be early and meaningful faculty involvement in the process leading
faculty member from one faculty to another, the rights of the faculty         to decisions relating to the creation, reorganization or reduction of
as expressed in the Statutes of the Trustees shall not be impaired. The       instructional and research programs.
University’s obligation to those faculty members whose academic base
has been terminated must be balanced with the considered opinion of the       Schools having a departmental structure should have regular reviews
receiving faculty on the suitability of any transfer. The ﬁnal decision on    of departments. Departmental reviews should be used to provide
any transfer from one faculty to another is made by the Trustees on the       departments with timely notice of any shortcomings and the need for
recommendation of the President and Provost.                                  improvement and to provide school decision-makers with information
                                                                              essential to a sound evaluation of the department. Such reviews also
Where a program or department within a faculty is discontinued for valid      provide formal and informal opportunities to alert departments to the
academic or ﬁnancial considerations, in accordance with University            school’s plans. Departmental reviews should not be triggered by speciﬁc
procedures, the faculty concerned, and its dean, shall attempt to relocate    proposals for closing or making other adverse changes to a department.
members of the Standing Faculty and Associated Faculty in other               However, when a closing is being considered, there should be a timely
programs or departments within the faculty. If suitable intrafaculty          external review.
transfer cannot be effected, the possibility of transfer to another faculty
shall be pursued in accordance with the above paragraph.                      Consultation
                                                                              1. Most, if not all, schools, and the University as a whole, have faculty
If, after full exploration of the opportunities for transfer, no suitable        committees charged with responsibility to review planning and
appointment within the University can be found for faculty members               budget decisions. Such committees should be involved in the process
affected by the discontinuation of a school, department or program, and if       leading to decisions to establish, merge or close departments.
the continuation of their salaries would become an undue burden on the           However, such reviews are not substitutes for early and frequent
University, proceedings to terminate academic tenure under the ﬁnancial          consultation with the faculty of the affected departments themselves
exigency provisions may be implemented.                                          and/or with the faculty as a whole. Consultation should include the
                                                                                 opportunity for thorough discussion at a meeting of the faculty of
(See page 21 - Standing Resolution of the Trustees, September 9, 1983
                                                                                 the school. Consultation also will require soliciting an advisory vote,
(https://archives.upenn.edu/digitized-resources/docs-pubs/trustees-
                                                                                 in favor of or against the proposed course of action, from those
minutes/minutes-1983/september-9/))
                                                                                 members of the faculty of the school with voting privileges. Although

II.E.14. Procedures for the Establishment,                                       such vote is advisory only, in most circumstances the dean should
                                                                                 act in accordance with the advice received.
Merger and Closing of Departments,                                            2. Action to establish, merge or close departments within one school

Divisions and Similar Entities within                                            may have serious implications for the activities and resources of
                                                                                 departments in other schools. At such time as a dean initiates
Schools                                                                          consultation with the faculty of the school directly affected, the dean
(Source: Ofﬁces of the President and Provost, Almanac, September 5 1995;         should send a communication to all other deans requesting that they
proposed, for comment, Almanac, April 30, 2002 and approved, Almanac,            bring the possibility of the action to the attention of their colleagues
September 3, 2002; revised, as Article 10, Statutes of the Trustees,             who may be interested and inviting comment.
November 2, 2001 (https://secretary.upenn.edu/trustees-governance/
statutes-trustees/#ten))                                                      Informing Departments of Recommendations to Close
                                                                              1. Given that department closings typically follow a protracted period
According to the Statutes of the Trustees of the University of                   during which the department in question receives limited resources,
Pennsylvania, “Upon recommendation of the President and Provost,                 school administrations have ample time to explain the implications
the Trustees may authorize the establishment, merging, or closing of             of such action for the future. Departments that are at risk should
departments, divisions or similar entities in schools that do not have           be so informed promptly and provided with a full, frank and detailed
departments.” Subject to the statutes of the University, these procedures        explanation of the reasons.


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2. Faculty members of a department facing closure must be informed           without regard to these provisions, and if that period has expired, the new
   well before a formal recommendation is publicly announced. At that        appointment must be with tenure.
   time, they must be given information regarding their future at the
   University and the procedures the school has initiated to ﬁnd a new       (See page 2 - Standing Resolution of the Trustees, January 13, 1978
   University afﬁliation for them.                                           (https://archives.upenn.edu/digitized-resources/docs-pubs/trustees-
                                                                             minutes/minutes-1978/january-13/))
Academic Freedom
1. Although decisions regarding departmental structure may be made           II.E.16. Procedure Governing Sanctions
   for reasons that would not justify adverse action against an individual
   faculty member, ordinarily they do not for that reason give rise to an
                                                                             Taken Against Members of the Faculty
   academic freedom violation. However, even if all appropriate review       (Source: Standing Resolution of the Trustees, October 16, 1959; revised,
   and consultation procedures have been followed, structural decisions      June 21, 1991; revised, June 20, 1997 and Almanac, October 21, 1997;
   concerning a department may present delicate and difﬁcult questions       revised, October 19, 2007 and Almanac, November 6, 2007 (https://
   of academic freedom.                                                      almanac.upenn.edu/archive/volumes/v54/n11/ofrecord.html))

2. In cases where academic freedom issues appear to be raised, the
                                                                             1. Introduction and Deﬁnitions
   dean should seek the advice of the committee on academic freedom
   and responsibility of the school or the Faculty Senate at a sufﬁciently
                                                                             A. Introduction
                                                                             The imposition of a sanction on a faculty member of the University of
   early stage for that advice to be considered before the dean makes a
                                                                             Pennsylvania is a rare event. However, when situations that might lead
   recommendation.
                                                                             to such an action arise, they must be handled fairly and expeditiously.
3. Aggrieved faculty members have the right to complain of the dean’s
                                                                             It is essential to have a process that both protects the rights of faculty
   action to the appropriate committee on academic freedom and
                                                                             members and addresses the legitimate concerns of the University. This
   responsibility.
                                                                             policy replaces the previously existing “Procedure Governing Sanctions
                                                                             Taken Against Members of the Faculty” (Standing Resolution of the
II.E.15. Extension of Faculty                                                Trustees, June, 1991 and Almanac, October 21, 1997).
Appointments When a School is Being                                          Any cases initiated after this policy is in force, even if the alleged actions
Discontinued                                                                 preceded its adoption, shall be governed by the procedures prescribed
                                                                             here.
(Source: Standing Resolution of the Trustees, January 13, 1978 (https://
archives.upenn.edu/digitized-resources/docs-pubs/trustees-minutes/           B. Deﬁnitions
minutes-1978/january-13/))                                                    1. Charging party: The Provost, a dean of a school, or a Provost’s or
                                                                                 dean’s designee who shall be a faculty member of the University, or a
Notwithstanding other provisions of the University’s policies on faculty
                                                                                 Group for Complaint.
appointments and tenure, non-tenured faculty in schools which are to be
discontinued may continue to serve beyond expiration of their normal          2. Complainant: Individual bringing to the attention of a dean or the
tenure probationary periods without acquiring tenure, provided:                  Provost a situation that may call for a sanction against a faculty
                                                                                 member. The complainant may be a student or faculty or staff
  • The Trustees of the University have formally adopted a resolution            member of the University, or any individual outside the University.
    to discontinue the school, and have set a date for the closing of the     3. Faculty Member: A member of the Standing Faculty, or a Standing
    school.                                                                      Faculty-Clinician-Educator.
  • The faculty of the school has formally adopted a resolution to the        4. Counsel: An advisor, who may be an attorney.
    effect that extensions of the appointments of non-tenured faculty are     5. Group for Complaint: A charging party elected by the Standing
    necessary in order to maintain appropriate academic standards in the         Faculty of a school, by majority vote, from its own tenured professors.
    programs to be discontinued.
                                                                              6. Hearing Board: The body, selected by the Chair of the Faculty Senate,
  • Each faculty member for whom such extension is proposed has                  in consultation with the Past Chair and Chair-Elect of the Faculty
    formally requested the extension in writing to the dean, and has             Senate from the University Tribunal (see deﬁnition of the Tribunal
    clearly indicated their understanding and acceptance of the fact that        below), that adjudicates a just cause matter. It serves both an
    the extended appointment will not convey tenure.                             investigative and deliberative function. The Board shall consist of
  • The extensions of appointments are not more than ﬁve years from              ﬁve members, with a chair chosen by and among the members. If
    the June 30 following the resolution of the Trustees authorizing the         feasible, one member of the Hearing Board should be on the faculty
    closing of the school.                                                       of the Respondent’s school. Should any Hearing Board member
                                                                                 become unable to serve or to satisfy their responsibilities on the
If the appointment of a faculty member is extended under these
                                                                                 Board as the matter progresses, the Chair of the Faculty Senate shall
provisions and the decision to close the school is rescinded after the
                                                                                 select a substitute from the University Tribunal.
expiration of the probationary period for that individual, the faculty
                                                                              7. Major infraction of University behavioral standards: An action
member shall be deemed to have acquired tenure.
                                                                                 involving flagrant disregard of the standards, rules, or mission of the
If during the term of an extended appointment, a faculty member from the         University or the customs of scholarly communities, including, but
school to be closed is appointed to a standing faculty position in another       not limited to, serious cases of the following: plagiarism; misuse of
school in the University, the probationary period shall be measured              University funds; misconduct in research; repeated failure to meet
                                                                                 classes or carry out major assigned duties; harassment of, improperly
                                                                                 providing controlled substances to, or physical assault upon, a


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     member of the University community; the bringing of charges of             imposition of a major sanction, b) recommend imposition of a minor
     major or minor infractions of University standards against a member        sanction, or c) determine not to proceed further.
     of the University community, knowing these charges to be false or
     recklessly indifferent to their truth or falsity; flagrant or knowing      3. Minor Sanction
     violation of the University’s conflict of interest policy or commission    A. Imposition by Dean or Provost
     of serious crimes such as, but not limited to, murder, sexual assault or   If, having consulted with several members of the tenured faculty, the
     rape.                                                                      dean or Provost concludes that the situation involves a minor infraction
 8. Major sanction: Serious penalties that include, but are not limited         of University behavioral standards, the dean or Provost shall impose a
    to, termination; suspension; reduction in academic base salary; zero        minor sanction on the respondent. The dean or Provost shall notify the
    salary increases stipulated in advance for a period of four or more         respondent in writing of this decision and take the steps necessary to put
    years.                                                                      the sanction into effect.
 9. Minor infraction of University behavioral standards: An action
                                                                                B. Application for Relief to Faculty Grievance Commission
    involving disregard of the University’s standards, rules, or mission,
                                                                                The respondent may apply to the Faculty Grievance Commission for relief
    or the customs of scholarly communities that is less serious than a
                                                                                from any minor sanction imposed by the dean or Provost.
    major infraction.
10. Minor sanction: Penalties less serious than a major sanction that           4. Major Sanction
    may include, but are not limited to, a private letter of reprimand, a
                                                                                A. Charging Party Requests Formation of Hearing Board
    public letter of reprimand, monitoring the manner and conditions            If the charging party believes that a major infraction of University
    of speciﬁc future research, teaching, or supervision of students,           standards has occurred, the charging party shall promptly request that
    provided they relate to the infraction.                                     the Chair of the Faculty Senate convene a Hearing Board. The Dean or
11. Respondent: The Faculty Member against whom a complaint is                  Provost shall notify the respondent in writing of this decision.
    lodged.
12. University Tribunal: A body comprised of past and present tenured           B. Disqualiﬁcation of Potential Members of Hearing Board
    faculty members on the Senate Committee on Academic Freedom                 The charging party and the respondent each shall be given the
    and Responsibility, the school committees on academic freedom and           opportunity to move to disqualify for prejudice any potential member
    responsibility, and if necessary, past and present members of the           of the Hearing Board designated by the Chair of the Faculty Senate.
    Senate Executive Committee.                                                 Such motion shall set forth, in writing, the reasons therefore and shall be
                                                                                delivered to the Chair of the Faculty Senate.
2. Suspension or Termination for Just Cause                                     Motions to disqualify Hearing Board members shall be decided by
A. Preliminary Procedures                                                       the remaining members of the Board (with a tie to be broken by the
Should a question arise regarding the possible infraction of University         Chair of the Faculty Senate). If the remaining members decide that
behavioral standards, the dean or Provost shall interview the respondent,       disqualiﬁcation is proper, an alternate member shall be designated by the
normally in the presence of any department chair concerned, and may             Chair of the Faculty Senate.
afford the respondent the opportunity for informal resolution of the
matter under appropriate circumstances.                                         C. Hearing Board Determines Whether to Proceed
                                                                                1. Once the composition of the Hearing Board is determined, the
The dean or Provost shall provide a written description of the charges to          charging party shall promptly send to the Chair of the Hearing Board,
the respondent, if requested by the respondent in writing. If the matter           the respondent, the dean and Provost a written statement that
is resolved informally to the satisfaction of the dean or Provost and the          sets forth in as much detail as is practicable the grounds for the
respondent, no further proceedings shall be invoked by them. An informal           complaint and for the recommendation of a major sanction. In the
resolution must be consistent with all existing University policies and            case of misconduct in research, the report of the formal investigation
behavioral standards, and does not derogate from a complainant’s right             committee issued under the Misconduct in Research Procedures
to invoke procedures subsumed under these policies and standards.                  shall be included. To determine whether formal hearings shall take
                                                                                   place, the Hearing Board shall immediately consider the statement
If the matter is not adjusted informally, the dean or Provost shall consult
                                                                                   from the charging party, consult the relevant documents, and afford
with several tenured members of the University faculty. Relying on these
                                                                                   the charging party opportunity to present oral and written arguments,
consultations, the dean or Provost shall decide whether to invoke the
                                                                                   but shall not hold a hearing to receive evidence.
just cause procedures in a case involving major infractions of University
behavioral standards, to impose minor sanctions directly in a case              2. If the Hearing Board concludes that the grounds stated, if true,
involving minor infractions of University behavioral standards, or to              would clearly not constitute just cause for imposition of a major
discontinue the matter. If the decision is to discontinue the matter, the          sanction, it shall issue a report to that effect, sending copies to the
dean or Provost shall notify the respondent and any complainant in                 charging party, the President, any complainant, and the respondent.
writing.                                                                           The substance of the complaint shall not be the basis of any further
                                                                                   proceedings with respect to major sanctions. However, the Hearing
B. Formation of a Group for Complaint                                              Board may remand the case to the dean or Provost for further
If the dean or Provost decides to discontinue the matter or impose a               proceedings or actions that relate to a minor sanction.
minor sanction, no further proceedings shall be initiated with the single       3. If the Hearing Board concludes that the grounds stated, if true, might
exception of the standing faculty’s prerogative to form a Group for                constitute just cause for the imposition of a major sanction, and
Complaint. If formed, the Group shall promptly conduct an investigation            it believes that there is probable cause that in further proceedings
and, based on this investigation, may a) initiate proceedings for                  the grounds stated shall be found to be true, it shall conduct such
                                                                                   proceedings as hereinafter provided.


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D. Notiﬁcation of Right to a Hearing                                          appear personally throughout the hearing; both may have the assistance
If further proceedings are conducted, the Chair of the Hearing Board          of counsel. The Hearing Board shall afford the respondent and the
shall send to the respondent written notice that the respondent may           charging party the opportunity to present oral and written argument. The
preserve and elect the right to a hearing by promptly notifying the Chair     respondent and the charging party shall have the right to confront any
of the Hearing Board in writing. If the respondent requests a hearing         witnesses, each of whom shall have the right not to incriminate himself
before the Hearing Board, the Chair of the Hearing Board shall notify the     or herself in answer to any question, and to question them personally
charging party and the respondent in writing of the date and place of the     or through counsel. They may call witnesses and shall receive the
hearing. One month prior to the hearing, the charging party shall supply      cooperation of the University administration in securing the attendance
to the Chair of the Hearing Board a summary statement of the evidence         of such witnesses and the production of such documents as may be
to be presented by the charging party, including a list of witnesses, a       relevant.
detailed summary of the testimony expected from each witness, copies
of relevant extracts from the Statutes and standing resolutions of the        The extent of document production shall be determined by the Hearing
Trustees of the University of Pennsylvania, a copy of these procedures,       Board. The Chair of the Hearing Board, in consultation with the other
and copies of any other University documents that are relevant to the         Board members, shall rule on any procedural or substantive issues
respondent’s procedural and substantive rights in this matter. The Chair      complained of by either the charging party or respondent. The Hearing
of the Hearing Board shall immediately furnish these documents with the       Board shall have the discretion to limit the number of witnesses in
notice to the respondent.                                                     order to prevent overly repetitious or cumulative testimony. It shall
                                                                              not be bound by formal rules of evidence, and may elect to admit any
E. Hearing Board Procedure in the Absence of Participation by                 evidence it deems to be of probative value in evaluating the issues.
Respondent                                                                    The Hearing Board may permit the use of electronic or other means of
If the respondent does not request a hearing, the charging party shall        remote communication, such as telephone conference calls, in lieu of the
nevertheless present evidence to the Hearing Board. The Hearing               appearance of witnesses.
Board shall then make a written report of its ﬁndings, conclusions and
recommendations and send a copy of its report to the charging party           H. Report of Hearing Board and Objections of Respondent
and the respondent. If the Hearing Board concludes that the charging          1. Upon concluding the hearings, the Hearing Board shall deliberate
party has not shown clear and convincing evidence of just cause for              privately, and determine whether or not the charging party has
the imposition of a major sanction, no major sanction may be imposed,            established by clear and convincing evidence that a major infraction
and the substance of the complaint shall not be the basis for any further        has occurred. If so, the Hearing Board shall recommend what the
proceedings with respect to major sanctions. However, based on clear             major sanction should be. Decisions shall require a majority of the
and convincing evidence of a minor infraction, the Hearing Board may             members participating. The Hearing Board may, in its discretion,
recommend that the dean or Provost impose a minor sanction and the               recommend a minor sanction instead if it determines that a minor
dean or Provost will normally implement that recommendation. If the              infraction has occurred.
Hearing Board concludes that the charging party has shown clear and           2. The Hearing Board shall conclude its deliberations promptly and send
convincing evidence of just cause for the imposition of a major sanction,        to the President a written report in which it shall set forth its ﬁndings,
the Hearing Board shall promptly send to the President a copy of its             conclusions, recommendations, and a transcript of the hearings.
report recommending the major sanction.                                          Copies of these documents shall also be sent to the respondent, the
                                                                                 charging party, and the dean and/or Provost.
F. Hearing Board Procedure when Respondent Participates                       3. The respondent may request reconsideration of the sanction
The hearing shall be held at the earliest date that is practicable to the        by submitting a written statement to the Chair of the Hearing
respondent, charging party and Hearing Board, and ordinarily no more             Board within ﬁve days of the receipt of the Hearing Board’s
than three months from the notiﬁcation date. Two weeks prior to the date         recommendation. In the event of such a request, the Chair shall
of the hearing, the respondent shall provide to the Chair of the Hearing         reconvene the Hearing Board as soon as possible and hear
Board a written answer to the charging party’s statement of the grounds          statements from both the complainant and the respondent, delivered
for the complaint and for the recommendation of a major sanction. At             either personally or through counsel. The Hearing Board may, by
that time the respondent shall also provide to the Chair of the Hearing          majority vote, change its recommendation, but only if there is new
Board a list of witnesses, a detailed summary of the testimony expected          evidence or there are new arguments to be presented. If there is a
from each witness, copies of relevant extracts from the statutes and             change in the recommendation, the Chair of the Hearing Board shall
standing resolutions of the Trustees of the University of Pennsylvania,          communicate it to the President, the Dean and/or Provost, and to the
and copies of any other University documents that are relevant to the            respondent promptly.
respondent’s procedural and substantive rights in this matter.
                                                                              4. The respondent may send to the President, within a reasonable time,
G. Procedures During a Hearing                                                   any objections to the ﬁndings, conclusions or recommendations of
Hearings shall be private with two exceptions. The respondent shall have         the Hearing Board.
the right to invite as observers, representatives of national professional
academic associations concerned with matters of academic freedom and
                                                                              I. The President’s Actions
                                                                              1. The President, relying only upon the materials forwarded by the
tenure. Other observers may be invited to attend if the charging party, the
                                                                                 Hearing Board and objections submitted by the respondent, shall
respondent and the Chair of the Hearing Board consent in advance of the
                                                                                 normally accept the Hearing Board’s recommendations.
hearing. A transcript of the hearing shall be made available to the parties
at the expense of the University.                                             2. The President may depart from the Hearing Board’s
                                                                                 recommendations only in exceptional circumstances, and only to
The charging party has the burden of proving by clear and convincing             reduce the severity of recommended sanctions or to dismiss the
evidence that there is just cause for imposition of a major sanction             charges for failure of proof. Any departure may be made only after
against the respondent. Both the respondent and the charging party may           consulting the individuals then serving as the Chair, Past Chair

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     and Chair-elect of the Faculty Senate (“the three Chairs”). When a        and the grounds for concluding that the faculty member’s continuance
     departure is proposed, the President shall send to the three Chairs       threatens immediate harm. Such a decision should be made only after
     all of the documents received from the Hearing Board and the              consultation with the school’s Committee on Academic Freedom and
     respondent and shall secure their views before taking action. Should      Responsibility, which should, whenever possible, afford the faculty
     any of the three Chairs be unable to serve, the other two Chairs shall    member an opportunity to be heard, and to present evidence of why
     select a replacement from the available former Chairs of the Faculty      interim suspension should not be imposed. (See also, II.E. 18, Temporary
     Senate.                                                                   Suspension or Exclusion of a Faculty Member.)
3. Without limit to the right of departure, the President may request
   reconsideration of the decision recommended by the Hearing                  6. General Matters
   Board by submitting a written statement to the Chair of the Hearing         A. No Public Statements When Proceedings Are in Progress
   Board within a reasonable time. In the event of such a request,             To preserve the integrity of the process, members of the University
   the Chair shall reconvene the Hearing Board promptly and hear               community shall avoid public statements about charges and proceedings
   statements from both the President and the respondent, delivered            that involve minor or major sanctions until the proceedings have been
   either personally or through counsel. The Hearing Board may, by             completed.
   majority vote, elect to adopt or reject the recommendation of the
   President.                                                                  B. Actions When Charges Are Unfounded
                                                                               If ﬁnal action completely exonerates the respondent, and a determination
4. The President may also remand the matter to the Hearing Board
                                                                               is made that the allegations were without any foundation or were ﬁled in
   because there has been a signiﬁcant defect in procedure. The Hearing
                                                                               bad faith, the University shall reimburse that individual for the reasonable
   Board shall reconvene, take steps to repair any procedural defects,
                                                                               costs and expenses, including attorney fees, incurred in their defense.
   and hold an additional hearing, if needed. The Hearing Board shall
                                                                               In that event, the administration should also attempt to ameliorate any
   then send a second report to the President, along with the transcript
                                                                               damage wrongly done to the reputation of the respondent or of any
   of any second hearing, with copies to the respondent by certiﬁed mail,
                                                                               complainant, provided that the complainant acted in good faith. If it
   and to the charging party and the dean and/or Provost.
                                                                               appears that the complainant did not act in good faith, the administration
5. After all proceedings of the Hearing Board have been concluded,             shall investigate and take appropriate action.
   including any reconsideration proceedings, the President shall render
   a decision and send it, together with the reasons for the decision. The     C. Statements Following a Minor Sanction
   President’s decision, except a decision that is subject of an appeal as     If the respondent has been subjected to a minor sanction, the dean or
   described below, is ﬁnal within the University.                             Provost, after consultation with the President and discussion with the
                                                                               Chair of the Faculty Senate, may publicize this fact.
J. Appeal of the President’s Decision
If the respondent objects that there has been a signiﬁcant defect in           D. Statements Following a Major Sanction
procedure but the President declines to remand the matter to the Hearing       If the respondent has been subjected to a major sanction, the President,
Board, the respondent may appeal on that ground in writing to SCARF.           after informal discussion with the Chair, Past Chair and Chair-elect of the
The President shall promptly forward to SCAFR all of the documents             Faculty Senate, shall publish in Almanac a statement describing the case
upon which the decision was made. SCAFR shall review the documents             and its disposition in appropriate detail.
forwarded by the President and the respondent’s written statement of
appeal and shall decide the appeal promptly. If SCAFR ﬁnds that there          E. Modiﬁcation of Time Periods
has been a signiﬁcant defect in procedure, it shall remand the matter to       The time periods contained in these procedures may be modiﬁed by the
the Hearing Board for further proceedings in accordance with paragraph         Hearing Board in its discretion.
I(4).
                                                                               F. Timeliness
K. Termination                                                                 If the President determines that the Hearing Board is untimely in pursuit
If the Hearing Board recommends that the respondent’s appointment be           of its charge, thereby detrimentally affecting the legitimate interests of
terminated, it shall also recommend a date of termination and a date of        the University, the President may disband the existing Hearing Board. The
termination of salary, beneﬁts, and other privileges of employment which       President shall then promptly request that the Chair of the Faculty Senate
cannot be more than one calendar year after the date of the President’s        reconstitute the Hearing Board.
ﬁnal action.
                                                                               II.E.17. Removal of Faculty by Reason of
L. Hearing Board Records
On the completion of the case the Hearing Board shall transfer all of          Financial Exigency
its records to the Ofﬁce of the General Counsel. These records shall be        (Source: Standing Resolution of the Trustees, October 16, 1959; revised,
stored in a locked ﬁle. The Chair, Past Chair and Chair-elect of the Faculty   September 9, 1983; revised, 1991)
Senate are responsible for obtaining and maintaining these records.
                                                                               A. If the administration of the University proposes to curtail an activity
5. Interim Suspension                                                             of the University that might involve the removal of faculty members,
A faculty member shall not be suspended prior to the conclusion of                it shall initiate consultation with the Executive Committee of the
proceedings under this policy unless continuance of employment                    Senate on the issues of the existence in fact of a ﬁnancial exigency,
poses a threat of immediate harm to the faculty member or others, or              the appropriateness of the selection of the particular segment of
seriously threatens to signiﬁcantly disrupt the academic or research              the faculty for removal, possible alternative actions and the like, at
activities of the University. Any such suspension shall be with salary.           least thirty days before it proposes to send to the affected faculty
A dean’s decision to suspend a faculty member shall be accompanied                members the notice described in paragraph b. below.
by a concise statement of the factual assumptions on which it is based


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                                                                                                          University of Pennsylvania Faculty Handbook            17



      gender identity, religion, creed, national or ethnic origin, citizenship     Each faculty shall have a standing Committee on Academic Freedom and
      status, age, disability, veteran status or any other legally protected       Responsibility that shall be elected annually. Each faculty’s Committee
      class status in the administration of its admissions, ﬁnancial aid,          on Academic Freedom and Responsibility shall, subject to review
      educational or athletic programs, or other University-administered           by the faculty, and to the extent provided in the relevant procedures,
      programs or in its employment practices. Questions or complaints             including the Procedures Governing Sanctions Taken Against Members
      regarding this policy should be directed to the Executive Director of        of the Faculty adopted on June 20, 1997, and as they may be hereafter
      the Ofﬁce of Afﬁrmative Action and Equal Opportunity Programs,               amended, represent the faculty in all proceedings that involve temporary
      Franklin Building, 3451 Walnut Street, Suite 421, Philadelphia, PA           exclusion of or imposition of a major sanction on a faculty member;
      19104-6106; or (215) 898-6993 (Voice).                                       suspension or termination of the appointment of a faculty member,
                                                                                   some matters arising from ﬁnancial exigency proceedings, or other
I.K.2. Afﬁrmative Action Ofﬁce                                                     questions concerning an individual faculty member’s claim of violation
                                                                                   of their academic freedom. The committee shall have power to make
The Ofﬁce of Afﬁrmative Action exists organizationally under the Ofﬁce
                                                                                   investigations, reports, and recommendations on any matter relating to
of the President. It is headed by the Director of Afﬁrmative Action and
                                                                                   academic freedom and responsibility within the school that may affect
is responsible for the development and functioning of the University’s
                                                                                   one or more faculty members.
Afﬁrmative Action Program and for providing a formal liaison between
the federal, state, and city compliance agencies and the University. The           Each faculty’s Committee on Academic Freedom and Responsibility
responsibilities include coordinating afﬁrmative action implementation,            shall consist of not less than three members. The faculty shall also elect
programs for the handicapped, and overseeing the mechanism for                     one or more alternate members to serve in the event of the resignation
resolving non-academic employee grievances as they relate to equal                 or disqualiﬁcation of a Committee member. A faculty’s Committee on
opportunity and afﬁrmative action.                                                 Academic Freedom and Responsibility shall not contain department
                                                                                   chairs or administrators. Exceptions, if necessary in small schools,
II. Faculty Policies and Procedures                                                should be allowed with the approval of the Senate Committee on
                                                                                   Academic Freedom and Responsibility. Most members of a faculty’s
  • II.A. Academic Freedom and Responsibility (p. 17)                              committee should be tenured faculty. Such committees shall be elected
  • II.B. Structure of the Academic Staff (p. 17)                                  annually, and in accordance with the bylaws of a faculty, by those faculty
  • II.C. Tenure System at the University of Pennsylvania (p. 33)                  members who are members of the Standing Faculty. Elections shall be
  • II.D. Appointments and Promotions (p. 35)                                      held not later than the beginning of the academic year. The dean shall
                                                                                   report to the Provost, not later than October 15 of each year, giving the
  • II.E. Terms and Conditions of Faculty Appointments (p. 38)
                                                                                   names of the members of the faculty Committee on Academic Freedom

II.A. Academic Freedom and
                                                                                   and Responsibility that is currently in existence. Each faculty Committee
                                                                                   on Academic Freedom and Responsibility shall elect its own chair.

Responsibility                                                                     It is the policy of the University of Pennsylvania to maintain and
                                                                                   encourage freedom of inquiry, discourse, teaching, research, and
(Source: Resolution of the Executive Board of Trustees, February 13, 1953;
                                                                                   publication and to protect any member of the academic staff against
revised, Statutes of the Trustees, Article 10, June 17, 1983; revised as Article
                                                                                   influences, from within or without the University, which would restrict
11, November 2, 2001 (https://secretary.upenn.edu/trustees-governance/
                                                                                   a member of the academic staff in the exercise of these freedoms
statutes-trustees/#eleven); revised, Ofﬁce of the Provost, November 21,
                                                                                   in their area of scholarly interest. The teacher is entitled to freedom
2022)
                                                                                   in research and in the publication of results, subject to the adequate
The University recognizes the importance of a system of tenure for                 performance of their other academic duties, and to the institutional
faculty members as the preeminent means of fostering and protecting                policies and procedures as set forth in the research policies of the
academic freedom in teaching and in scholarly inquiry.                             University. Research for pecuniary return should be based upon an
                                                                                   understanding with the authorities of the institution.
There shall be a Senate Committee on Academic Freedom and
Responsibility of ten members, consisting of the Faculty Senate Chair-             The teacher is entitled to freedom in the classroom in discussing their
Elect and nine members of the Faculty Senate, three of whom are                    subject. The teacher is a member of a learned profession and of an
selected each year in accordance with the Rules of the Senate. This                educational institution. When speaking or writing as an individual, the
committee shall advise and consult with each faculty's Committee on                teacher should be free from institutional censorship or discipline, but
Academic Freedom and Responsibility, and with administrative ofﬁcers,              should note that a special position in the community imposes special
on the establishment of appropriate procedures to be followed in the               obligations. As a person of learning and a member of an educational
event of a claim of violation of academic freedom or responsibility. At            institution, the teacher should remember that the public may judge the
the beginning of each year, the Senate Committee on Academic Freedom               profession and the institution by their utterances. Hence the teacher
and Responsibility shall distribute the “Procedural Principles for Handling        should at all times show respect for the opinions of others, and should
Complaints Concerning Academic Freedom and Responsibility” to                      indicate when they are not speaking for the institution.
the members of each faculty’s Committee on Academic Freedom and
Responsibility. The Committee shall have power to make investigations,             II.B. Structure of the Academic Staff
reports, and recommendations on any matter relating to academic
freedom and responsibility within the University. The Committee shall be           II.B.1. Standing Faculty
governed in its responsibilities and procedures by rules established by
                                                                                   (Source: Standing Resolution of the Trustees, June 4, 1976; revised,
the Faculty Senate.
                                                                                   September 9, 1983 and Statutes of the Trustees, Article 9, 1983; revised as
                                                                                   Article 10, November 2, 2001 (https://secretary.upenn.edu/trustees-

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                                                              March 2, 2022

Professor Amy Wax
1531 Amity Road
Rydal, PA 19046

       Via Email and Overnight Mail


Dear Professor Wax,

        As set forth in the Faculty Handbook, I write to provide you with a written description of
the charges I intend to file with the Faculty Senate if we are unable to reach a mutually agreed
resolution of the issues presented.

        As you know, if a charging party believes that a major infraction of University standards
has occurred, and no mutually acceptable resolution can be reached, the charging party then
requests that the Chair of the Faculty Senate convene a Hearing Board. Faculty Handbook
Section II.E.16, Procedure Governing Sanctions Taken Against Members of the Faculty. Once
the composition of the Board is determined, the charging party sends a written statement
outlining the grounds for complaint. If the Hearing Board concludes that the grounds might
constitute just cause for the imposition of a major sanction, a hearing will be conducted.

        I am initiating this disciplinary action because for several years and in multiple instances
you have shown a callous and flagrant disregard for our University community—including
students, faculty, and staff—who have been repeatedly subjected to your intentional and
incessant racist, sexist, xenophobic, and homophobic statements and actions that inflict harm on
them and undermine the core values of our University. Your statements, made in the classroom
and on campus, other academic settings, and in public forums in which you were identified as a
University of Pennsylvania professor, are antithetical to the University’s mission to foster a
diverse and inclusive community and have led students and faculty to reasonably believe they
will be subjected to discriminatory animus if they come into contact with you. That concern—
entirely reasonable under the circumstances you have created—has led students to conclude that
they cannot take your classes and faculty to call your presence “demoralizing and disruptive.”

        Moreover, in public discussions about our students’ academic performance, you have
disseminated false information about segments of our university community. In addition, you
have exploited access to student’s confidential grade information in ostensible support of
derogatory and inaccurate statements made about the characteristics, attitudes, and abilities of
your students. As a result of your derogatory statements, students who have taken your classes



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have expressed anxiety that they will be accused of being at the bottom of their class since the
number of minority students in your classes is finite and easily identifiable. Your conduct
threatens to cause a chilling effect on students who have chosen to forego enrollment in your
classes due to a concern they will be treated more harshly and unfairly relative to their white
peers. In addition, your conduct is antithetical to the university’s core mission to attract a diverse
student body to an inclusive educational environment.

        In 2018, your conduct necessitated a prophylactic policy removing you from teaching
required courses where students from marginalized groups would be subject to your evaluation
without the ability to opt out, shifting a burden to your colleagues who had to compensate with
an increased course load. Since then, you have continued to make increasingly vitriolic
statements, knowingly rendering yourself unfit for teaching and mentorship of students. Your
colleagues report that your conduct, which has included derogatory statements made directly to
other faculty members, has led them to feel demoralized and demeaned.

        Although the University values academic discretion, your decision to invite a renown
white supremacist, Jared Taylor, to be the featured guest speaker in a regular meeting of your
Law School course as part of our institutional curriculum, and to have lunch with your students
who were expected to attend, crosses the line of what is acceptable in a university environment
where principles of non-discrimination apply. Taylor’s explicit racism, hate-speech and white
supremacy contravenes Penn’s express policies and mission and his white supremacist ideology
has been associated closely with those perpetrating violence towards minorities in this country
and others. In promoting this ideology yourself and bringing it into our curriculum, you have
caused profound harm to our students and faculty, and your escalating pattern of behavior raises
risks of increased harm and escalating damage going forward.

       Our University appreciates divergent speech, values academic freedom, and believes in
open debate, but while engaging in such wide-ranging discourse faculty members must adhere to
basic norms of civil and professional behavior. You have repeatedly breached such minimum
standards of civility and professionalism in recent years. While the policy of the University is to
encourage freedom of inquiry and discourse, your conduct constitutes a major infraction of the
University’s behavioral standards outlined in the Faculty Handbook, including the following:

       When speaking or writing as an individual, the teacher should be free from
       institutional censorship or discipline, but should note that a special position in the
       community imposes special obligations. As a person of learning and a member of
       an educational institution, the teacher should remember that the public may judge
       the profession and the institution by his/her utterances. Hence the teacher should
       at all times show respect for the opinions of others, and should indicate when he
       or she is not speaking for the institution. Faculty Handbook Section II.A,
       Academic Freedom and Responsibility (emphasis added).

       The concomitant responsibility of faculty members, benefited and encouraged by
       the tenure system, is to use the opportunities thus provided for the advancement
       of the purposes of the University and of the communities it serves. These
       purposes include teaching and scholarship. Members of the Standing Faculty are




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       obliged to share in the teaching mission so that their students may advance in
       learning. They are also obliged to push forward the frontiers of knowledge
       through study and research. These activities go hand in hand, for scholarship is
       unavailing if its results are not communicated, and a lively stimulus to learn is
       best imparted by one who is adding to our store of knowledge. Faculty Handbook
       Section II.C.1, Tenure System at the University of Pennsylvania (emphasis added).

        You have repeatedly used the platform you were granted when you became a professor at
the University to disparage immigrants, people of color, and women, including our students,
alumni, and faculty. Much of your public persona has become anti-intellectual: you rely on
outdated science, make statements grounded in insufficiently supported generalizations, and
trade on our University’s reputation to amplify your baseless disdain for many members of our
University community. The harm you cause when you repeatedly attack the inherent value of our
community members is real. No member of our community should be made to feel like they do
not belong, are unwelcome, or are incapable of achieving excellence because of who they are or
whence they come. Your statements are a persistent reminder that racism, sexism, and
xenophobia are not mere abstractions, but real and insidious beliefs.

        Your escalating pattern of conduct raises serious questions as to whether you are fit to
perform the requirements of your job, and your deliberate disregard for students, faculty, and the
University as a whole constitutes a major infraction that warrants major sanctions. Accordingly,
it is my responsibility as Dean to initiate the University procedure governing sanctions taken
against a faculty member.

   The following is a non-comprehensive list of the relevant standards for faculty conduct that
you have breached:

   1. Teaching faculty must avoid exploitation, harassment, and discriminatory treatment of
      students and must avoid conducting themselves in a manner reasonably interpreted as
      creating a hostile or discriminatory classroom.
    The mission of the University of Pennsylvania is, in part, to “offer a world class education to
our students, train future leaders of our country, expand and advance research and knowledge,
[and] serve our community and society both at home and abroad.” Principles of Responsible
Conduct. To fulfill this mission, the University has prioritized inclusion and diversity “as a
central component” in creating an “educational and working environment that best supports the
University’s commitment to excellence in teaching, research, and scholarship.” University of
Pennsylvania’s Equal Opportunity and Affirmative Action Policy.

        Accordingly, professors must adhere to a basic standard of ethical and responsible
conduct by treating students even-handedly and without harassment or discrimination, including
“discrimination on the basis of irrelevant characteristics.” Faculty Handbook, II.E.10; see also
Principles of Responsible Conduct, Principle Two. This basic standard of professional
competence is reiterated by the American Association of University Professors (“AAUP”)
Statement of Professional Ethics, which sets forth “general standards that serve as a reminder of
the variety of responsibility assumed by all members of the profession.” The AAUP states




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professors must “avoid any exploitation, harassment, or discriminatory treatment of students.”
AAUP, Statement on Professional Ethics.

   Examples of your discriminatory conduct in the classroom include, but are not limited to:

   •    Telling a student who asked whether you agreed with panelist John Derbyshire’s 1
        statements that Black people are inherently inferior to white people that “you can have
        two plants that grow under the same conditions, and one will just grow higher than the
        other.”
   •    Telling a Black law school student that she “only got into Yale because of affirmative
        action.”
   •    Telling a student that Black students don’t perform as well as white students because they
        are less well prepared, and that they are less well prepared because of affirmative action.
   •    Emailing a Black student that “[i]f blacks really and sincerely wanted to be equal, they
        would make a lot of changes in their own conduct and communities.”
   •    Stating in class that people of color needed to stop acting entitled to remedies, to stop
        getting pregnant, to get better jobs, and to be more focused on reciprocity.
   •    Stating in class that Mexican men are more likely to assault women and remarking such a
        stereotype was accurate in the same way as “Germans are punctual.”
   •    Commenting in class that gay couples are not fit to raise children and making other
        references to LGBTQ people that a student reported evinced a “pattern of homophobia.”
   •    Inviting on campus Jared Taylor, one of the world’s most prominent white supremacists,
        for a mandatory lecture in your Penn Law course. 2 To prepare for this class, you assigned
        an interview with Enoch Powell, a man who is regarded even by those who support his
        other views as deeply racist on immigration, and who was ousted from his leadership role
        in the British Conservative party over fifty years ago for his inflammatory and racist
        public speeches, which today are influential among violent white supremacist groups and
        individuals worldwide.
   •    Commenting after a series of students with foreign-sounding names introduced
        themselves that one student was “finally, an American” adding “it’s a good thing, trust
        me.”
   •    Telling students invited into your home that “Hispanic people don’t seem to
        mind…liv[ing] somewhere where people are loud.”

        1
         Derbyshire is widely regarded as a white supremacist who was fired by the National
Review for making statements that were “indefensible.”
https://www.nationalreview.com/corner/parting-ways-rich-lowry/
        2
           According to the Southern Poverty Law Center, “Taylor hosts the annual American
Renaissance Conference, where racist intellectuals rub shoulders with Klansmen, neo-Nazis and
other white supremacists” and edited the discontinued American Renaissance magazine, which
“regularly published proponents of eugenics and blatant anti-black and anti-Latino racists.” As a
result, Taylor was named an “extremist” by the Southern Poverty Law Center and the Anti-
Defamation League. https://www.splcenter.org/fighting-hate/extremist-files/individual/jared-
taylor; https://www.adl.org/sites/default/files/documents/assets/pdf/combating-hate/jared-taylor-
extremism-in-america.pdf



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    Your in-class and on-campus statements, the way you conduct your classroom, and the
extreme and exclusionary voices you have inserted into the Law School’s curriculum have led
minority students to report feeling “marginalized, isolated, unsupported, and unprioritized” 3 and
to reasonably conclude that your classroom is not an equal-opportunity learning environment.

   2. Teaching faculty must evaluate each student’s true merit.
    The American Association of University Professors Statement of Professional Ethics holds
that professors must “demonstrate respect for students as individuals” and “make every
reasonable effort to foster honest academic conduct and to ensure their evaluations of students
reflect each student’s true merit.” AAUP, Statement on Professional Ethics.

    In addition to the statements you have made directly to students or in class, your public
commentary espousing derogatory and hateful stereotypes has led students to reasonably
conclude that you are unable to evaluate them fairly based on their individualized merit rather
than on unmistakable biases you possess related to race, sex, national origin, and socioeconomic
class. You have repeatedly made public bigoted statements against women, Black people, Asian
people, and members of the LGBTQ community, including but not limited to:

   •    Stating, based on misleading citation of other sources, that “women, on average, are less
        knowledgeable than men,” women are “less intellectual than men” and there is “some
        evidence” for the proposition that “men and women differ in cognitive ability.” 4
   •    Stating that “our country will be better off with more whites and fewer nonwhites.” 5
   •    Stating publicly that Blacks have “different average IQs” than non-Blacks, could “not be
        evenly distributed through all occupations,” and that such a phenomenon would not be
        “due to racism.” 6
   •    Stating “some of them shouldn’t” even go to college in reference to Black students who
        attend Penn Law and its peer schools. 7
   •    Stating that Asians lack “thoughtful and audacious individualism” and that “the United
        States is better off with fewer Asians.” 8


        3
         Summer 2019 Statement: Re: Immigration Remarks from Penn Law Professor Amy
Wax (https://docs.google.com/forms/d/e/1FAIpQLSfbZe8jPHNzNB6J9l13xS-
kLtd2x59Nw97BZgAWZhTZ4EwIdQ/viewform?fbclid=IwAR03-nnDcijd5NS5H8WL1Ac-
y1cuheuXDKWfn3Y1-DbcX41p5KLcAEZN-nI)
        4
        https://www.newyorker.com/news/q-and-a/a-penn-law-professor-wants-to-make-
america-white-again; https://www.youtube.com/watch?v=AhyeUd7vOe4&t=21s
        5
            https://thefederalist.com/2019/07/26/heres-amy-wax-really-said-immigration/
        6
            https://www.youtube.com/watch?v=AhyeUd7vOe4&t=21s
        7
            https://youtu.be/cb9Ey-SsNsg
        8
            https://glennloury.substack.com/p/amy-wax-redux?utm_source=url



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   •    Stating that “groups have different levels of ability, demonstrated ability, different
        competencies,” 9 and that there are “clear individual and group differences in talent,
        ability, and drive” between races. 10
   •    Stating that “there were some very smart Jews” among your past students but that
        Ashkenazi Jews are “diluting [their] brand like crazy because [they are] intermarrying.” 11
   •    Stating that low-income students may cause “reverse contagion,” infecting more “capable
        and sophisticated” students with their “delinquency and rule-breaking.” 12
   •    Stating that “if you go into medical schools, you’ll see that Indians, South Asians are now
        rising stars. . . . [T]hese diversity, equity and inclusion initiatives are poisoning the
        scientific establishment and the medical establishment now.” 13
   •    Writing without valid support that some cultures are “not equal in preparing people to be
        productive in an advanced economy,” including . . . . . “the anti-‘acting white’ rap culture
        of inner-city blacks,” and “the anti-assimilation ideas gaining ground among some
        Hispanic immigrants.” 14
   •    Stating that that “fairness requires that we open channels of opportunity to women,
        although I will say that you know, the crusty old patriarchs of old, in being reluctant to do
        that, they were kind of on to something.” 15
   •    Stating that “given the realities of different rates of crime, different average IQs, people
        have to accept without apology that Blacks are not going to be evenly distributed through
        all occupations.” 16
   •    Stating that it is “overly optimistic” to think that “Blacks would be in the same position
        as whites if we had not been a racist society.” 17
   •    Stating that your students at this Law School are “cowed benighted sheeples [sic]” who
        “are ignorant” and “know nothing.” 18
    Although faculty members have great freedom to speak in ways that diverge from majority or
institutional views, that freedom accompanies a correlative responsibility to adhere carefully to

        9
             https://www.youtube.com/watch?v=AhyeUd7vOe4&t=21s
        10
             https://glennloury.substack.com/p/amy-wax-redux?utm_source=url
        11
             https://www.youtube.com/watch?v=AhyeUd7vOe4&t=21s
        12
         Harvard Journal of Law and Public Policy: “Educating the Disadvantaged: Two
Models,” June 2017
        13
           https://glennloury.substack.com/p/amy-wax-contesting-american-
identity?utm_source=url
        14
             Philadelphia Inquirer Op-Ed.
        15
             https://www.youtube.com/watch?v=AhyeUd7vOe4&t=21s
        16
             https://www.youtube.com/watch?v=AhyeUd7vOe4&t=21s
        17
             https://www.youtube.com/watch?v=jZnbDhrw_DI
        18
             https://www.youtube.com/watch?v=AhyeUd7vOe4&t=21s



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standards of research accuracy and attribution, particularly on subjects that, if not protected by
academic freedom, might verge on group defamation or harassment and hostility. Your public
comments about gender, race, and ethnicity have on numerous occasions breached fundamental
ethical and research standards of rigor and attribution.

    For example, in support of your sexist claims that “women are less thoughtful than men,”
you have mischaracterized the source and improperly cited a decades-old study for present tense
meaning. Notably, the author of the study has stated that it does not stand for the proposition you
cite it for, clarifying that his research was about the life choices of men and women and did not
address claims such as women being less intellectual than men. 19 As another example, you have
claimed that the University of Pennsylvania Law Review had a racial diversity mandate when it
does not. 20 On another occasion, when challenged regarding your unsupported and uncited claim
that communities that are “more diverse” litter more, you responded that “[s]ociologists don’t
study this stuff,” when in fact there are multiple studies on the topic. Lastly, you proclaimed that
“there is essentially no science being done in a place like Malaysia. No science, no technology
coming out.” This is patently false. 21

    Your pervasive and derogatory racism and sexism expressed in public statements, taken
together with your behavior in the classroom, leads reasonable students to conclude that they will
be judged and evaluated based on their race, ethnicity, gender, or sexual orientation rather than
on their academic performance and “true merit.” Students have expressed it is “impossible to
fathom” that you will “treat non-conservative, not-white students fairly.” 22

    In fact, several Black students in your Civil Procedure course reported that in the aftermath
of your inflammatory interview with Glenn Lowry in 2017, they “deliberately steered clear” of
you, “did not feel comfortable engaging [you] throughout the semester and did not trust that [you
were] committed to creating a productive learning environment for all students.” 23 One student
reported feeling “extremely vulnerable and afraid” working on a student law journal with you, in
part, based on your claims that women and people of color, like her, are generally unqualified to
be in elite higher education institutions.24 Minority students also reported they were
“discouraged” from applying for clerkships when you were on the clerkship committee and
questioned whether the committee would zealously advocate for them, in light of your views.

       19
         https://www.newyorker.com/news/q-and-a/a-penn-law-professor-wants-to-make-
america-white-again
       20
            https://www.youtube.com/watch?v=cb9Ey-SsNsg
       21
            https://oec.world/en/profile/country/mys
       22
           January 3, 2022 Letter to Dean Ruger and the Faculty Senate Executive Board
https://docs.google.com/document/d/1muCvT8lBZZnjIvWGboFJhNQnDs3bZ9ULTCyDFuPg1F
8/edit
       23
         Complaint Regarding Professor Amy Wax’s Employment at the University of
Pennsylvania Carey Law School (April 27, 2021)
       24
         Complaint Regarding Professor Amy Wax’s Employment at the University of
Pennsylvania Carey Law School (April 27, 20201)



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   3. Teaching faculty must respect the confidential nature of the relationship between
      professor and student.
    Faculty may be aware of confidential information as it relates to students and are expected to
maintain the confidentiality of such information “so as to protect it from improper disclosure and
to protect the privacy interests of members of our community.” Principle Seven, Respect for
Privacy and Confidentiality; see generally Faculty Handbook IV.J. Policy on the Confidentiality
of Student Records. On multiple occasions, you have violated the confidential relationship with
your students by publicly discussing their performance, including but not limited to:

   •    Discussing specific grade distributions in your first-year Civil Procedure course in a 2017
        interview. 25
   •    Stating in a 2017 interview “I don't think I’ve ever seen a black student graduate in the
        top quarter of the [Penn Law School] class and rarely, rarely in the top half” and “I can
        think of one or two students who’ve graduated in the top half of my required first-year
        course.” 26
   •    Stating, incorrectly, in a 2017 interview that the Law Review has a diversity mandate in
        its selection process. 27
   •    Stating that Black students tend not to graduate at the top of the class and adding
        “anybody who teaches law school knows this to be true.” 28
   •    Stating no law professor can honestly say that “Blacks are evenly distributed throughout
        the class, top, middle, and bottom.” 29
    The numbers of Black students in your classes in any given year is limited and finite, such
that your discussion of their alleged performance reveals impressions and facts about identifiable
individuals in your courses. These public statements have contributed to students concern that
they will be treated as de facto research subjects in support of your harmful bigotry.

   4. Teaching faculty must show respect for others, including faculty.
    As a colleague to other staff and faculty, you “have obligations that derive from common
membership in the community of scholars.” AAUP’s Statement of Professional Ethics. Among
those obligations is to treat colleagues even-handedly and without discrimination and
harassment. Principles of Responsible Conduct; University of Pennsylvania Nondiscrimination
Statement. Penn’s Principles for Responsible Conduct advance a no-tolerance approach in the


        25
          https://www.youtube.com/watch?v=cb9Ey-SsNsg;
https://www.youtube.com/watch?v=u0GB0LffzCk
        26
             https://www.youtube.com/watch?v=cb9Ey-SsNsg
        27
             https://www.youtube.com/watch?v=cb9Ey-SsNsg
        28
             https://www.youtube.com/watch?v=AhyeUd7vOe4
        29
             https://www.youtube.com/watch?v=AhyeUd7vOe4



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workplace to conduct that constitutes harassment on the basis of race, gender, sexuality,
ethnicity, and national origin, among others. Principle Two, Respect for Others in the Workplace.

    You have made repeated disparaging comments to and about faculty colleagues that violate
this standard and exhibit a disregard for your colleagues and your role at our University,
including but not limited to:

   •    Telling a Black faculty member that it is “rational to be afraid of Black men in elevators.”
   •    Stating, while on a panel with an openly gay faculty colleague, that “no one should have
        to live in a dorm room with a gay roommate” and, separately, that same-sex relationships
        are selfish and not focused on family or community.
   •    Referring to your faculty colleagues who criticized your behavior as “anti-role models” in
        a talk given to an audience of law students. 30
    Your actions towards your colleagues, coupled with the stereotypical, demeaning, and false
statements you have made about the racial, gender, and ethnic groups to which many of them
belong, have led your colleagues to report that your conduct is harassing and your presence on-
campus is demoralizing and disruptive.

Your Repeated Violations of University Standards Warrant Major Sanctions

        Academic freedom for a tenured scholar is, and always has been, premised on a faculty
member remaining fit to perform the minimal requirements of the job. In light of the
aforementioned conduct, there is a genuine question as to your fitness for your position. The
student body has expressed a mistrust of your ability to fairly instruct or judge them based on
their individual merit. Moreover, students, faculty, and staff have expressed that your persistent
racist and bigoted on- and off-campus statements have created a demoralizing and demeaning
environment for them.

        Your statements and actions demonstrate a “flagrant disregard of the standards, rules, or
mission of the University.” Faculty Handbook Section II.E.16, Procedure Governing Sanctions
Taken Against Members of the Faculty. Such disregard for students, faculty, and the University
as a whole constitutes a major infraction that warrants major sanctions, which includes
significant discipline up to and including termination. Any sanctions will be determined by your
peers on the University’s tenured faculty who are best suited to define and apply the minimal
standards required for faculty at this University as well as the appropriate sanctions for your
refusal to meet such standards.

        Past attempts to address your behavior, including not assigning you to teach first-year law
students in mandatory courses, have failed to result in a change of conduct. In fact, your hateful
disregard for members of our University community has only grown worse. Imposing sanctions
on a faculty member of the University of Pennsylvania is a “rare event.” Faculty Handbook
Section II.E.16, Procedure Governing Sanctions Taken Against Members of the Faculty.
However, your continuous violations of University standards and the increasingly negative

        30
             https://www.youtube.com/watch?v=vXZ-s5ASHnw



                                                                                          Pg.19
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impact your conduct has had on students, faculty, and staff leaves me with no option but to seek
major sanctions against you unless we can arrive at a mutually agreed path forward.

        I appreciate your review of this summary document, and hope that it gives you a clearer
sense of the institutional harms that your behavior has caused. This stage in the Faculty
Handbook process provides an opportunity for informal resolution prior to forwarding a charge
to the Faculty Senate’s Hearing Board. I will be open to discussing such a resolution when we
meet as the next step in the process.

       Sincerely,




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                                                                                      Sean V. Burke, Esq.
                                                                                      Associate General Counsel
                                                                                      Direct Dial: 215-746-5254
                                                                                      sean.burke@ogc.upenn.edu

                                               July 29, 2022

VIA ELECTRONIC MAIL (dshapiro@shapirolit.com)

David J. Shapiro, Esq.
Shapiro Litigation Group
1460 Broadway
Suite 7019
New York, NY 10036

       Re: Written Description of Charges Against Prof. Amy Wax

Dear Mr. Shapiro:

       This office represents the University of Pennsylvania, and I write in response to your July
20, 2022, letter to Prof. Vivian Gadsden, chair of the University’s Faculty Senate, regarding the
sanctions proceeding initiated against Prof. Amy Wax by Dean Ted Ruger of the University of
Pennsylvania Carey Law School.

         We understand Prof. Wax’s condition as described in Dr. Amy Clark’s June 27, 2022,
letter, and we recognize she is entitled to a reasonable accommodation with respect to any
hearing on Dean Ruger’s charges. Given your recent engagement, the Senate is willing to extend
the deadline to object to the proposed panel members to August 31, 2022. It is not our position
that Prof. Wax must take a continuous leave of absence to be entitled to an accommodation, only
that if she were to take such a leave, we would expect her to be unavailable to appear for the
duration of the leave. Otherwise, any accommodation must be reasonable under the facts and
circumstances. In our view, indefinite postponement of a sanctions proceeding for someone
fulfilling the essential functions of her position is not a reasonable request, but the Senate (as
well as the Hearing Board, at such time as it may take up the case) will be willing to make
accommodations concerning the timing and format of the proceeding, including prehearing
procedures.

       The procedure is governed by the University’s Handbook for Faculty and Academic
Administrators, section II.E.16 (“Procedure Governing Sanctions Taken Against Members of the
Faculty”), which provides in pertinent part as follows:


                                          Office of the General Counsel
                               2929 Walnut Street, 4th Floor Philadelphia, PA 19104

                                                                                                      Pg.21
                                     Tel. 215.746.5200 Fax 215.746.5306
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       The charging party and the respondent each shall be given the opportunity to
       move to disqualify for prejudice any potential member of the Hearing Board
       designated by the Chair of the Faculty Senate. Such motion shall set forth, in
       writing, the reasons therefore and shall be delivered to the Chair of the Faculty
       Senate. Motions to disqualify Hearing Board members shall be decided by the
       remaining members of the Board (with a tie to be broken by the Chair of the
       Faculty Senate). If the remaining members decide that disqualification is proper,
       an alternate member shall be designated by the Chair of the Faculty Senate.

       The process does not provide for discovery in support of a potential motion for
disqualification of proposed Hearing Board members. You are of course welcome to conduct
independent research in support of a motion to disqualify.

                                                    Sincerely,



                                                    Sean V. Burke




                                                                                           Pg.22
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June 21, 2023

M. Elizabeth Magill
President
University of Pennsylvania
1 College Hall, Room 100
Philadelphia, PA 19104

Dear President Magill:

On June 23, 2022, the Chair of the Faculty Senate received a request from Penn Carey Law
School Dean Ted Ruger (“Charging Party”) to convene a Hearing Board to review whether the
conduct of Professor Amy Wax (“Respondent”) constitutes a major infraction of University
Standards under Faculty Handbook Section II.E.16., “Procedure Governing Sanctions Taken
Against Members of the Faculty.” A hearing was held from May 1-3, 2023, in which both the
Charging Party and the Respondent participated. The following report represents the Hearing
Board’s findings, conclusions, recommendations.

   Background
.
The Hearing Board spent many hours over the past year considering the details of the case
submitted by Dean and Professor Ted Ruger, in which Professor Amy Wax was charged with
engaging in conduct that involved a “flagrant disregard of the standards, rules, or mission of the
University or the customs of scholarly communities.” 1 In discussing this case we reviewed the
charging statement, the responses submitted by Professor Wax, and the additional information
provided at the hearing held in May 2023, including the numerous documents submitted by the
Charging Party and the Respondent before, during, and after the hearing. 2

We regard this to be a case not of free speech, which is broadly protected by University policy as
articulated in the Faculty Handbook 3, but rather of flagrant unprofessional conduct by a faculty
member of the Penn Carey Law School, and of the University of Pennsylvania. This conduct has
had a detrimental impact on equal access to educational opportunities at the Law School and on
the community more broadly. For this reason, we focus in this report on widely acknowledged
standards of our profession, which recognize a difference between professional conduct and


1
  Faculty Handbook, Section II.E.16.1.B.7.
2
  In his June 12 letter to the Board co-chairs Mr. Shapiro states that in the report from Dean Chemerinsky, that was
submitted by the Charging Party and states that Respondent has crossed the line of speech protected by academic
freedom, there was “no discussion of where this magical “line” exists, who gets to draw it, or how professors are
supposed to know when they’ve crossed it.” We suggest that the process resulting in this report is one important way
to draw such a line.
3
  Faculty Handbook, Section II.A.




                                                                                                         Pg.23
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protected free speech. In coming to our conclusions, we are applying the standards of the Faculty
Handbook. 4

    I.       Conclusions

    (1) The Hearing Board finds Professor Wax in dereliction of her scholarly responsibilities,
        especially as a teacher.
Our faculty’s primary teaching responsibilities are to teach our students according to the highest
professional standards, and to do so equitably. Professor Wax has violated the first of these
standards through her uncritical use of data 5 and unfounded declarative claims 6 in some of her
courses, campus events, and elsewhere as a representative of the University of Pennsylvania. Her
consistent reliance on misleading and partial information, which often leads her to make
unsubstantiated statements 7 and to draw sweeping and unreliable conclusions 8, violates the
University of Pennsylvania’s Faculty Handbook as well as broader professional standards,
expectations, and norms. 9 Professor Wax’s uncritical use of data, and her promulgation of
unfounded claims are detrimental to her students 10, and particularly where they concern groups
with which many of our students and colleagues identify 11.

We do not dispute the protection Professor Wax has to hold her views or to express them in
public. However, when controversial views, rejected by most peers and unsupported by peer-
reviewed scholarship, are presented as uncontroverted 12 scholarly facts by a faculty member of
the University of Pennsylvania, and when those views are, additionally, demeaning and
demoralizing to minority groups 13, they cannot help but inequitably impact the learning
environment at our institution, as well as violate behavioral professional norms.

We stress that the impact of the positions Professor Wax has taken as a professor who holds a
named Chair at Penn 14, has been extraordinarily detrimental to her students and to the student
body as a whole. By conveying these positions with reckless disregard for scholarly and
professional norms, she has failed to effectively teach all our students, majority and minority

4
  Faculty Handbook, Section II.E.1.
5
  Appendix 2, Item 3.
6
  Appendix 1, Item 17
7
  Appendix 2, Item 5.
8
  Appendix 1, Item 15.
9
  Leading a conservative alum to describe them as ‘reprehensible and unscholarly’, Exhibit 32. We note that here
and through the report we refrain from mentioning names and identifying information of students and alums to
protect their privacy and safety, as was agreed by the sides prior to the hearing and reiterated at the hearing without
objection. In some instances in this report we refrain from providing reference to specific statements for the same
reason.
10
   Appendix 2, Item 3.
11
   Appendix 2, Item 5.
12
   The syllabi submitted to the Board, and multiple student witnesses. In a June 12th letter to the Hearing Board, the
Respondent’s counsel suggests that “the goal of Prof. Wax’s class is to present students with ideas with which they –
and she – might well disagree” (p.4). Later in the same document Mr. Shapiro suggests that no evidence was
presented to refute the “observed differences between groups” or to discredit “factual statements by Murray, Powell,
and Taylor, or by Prof. Wax herself” on these matters.
13
   As was evident in students’ and colleagues’ testimonies at the hearing.
14
   https://almanac.upenn.edu/archive/volumes/v53/n08/lawchairs.html




                                                                                                            Pg.24
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students alike, particularly in the area of Conservative Legal Thought. 15 Indeed, not only has she
modeled shoddy “science” 16 in her teaching practice, but in so doing she has polarized the
student body and alienated many students. This has produced a double loss to Penn students,
limiting their exposure to scholarly discussions on conservative legal thought, and negatively
impacting their learning environment.

     (2) The Hearing Board finds Professor Wax in violation of privacy policies of the University
         of Pennsylvania.
Repeated statements that Professor Wax has made in public about her students’, and Penn
Carey Law School students’ grade distributions by race 17,18 constitute serious violations of
professional norms. For professors to publicly discuss grades by race (irrespective of whether
such statements are grounded in fact) violates norms around grading privacy at universities
across the country, 19 and Penn is no exception. Despite warnings, 20 Professor Wax continues to
assert her right to make such statements. This practice has further discouraged racially diverse
and minoritized students from taking her classes; several have expressed concern that
potential employers may infer they earned a low grade from her.

     (3) The Hearing Board concludes that Professor Wax has on numerous occasions, both inside
         the classroom and in public, flagrantly violated University norms to treat all students with
         equitable due respect.
Professor Wax’s history of disrespectful and dismissive treatment of various groups is long,
persistent, and well-documented. Indeed, it demonstrates a pattern of flagrant, even escalating
disregard for University expectations and professional norms regarding the treatment of
members of the University community. Various groups of students - most significantly Black
students, but also Asian students, Hispanic and immigrant students, LGBTQ students and women
– are not only harmed but also wronged by this treatment. These students have a justified
expectation of equitable, respectful treatment by faculty at the University of Pennsylvania. 21 We

15
   By Professor Wax’s account at the hearing, she sees her public appearances and her classes as a continuum and
draws ideas and perspectives from her engagements in public venues. This leads to a reductive view of conservative
and right-leaning thought in her class.
16
   Appendix 2, Items 1, 2, 3; Appendix 1, Items 2 and 14 (as examples of public speech given in her capacity as
professor at Penn Carey Law School).
17
   “The downside to social uplift | Glenn Loury & Amy Wax [The Glenn Show]”, September 11, 2017,
https://www.youtube.com/watch?v=cb9Ey-SsNsg. Referenced in Charging Party’s “Wax Cross Exhibits” “Tab 11 –
2021.04.27 – Student Complaint.”
18
   “Tucker Carlson Today,” Fox Nation, April 8, 2022. Referenced in Charging Party’s “Wax Transcripts” “Tab 11
– 2022.04.08 – Tucker Carlson and Amy Wax.”
19
   https://catalog.upenn.edu/pennbook/confidentiality-student-records/;
https://www.umsl.edu/services/academic/policy/gradeconfidentiality.html; https://clas.uiowa.edu/faculty/student-
records-confidentiality-ferpa;
https://www1.villanova.edu/villanova/provost/resources/student/policies/disclosure.html;
https://www.fordham.edu/download/downloads/id/1850/09_-_dos_and_donts_for_teachers.pdf;
https://infoforfaculty.fas.harvard.edu/book/student-privacy; https://www.registrar.columbia.edu/content/privacy-
rights-ferpa; https://deanofstudents.stanford.edu/policies-processes-and-protocols/privacy-and-confidentiality
20
   Professor Wax has been warned in writing by the Dean that such statements are in violation of both the
Family Educational Rights and Policy Act (FERPA) and University of Pennsylvania policy.
21
    https://oaaeop.upenn.edu/resources/policies-handbooks-procedures




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conclude that disciplinary action is necessary when such disrespectful and dismissive treatment
negatively and inequitably impacts the learning environment, whether in the classroom,
elsewhere on campus, or in other professional settings in which students reasonably expect to
learn and to be treated equitably.

       II.       Summary
The Hearing Board unanimously finds that the issues and facts presented by the Charging Party,
and those further illuminated during the Hearing process, constitute serious violations of
University norms and policies, and therefore should be treated as major infractions of University
behavioral standards. We find that Professor Wax repeatedly violated professional norms by 1)
presenting topics in reckless disregard of scholarly standards and presenting misleading and
partial information, which is often not scholarly or peer-reviewed, in order to draw sweeping
conclusions with the predictable impact of negatively and inequitably harming the learning
environment at the University of Pennsylvania; 2) violating widely held standards of privacy and
confidentiality by discussing her perception of Penn Carey Law student grades by racial groups;
and 3) repeatedly and persistently making discriminatory and disrespectful statements to specific
targeted racial, national, ethnic, sexual orientation, and gender groups with which our students
and colleagues identify. Her behavior has created a hostile campus environment and a hostile
learning atmosphere.

       III.      Major sanctions
Based on these findings, we recommend the following major sanctions:

       •      Public reprimand, expressed by University leadership.
       •      Loss of named chair, to reflect Professor Wax’s unsuitability for University and/or
              School honors.
       •      A requirement to note in her public appearances that she is not speaking for or as member
              of the Penn Carey Law School or the University of Pennsylvania.
       •      One year suspension at half pay (with benefits remaining intact).
       •      Loss of summer pay in perpetuity.

       IV.       Recommendations
The hearing board spent many hours considering the impact of the violations noted above. As
members of the Penn community, we care about repairing this impact. The following
recommendations are not a part of the sanctions and are suggested by the Board as actions to be
considered by the University and Penn Carey Law’s leadership as steps forward.

                 a. Professional Development
In addition, and in response to Professor Wax’s request during the hearing for suggestions on
how to alleviate her students’ concerns about possible unequal treatment in her classes 22, we
recommend that Professor Wax be required to engage in professional development in the area of

22
     Hearing Transcript, Day 3, pages 128-129




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pedagogical practice, which will help align her teaching practice with the University’s
professional expectations. She clearly demonstrated teaching excellence in the past, and we think
both she and her future students would benefit from this professional development.

           b. Future Participation at Penn Carey Law School
Given significant factual disputes over statements and interactions in Professor Wax’s classes,
we recommend that Penn Carey Law records her classes and ensure that the recordings are
preserved by the Dean of Students to better facilitate resolution of any future disputes.

When feasible, we recommend that her classes are co-taught with another member of the faculty.

We recommend that Professor Wax’s office be moved outside Penn Carey Law School buildings
and that her classes are taught outside Penn Carey Law School buildings.

We recommend that Professor Wax not receive any committee assignments or advising roles.


Respectfully submitted,
Members of the Hearing Board in the Just Cause Matter regarding Professor Amy Wax

CC:
John Jackson, Jr., Provost
Crystal Nix-Hines, Charging Party Counsel
Theodore Ruger, Charging Party
David Shapiro, Respondent Party Counsel
Amy Wax, Respondent
Wendy White, Senior Vice President and General Counsel




Enclosure:
Hearing Transcripts, redacted to protect the identities of students and alumni




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       Appendices 23

Appendix 1. Examples of inequitably targeted disrespect:

       1. “I’ll just come right out and say it right, that on average blacks have lower cognitive
           ability than whites. You know, that’s just a fact. It’s a fact which you can be persecuted
           for stating. But it is a fact.”
       2. “Groups have different levels of ability, demonstrated ability. Different competencies,
           that they, and you know, you don’t just say that. Given the realities of different rates of
           crime, different average IQ’s, people have to accept, without apology, that blacks are not
           going to be evenly distributed through all occupations. They’re just not. And that’s not a
           problem. That’s not due to racism. That’s due to these differences.”
       3. “I think the crime problem in this country, I’m sorry it is true, is overwhelmingly,
           certainly within cities, it is a black problem. It is a minority problem, okay?
           Overwhelmingly. I mean your chance of being, you know, a victim of gun violence by a
           white person in New York City, is essentially non-existent.”
       4. “The basic idea is that, at this juncture in African-American history shall we say, in the
           United States, the main problems that are holding blacks back are really problems of
           behavior and not of overt racism, discrimination, really what society is doing to us, but
           the choices people are making. And I identify the main areas of difficulty as educational
           under-achievement, high crime rates and family breakdown.”
       5. Low-income students may cause “reverse contagion”—infecting more “capable and
           sophisticated” students with their “delinquency and rule-breaking.”
       6. “I often chuckle at the ads on TV which show a black man married to a white woman in
           an upper-class picket-fence house….They never show blacks the way they really are: a
           bunch of single moms with a bunch of guys who float in and out. Kids by different men.”
       7. “We indulge the assumption, which I will say, we now see was overly, overly optimistic
           that blacks would be in the same position as whites if we had not, uh been a racist
           society.”
       8. “... I mean, there are a lot of things that blacks themselves could reform to make their
           lives better, not have such a high out-of-wedlock birth rate, for example. Use drugs less,
           you know, be more obedient to law, stop committing crimes. These are all behaviors that
           are within the power of the people to change. So there is a lot of room for improvement.”
       9. Asking whether “the spirit of liberty beat[s] in the[] breasts” of Asian people.
       10. “As long as most Asians support Democrats and help to advance their positions, I think
           the United States is better off with fewer Asians and less Asian immigration.”
       11. “And this hideous monstrosity, the diversity, inclusion and equity bureaucracy, which
           that is filled with mediocrities. You know people who don’t care about truth seeking,
           don’t care about academic values, couldn’t be scholars if their life depended on it, you
           know, are just kind of time-serving true believer bureaucrats ... It’s welfare for the, you
           know, for the barely-educated upper middle class, really.”
       12. Speaking of University students: “And they have become these cowed, benighted
           sheeples. I mean, it’s just unbelievable. So not only are they, you know, thoroughly
           intimidated, as they should be, but they are ignorant. They know nothing.”


23
     Quotations are referenced in the Charging Party’s request to form this Hearing Board.




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   13. “We could have admitted women, which you know, fairness requires that we open
       channels of opportunity to women, although I will say that, you know, the crusty old
       patriarchs of old, in being reluctant to do that, they were kind of on to something.”
   14. “So, women, on average, are more agreeable than men. Women, on average, are less
       knowledgeable than men. They’re less intellectual than men. Now, I can actually back up
       all those statements with social-science research.... They know less about every single
       subject, except fashion.”
   15. “I mean, a lot of local governments, big city governments, they are not in the hands of
       what we would call legacy Americans. They’re not in traditional hands. They are being
       run like third world countries, frankly, in many respects... it’s a mixed bag...But I just
       worry that, you know, these corrupt grifters are going to take over our cities, have taken
       them over in part and, you know, bring us back to third world conditions...So we really
       have to be afraid of that and be vigilant. And of course, it’s all mixed up with race. So
       nobody feels like they can criticize these big city governments when, for example,
       they’re in black hands, that if they’re not well run, they can’t say anything negative...”
   16. “I have been called a racist. I lost count of how many times I’ve been called a racist, and
       my view at this point is, you know, being a racist is an honorific. To be called a racist
       means you notice reality and to me that’s a positive thing not a negative thing that’s an
       occasion for praise and admiration.”
   17. Some cultures are “not equal in preparing people to be productive in an advanced
       economy,” including ..... “the anti-‘acting white’ rap culture of inner-city blacks,” and
       “the anti-assimilation ideas gaining ground among some Hispanic immigrants.”

Appendix 2. Incidents recalled by alumni and which, for the purposes of this report, were
supplied under oath:

   1. Telling a black law student who wondered whether Professor Wax agreed that black
      people are inherently inferior to white people that “you can have two plants that grow
      under the same conditions, and one will just grow higher than the other.”
   2. Emailing a black student that “[i]f blacks really and sincerely wanted to be equal, they
      would make a lot of changes in their own conduct and communities.”
   3. Telling a student that black students do not perform as well as white students because
      they are less well prepared, and that they are less well prepared because of affirmative
      action.
   4. Telling a student who was part of a larger group of students invited to her home, that
      “Not everyone wants to live in a quiet neighborhood. Many Hispanic people, for instance,
      don’t seem to like that sort of thing.”
   5. Emailing students after a lunch gathering with them that “there is very little savings in the
      black community (I say this based on data)” and “Look around and see who is running
      the businesses in Philadelphia—west, south, north, center city. Sadly, its mostly Asians,
      Indians, Jewish merchants—not blacks.”
   6. Emphasizing loudly in class that a case witness was a black man, and then calling a black
      male student in class by the name of the black witness in the case.




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Appendix 3. Incidents recalled by Professor Wax’s former students, supplied under oath:

   1. Stating in class that Mexican men are more likely to assault women and remarking such a
      stereotype was accurate in the same way as “Germans are punctual.”
   2. Commenting after a series of students with foreign-sounding names introduced
      themselves that one student was “finally, an American” adding, “it’s a good thing, trust
      me.”
   3. Stating in class that people of color needed to stop acting entitled to remedies, to stop
      getting pregnant, to get better jobs, and to be more focused on reciprocity.




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                                                                          Page 192
1         just felt like if I did speak back, that could
2         endanger my grades potentially in my future.
3         Q. How did her in class behavior impact your
4         experience in her class and your experience as a 1L in
5         that first semester?
6         A. Sure.
7       Well, I definitely think that the best way to
8         counter any generalized belief about race,
9         specifically, is to prove it wrong.                I studied very
10        hard for her course to the point where I was not
11        sleeping sufficiently, maybe two to four hours a
12        night.    I was not eating, and it actually got to a
13        point where I was having sleep deprivation-based
14        hallucinations and dissociation.
15        Q. You mentioned that she would make these
16        statements somewhat regularly.            How did you feel each
17        time when she would kind of launch into a discussion
18        in civil procedure class about the general topic that
19        we discussed?
20        A. Sure.     It was like a slap in the face every time.
21        Q. Were you surprised that --- as a 1L is your first
22        semester in law school, were you surprised that a Penn
23        law professor would speak like this in class to
24        students?
25        A. Yes.




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                                                                           Page 193
1       I don't see Penn as a particularly liberal
2         institution.       I am not surprised to hear that there
3         are conservative viewpoints.            In fact, the Chicago
4         School of Economics is taught somewhat as dogma, and
5         that's perfectly fine and agreeable.                But to have
6         comments about race and about families made so
7         generally, that isn't something that I expect of any
8         professional, let alone somebody who is being held out
9         by an academic institution as an award-winning
10        professor.
11        Q. Did Professor Wax make other comments outside of
12        the Civ Pro classroom in your presence that you found
13        to be offensive or inappropriate?
14        A. We went to lunch at one point.               She would take
15        her students out to lunch as a getting-to-know you.
16        She was talking about her medical history, and she was
17        talking about working at a medical center in the
18        Bronx.    She said she left the institution when she
19        realized that she didn't care whether her patients
20        lived or died anymore.            She definitely described her
21        patients as low-income people.             It seemed to me like
22        she was talking about patients of color.
23        Q. How did that make you feel experiencing that
24        comment at lunch?
25        A. This was a getting-to-know you conversation.




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1         That is not the way that I want to get to know any
2         professor.         It seemed cold-hearted, and it was not
3         something that I wanted to know about a teacher of
4         mine.
5         Q. Did you say anything?
6         A. I did not.
7         Q. Did anyone at the lunch say anything?
8         A. Not to my remembrance.
9         Q. Why didn't you say anything?
10        A. I didn't say anything.            Again, because she was in
11        a position of power and I was afraid.
12        Q. Did you speak with anyone in the administration
13        or any of your other professors about this around that
14        time?
15        A. I did.     There is a possibility that I spoke with
16        Wendell Pritchett, but I do remember specifically
17        talking with Professor William Burk-White and
18        Professor Fernando Chang-Muy.
19        Q. Okay.
20      And what did you discuss with them?
21        A. I discussed how I felt that these statements were
22        extremely problematic and hurtful to students, and
23        their essential response was, she has tenure, so there
24        is nothing that we can do about it.
25        Q. Did you speak with any of your friends or family




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                                                                            Page 195
1         at that time about what happened?
2         A. I did.     I spoke with some of my friends.
3         Q. These are your law school peers, your colleagues,
4         classmates?
5         A. Yes.
6         Q. What was the result of those discussions?
7         A. Sure.     People who were in their second year of
8         law school while I was in my first year of law school,
9         they told me that this was something that I should
10        expect as a student of color.              My family told me, just
11        let it roll off your back.             This is how things are in
12        the world.         Other friends who were in their first year
13        of law school said they wished I'd had another civil
14        procedure professor.
15        Q. Law students who were ahead of you in law school,
16        2L's, or you mentioned 2L's, they essentially said
17        that this was something that you should expect as a
18        black law student from Professor Wax.
19        A. Yes.
20        Q. Was it your understanding that your experiences
21        with her were particularly unique?
22        A. They were not.
23        Q. Do you believe that you were harmed by your
24        personal interactions with her in class?
25        A. I do.     I don't like saying that, but I do.                 I




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1         feel like it impacted my first year of law school.                    I
2         feel like it impacted my confidence as somebody who
3         was going to be an attorney, and I carried that for
4         years, the assumption that I was not a good student
5         and that I couldn't possibly be a good lawyer.
6         Q. Are you aware of statements Professor Wax made
7         about the performance of black students in her class?
8         A. Yes, I am.
9         Q. What did she say to the extent that you recall?
10        A. She's been on-the-air multiple times saying
11        things like, it's very rare that black students
12        perform in the top half of the class, let alone in the
13        top quarter.       That comment, I don't know how she could
14        say something like that as our grades are blind.                    Her
15        book, if you want a direct quote, it says that black
16        people lack industriousness, perseverance,
17        trustworthiness, honesty, cooperativeness,
18        agreeableness, conscientiousness and forward thinking.
19        Q. With respect to the statements about the grades,
20        as a student who was in her class, what was the impact
21        to you of those statements?
22        A. Could you clarify?
23        Q. Her statements that black students don't finish
24        in the top half of her class?            Right.     As a student
25        who had been in her class, what was the impact to you




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                                                                            Page 197
1         of those statements?
2         A. So first of all, there are plenty of conservative
3         thinkers in the legal field.             I was worried that after
4         she had said something like this, if I'm going to go
5         and interview with people who believe her commentary,
6         they're automatically going to assume that I'm a poor
7         performer.         To have that said about students of color
8         on the whole does injure our job prospects.
9         Q. Even those external statements could create real
10        harm or in fact, did create real harm to you as a
11        student, as an alumni?
12        A. Absolutely.
13        Q. Did you ever seek a recommendation from Professor
14        Wax?
15        A. I did.
16        Q. Why?
17        A. It was not my best idea, but I had performed well
18        in her class, and I hoped that based on my
19        performance, she would recommend me for this
20        internship.
21        Q. Okay.
22      Did she recommend you for the internship?
23        A. No, she did not.          I withdrew my request.
24        Q. Why?
25        A. She asked to see my entire transcript, which is




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1         something that no other professor has done, either in
2         my graduate work or my undergraduate work.                 I felt
3         that was strange.        Given my other feelings about
4         Professor Wax, I decided maybe the best thing to do
5         would be seek recommendations elsewhere.
6         Q. Was that request made in a private interaction?
7         A. Yes.
8         Q. What was her demeanor when she delivered that
9         message to you?
10        A. Again, it was quite smug.
11        Q. That similar to the demeanor that you were
12        characterizing in class when she would speak
13        disparagingly about black culture and black
14        characteristics?
15        A. Yes.
16        Q. Did your experience with Professor Wax impact
17        your mental health?
18        A. Yes.
19        Q. How?
20        A. Well, again, like I was saying, I was studying to
21        the point of my physical detriment.                Around the time I
22        started having hallucinations, I went into student
23        psychological services.           They recommended that I take
24        some time off of class, which is never a good thing,
25        because what you miss in law school is very difficult




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                                                                          Page 199
1         to catch up on.       So ---.
2         Q. Do you think that Professor Wax's presence
3         negatively impacts Penn Law students?
4         A. Yes, in a number of ways.
5       Students of color, of course, have to study and
6         perform well in the environment that she creates,
7         which is difficult enough.           Other students are looking
8         at her work, which, in my personal opinion, is flawed.
9         This is shaping minds of people who are going to be
10        setting legal precedent, of people who are supposed to
11        be, at some point in their career, perhaps judicial
12        decision makers.       I think this has an effect not just
13        on the students in terms of the environment that they
14        face, but on the legal profession as a whole.
15        Q. Did her conduct or does it now impact your view
16        of your law school?
17        A. Looking back at her interview with Tucker
18        Carlson, Glenn Loury, reading her book, it definitely
19        made me realize, again, I wasn't making things up.
20        This really happened.         Beyond that, I realized that I
21        needed to take another look at how I performed in law
22        school, and I found out that I had actually done
23        fairly well.       I had a B-plus average overall, and my
24        feelings of inadequacy were something that I had taken
25        with me for some time, and I could finally let go of




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                                                                     Page 312
 1    Intellectual Property Counsel.

 2         Q      Was Amy Wax your assigned Civil Procedure

 3    professor in fall of 2010?

 4         A      Yes, she was.

 5         Q      While you were in her class, did she do

 6    anything that you found to be offensive or

 7    hurtful?

 8         A      Yes.

 9         Q      You can go on.

10         A      So in November of 2010, we were

11    discussing the case Denman v. Spain.                   That's a

12    case from the 1960's.            One of the parties was an

13    African American man.            Obviously again, because

14    the case is from the 1960's, the terminology used

15    to describe him with Negro.              And I had known about

16    some of Professor Wax's beliefs prior to taking

17    her class.        And when a few of my classmates and I

18    were discussing that case the night before, I kind

19    of said in gest if she were to use that term,

20    which is very outdated term, that I would leave

21    class.     Again, not thinking that that was going to

22    happen.     But the day of class came and the case

23    was being discussed, Socratic Method, and she

24    referred to the party as a negro.




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                                                                     Page 313
 1         Q      I'm just going to stop.               What was about

 2    what she said that offended you or how she said it

 3    that offended you?

 4         A      I think two things.           One, it was the use

 5    of the word.       Again, I understand that that was

 6    what was referred to in this case, but this is

 7    2010, it's not the 1960's.             No more would I expect

 8    someone to call oriental if that's what the case

 9    said.     But we don't use that term anymore to

10    diagnose Asians or Asian Americans.                  One, I think

11    her use of the term was a bit shocking.                    And also

12    just the way she said it was very distasteful,

13    kind of very smug and yeah, demeaning.                   So for

14    those two reasons.

15         Q      What, if anything, did you do in

16    response?

17         A      So at first I was shocked.               Honestly, I

18    just again didn't think that that was going to

19    happen.     Certainly again, I understood some of the

20    beliefs that she had.            But we were in a Civil

21    Procedure class.         It's not necessarily a class

22    where your viewpoints on particular races or

23    ethnicities or groups of people would naturally

24    come up.     So I was shocked.           But then a couple




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                                                                      Page 314
 1    minutes later, I gathered my stuff and I left.

 2          Q       Where did you go when you left?

 3          A       So I went to see Professor Allen, Anita

 4    Allen who was my Torts professor, and I had her

 5    the next period.          Frankly, I didn't know where to

 6    go.       I was upset, kind of on the verge of tears.

 7    But she was in her office, so I spoke with her

 8    first.

 9          Q       So I'd like to pull up an exhibit, and

10    I'm not quite sure of the next exhibit number.

11    And it's titled Today's Incident.                  And it's e-mail

12    from you.         Who are the e-mail recipients here?

13          A       So everyone except Tiffany Sutherland

14    were the other six African American students in my

15    class.       Tiffany Sutherland was a 3L student and

16    she was BLSA president.

17          Q       So I'd like to scroll down and you write

18    in this e-mail, "After I left, I went and spoke to

19    Professor Allen who is the Deputy Dean.

20    Obviously, we all know that Wax has controversial

21    views and has made inappropriate comments before.

22    Allen completely sympathized with our situation.

23    She did make it a point to say that given the time

24    of the year, we shouldn't dwell too much on the




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                                                                      Page 315
 1    issue.     To put it bluntly, she said that while our

 2    white counterparts may have been offended, they

 3    are going to go remain focus on studying.                      We

 4    can't let Wax keep us from doing the same even if

 5    that is her plan."         Does that accurately reflect

 6    what Professor Allen told you?

 7         A      Yes.

 8         Q      I'd like to go to the next exhibit.                     This

 9    appears to be an e-mail, an e-mail to Professor

10    Allen that you wrote on November 29th, 2010.                        You

11    wrote, "After I spoke with you, I ran into Dean

12    Clinton who was at school unofficially.                     He was

13    concerned given that she has made comments like

14    this in the past.         Similar to what you said, he

15    doubted that speaking with her directly would be

16    productive.        However, he did feel that the issue

17    should be addressed.             He actually encouraged me to

18    speak with you."         Who is Dean Clinton here?

19         A      So Dean Clinton was the Dean of Student

20    Affairs.     He has since retired.

21         Q      This is referencing what happened with

22    Professor Wax?

23         A      Yes.

24         Q      Scrolling down.          You then write, "Later




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                                                                      Page 316
 1    that day, my six African American classmates and I

 2    met with Kathleen Overly.              We discussed that we

 3    felt the word plus the tone and the context was

 4    inappropriate.         All of us were offended in

 5    different ways.         Obviously, I left, but others

 6    were angry and had a hard time concentrating the

 7    rest of the class.          Furthermore, I know some of

 8    our non-black classmates were offended as well.

 9    We all agree we don't want this to get swept under

10    the rug.     Even though we know the consequences for

11    her will be slight, if any, we would be doing

12    ourselves a disservice to remain silent."                      How did

13    you know that the white students were offended as

14    well?

15         A      So at least one of them, one of them came

16    up to me after, later in that day and expressed

17    her support of the fact what I did.                   Also, after I

18    left, two of my other black classmates also got up

19    and left.         Obviously, I didn't know that at the

20    time because I was the first one to leave.                      Then

21    the other, I guess the four of them that stayed,

22    again, as you saw in the e-mail, the class was

23    very uncomfortable.           And they felt kind of tenor

24    and the tone of the class had changed.                    Not just




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                                                                     Page 317
 1    for them, but for a lot of our classmates.

 2         Q      Did you and the other blacks students who

 3    were in your class meet again with Professor Allen

 4    as Dean Clinton and Kathleen Overly from Student

 5    Affairs had suggested?

 6         A      Yes.

 7         Q      What did you discuss with her this time

 8    as a group?

 9         A      So in one of the e-mails, the e-mail that

10    I had shared with my classmates, and actually in

11    the e-mail that Professor Allen had written to me,

12    she had suggested that we potentially put on like

13    a panel discussion on what's -- it's actually in

14    there, but what's in a word and the meaning of

15    names and connotations over time.                 And she had

16    suggested a few potential people that could be on

17    the panel.

18         Q      Did you end up organizing a panel as she

19    suggested?

20         A      We did not.

21         Q      Why not?

22         A      I think part of it was just again, we

23    were first-year students, 1Ls at that point trying

24    to focus on getting through this semester.                     And it




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                                                                      Page 318
 1    would have been, honestly, would have been

 2    burdensome.        And I think while I appreciated her

 3    and Dean Clinton and Kathleen Overly who was I

 4    think the Associate Dean of Student Affairs, we

 5    appreciated their sympathy and their empathy.                       But

 6    it also just felt like, why do we have to do

 7    something?        Why is it for us as the victims, the

 8    people that had been offended to have to put on a

 9    panel or something like that?

10                We were also very much aware of the panel

11    that BLSA had put on the previous year after

12    Professor Wax's book had come out, and just how

13    that had gone kind of left, I would use that word

14    or had been very controversial due to the person

15    that Professor Wax had invited.                   So we just

16    weren't really sure what benefit it would be.                       But

17    more importantly, it's just again, putting the

18    work on the victims to have to do something.

19         Q      Was there anything else that Professor

20    Wax did or said in class that you found to be

21    offensive?

22         A      So about a week later, one of my black

23    male classmates, there was kind of a dialogue back

24    and forth between her and him regarding he had




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                                                                         Page 12
 1      pointed to various statements in the media, including
 2      comments about Dr. Blasey Ford, Brett Kavanaugh at the
 3      confirmation hearings.
 4      Q. What do you want the Hearing Board to take away
 5      from that statement by Dean Rodriguez?
 6      A. Well, I'm very grateful to Dean Rodriguez because
 7      I thought, by and large, with a few exceptions, he did
 8      a great job.      And I think that this distinction is
 9      important.      It is so easy to utter phrases like
10      prolific with her bigotry, but when it comes to
11      actually giving concrete examples, that's a lot
12      harder.     And in many cases, these allegations fall
13      short, and that's what Rodriguez found in a number of
14      situations.
15      Q. Professor Wax, I now want to draw your attention
16      to the testimony of Ms.                                           Tell
17      us about the day you used the word Negro in discussing
18      a case.
19      A. Yes, there was --- this was a case.               I'm not sure
20      the date of it, but it was a while ago, in the good
21      old days, I guess, or the bad old days.               And the word
22      Negro was used to describe one of the witnesses.                   So
23      in talking about the case, I used the language of the
24      case.    I had no idea that there was anything wrong
25      with this.      Maybe I'm just out of touch, but I




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                                                                           Page 13
 1      generally do use the language of the cases when
 2      talking about the cases.
 3      Q. Did you use the word Negro in a snide and
 4      derogatory tone of voice?
 5      A. Certainly not.       Certainly not.          Sometimes when
 6      I'm talking about cases and we're trying to get
 7      through a lot of material, I have a very serious look
 8      on my face because I want to get on with it.                   And
 9      maybe people can construe that in different ways, but
10      certainly, certainly not.          It actually is one of my
11      favorite cases.       It's a very interesting case.                So I
12      don't think I was being snide.
13      Q. Professor Wax, tell us about the student with the
14      headphones.
15      A. Yes.     I just very vaguely recall that.               A student
16      came in, tall guy, African American student.                   He had
17      these massive headphones on his head.                The students
18      kept saying they were around his neck.                 They were not.
19      They were on his head and covering his ears.                   And I
20      was a little bit mystified as to how he could listen
21      to the class while having these earphones on.                      And I
22      thought the earphones were, you know, big earphones.
23    So I tried to make a lame joke about, wow, that's
24      what I would call paraphernalia.                Maybe you should
25      take those off and you'll hear the class.                  And I was




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faculty must evaluate each student’s true merit; (iii) teaching faculty must respect the
confidential nature of the relationship between professor and student; and (iv) teaching faculty
must show respect for others, including faculty.”

In response, a five-member Board of tenured faculty members, selected by the Faculty Senate
Tri-Chairs and representing the Graduate School of Education, the Penn Carey Law School, the
Perelman School of Medicine, and the School of Arts and Sciences, convened in October, 2022,
to review the written charges. After considering the charges and Professor Wax’s response, the
Board unanimously found that there were sufficient grounds to proceed to a hearing. A hearing
took place from May 1 to May 3, 2023, during which both sides offered arguments, submitted
exhibits, and presented testimony from students, alumni, and faculty colleagues. Additionally,
both sides presented reports from expert witnesses they engaged to address questions concerning
standards of professional conduct and the scope of academic freedom. After the hearing, the
parties submitted closing statements to the Board.

Following deliberation, the Board unanimously found that Professor Wax committed a major
infraction of the University’s behavioral standards – that is, a “flagrant disregard of the
standards, rules, or mission of the University or the customs of scholarly communities.” Section
II.E.16.1.B.7. The Board found that Professor Wax engaged in “flagrant unprofessional
conduct” that breached her responsibilities as a teacher to offer an equal opportunity to all
students to learn from her. That conduct included a history of sweeping, blithe, and derogatory
generalizations about groups by race, ethnicity, gender, sexual orientation, and immigration
status; breaching the requirement that student grades be kept private by publicly speaking about
the grades of law students by race and continuing to do so even after cautioned by the dean that it
was a violation of University policy; and by, on numerous occasions in and out of the classroom
and in public, making discriminatory and disparaging statements targeted at specific racial,
ethnic, and other groups with which many students identify.

Based on its findings, the Board did not recommend the highest sanction available, namely,
termination from her faculty position. Instead, it recommended the following sanctions: a one-
year suspension at half pay, with benefits intact; the loss of a named chair and summer pay; a
public reprimand; and a requirement that the respondent note in public appearances that she does
not speak on behalf of the institution.

                                                III.

                                                A.

I have reviewed the entirety of the voluminous record in this case and given careful
consideration to the respondent’s objections to the Hearing Board’s decision. No matter
involving an alleged violation of University behavioral standards by a long-standing member of
our tenured faculty is an easy one, and this case is no exception. The respondent has been an
engaged member of the Penn Carey Law School community and an award-winning teacher. But,
after careful review, I find no “exceptional circumstances” warranting a departure from the
Board recommendations, either to reduce the severity of the recommended sanctions or to


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dismiss the charges for failure of proof (Section II.E.16.4.I(2)); nor do I find any basis to ask the
Board to reconsider its decision (Section II.E.16.4.I(3)); nor is there any “significant defect in
procedure” that would warrant a remand to the Board (Section II.E.16.4.I(4)). I thus uphold the
Board’s recommended sanctions.

                                                 B.

As noted above, under subsection I(2), I am permitted to depart from the Hearing Board’s
recommendations only in exceptional circumstances, and then only to reduce the severity of
recommended sanctions or to dismiss the charges for failure of proof. In my judgment there are
no exceptional circumstances in this case warranting reduction of the severity of the Board’s
recommended sanctions. The proposed sanctions are well within the scope of a major sanction
as defined by our policy. For a major infraction of University behavioral standards, a faculty
Hearing Board is empowered to recommend a sanction up to and including termination—that is,
revocation of tenure and dismissal from the faculty. That the Board in this case recommended
lesser sanctions demonstrates a careful attempt by our faculty to calibrate the sanction in
proportion to the infraction.

Moreover, there is no basis for dismissal of the charges for failure of proof. The Board’s
decision rests on a considerable body of evidence that is more than sufficient to support its
recommendations. The charging party presented ample evidence to support the allegation that
Professor Wax violated the University’s behavioral standards, and the Board credited that
evidence. This included exhibits, affidavits, expert opinions, and in-person testimony at the
hearing from Dean Ruger, several faculty colleagues, and multiple former students. On many
matters, there is no dispute about key facts that form the basis of the Board’s actions, and where
there were matters of factual dispute, the Board made determinations based on a clear and
convincing standard. There is, in short, no “failure of proof” in this case. To weigh this
evidence, or to assess the credibility of the witnesses myself, would be to substitute my judgment
for that of the Hearing Board and that is not permitted under our policy.

                                                 C.

A request to the Board to reconsider its decision, under subsection I(3), in my view ought only to
be made if I have a basis to believe that the Board failed to consider important facts or
consequential arguments offered by the respondent. There is no indication in this voluminous
record that any such failure occurred. Nearly all the objections the respondent presented to me
(which I address in section IV below) are arguments that were presented directly to and
evaluated by the Hearing Board itself. The record and the Board’s report demonstrate that it
heard and carefully considered each argument before reaching its decision and recommendations.
The respondent argues that the Board’s report does not analyze the testimony of individual
witnesses. But that was not the Board’s responsibility under our policy. Rather, the Board’s
obligation was to set forth its “findings, conclusions, and recommendations” (subsection H(2)).
The Board met that obligation by producing a report that makes clear that it evaluated the
arguments of counsel and the testimony of witnesses concerning the respondent’s teaching, the
issue of academic freedom, and the question of student privacy. In sum, I do not see any ground


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for concluding that the Board overlooked any evidence or consequential argument in the matter
that would justify my requesting reconsideration.

                                                D.

Finally, the record does not reflect any deviation in procedure, and no “significant defect”
warranting remand to the Hearing Board.

A chronology of the process leading to Dean Ruger’s charges, the hearing, and the Board’s
decision is attached to this written decision as Appendix A. It shows the process followed to
have been scrupulously fair, generous to the respondent, and assiduous in its adherence to the
procedures in the Faculty Handbook. The matter began in 2021, when Dean Ruger asked an
eminent scholar and former law school dean to review complaints made by former students
against Professor Wax. Professor Wax declined to participate in that process. After Dean Ruger
received additional complaints, citing more recent disparaging public comments from Professor
Wax, he met with Professor Wax to attempt informal resolution of the matter, as required by our
policy. Only after that attempt failed did he request the formation of a Hearing Board, in June
2022. Professor Wax requested a delay in the proceedings on multiple occasions; these requests
were duly considered and accommodated, and the hearing accordingly was not held until nearly
eleven months after Dean Ruger submitted his charges. In the interim, Professor Wax was
provided with relevant documents and more than the prescribed time to prepare her case. The
hearing was held over three days, during which the charging party and the respondent were given
equal time to present and cross-examine witnesses. The respondent presented twenty-one
witnesses to the Board, including four faculty colleagues and nine students who testified at the
hearing, plus one student whose testimony was submitted in an affidavit. The hearing generated
over 700 pages of transcript. The Board received nearly seventy exhibits. After the hearing, the
respondent provided statements from seven expert witnesses, a presentation summarizing their
statements, and a written closing argument of twenty pages. The Board then deliberated over
several weeks before submitting its report and recommendations. I commend the Board for its
extraordinary efforts, and I find this procedure fully complied with the letter and spirit of the
University’s Faculty Handbook and the respondent’s rights.

                                                IV.

Pursuant to Penn’s procedure, the respondent submitted to me a wide variety of objections to the
Board’s decision, including objections to the procedure followed, the Board’s findings, and the
Board’s recommendations. I carefully considered each of these objections, as discussed below.

                                                A.

The respondent raises three challenges to the procedure followed here: (1) the Board allegedly
recommended sanctions based on “vague, novel, and undefined allegations of offenses”; (2) the
University declined to tell the respondent if Hearing Board members had attended or read a
public presentation by one of the charging party’s witnesses; and (3) the Board declined to order
Dean Ruger to produce to the respondent the grades and class standing of current and former law


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students. None of these three claims identifies a deviation from accepted University procedure,
or a “significant defect” in procedure.

First, the claim that the Board adopted a “vague, novel, and undefined” theory is unpersuasive
for several reasons. This, it should be noted, is not a procedural objection to the Board’s action; it
is a substantive criticism of the Board’s application of the relevant standards. Even so, it is
unpersuasive. The requirements that faculty behave professionally and treat students in a fair
and non-discriminatory way are not novel—or surprising—behavioral standards. And the basis
for the Board’s findings and recommendations is not vague or undefined. The record before the
Board and its decision are replete with specific examples of the behavior the Board found
flagrantly unprofessional that created an unequal learning environment for students.

This argument also misunderstands the role of our faculty in a University sanctions proceeding.
A core protection of faculty rights in our tenure system that we assign to faculty peers the
primary responsibility for determining whether there has been a major infraction of behavioral
standards and, if so, whether forfeiture of tenure or some other major sanction is appropriate. In
a case like this, where the matter is contested, the Hearing Board’s job was to determine the
boundary between acceptable conduct by a faculty member and flagrantly unprofessional
conduct creating a hostile and unequal learning environment. I find no exceptional
circumstances or procedural error that would warrant setting their judgment aside, and I would
be usurping the role assigned to our faculty under our policy if I did so.

The second procedural objection also falls short of a significant defect in procedure. The Board
was not required to disclose whether any of its members had previously attended a public
presentation, open to all faculty and members of the University community, given by one of the
charging party’s witnesses. Such an encounter is commonplace in the academy and does not
bear on a Board member’s fitness under our policy or suggest an appearance or actual conflict
for the Board member.

Third, the decision not to disclose to the respondent and her counsel the private academic records
of our law students was not a procedural error because it was entirely appropriate. Such records
are confidential, and the issue before the Board did not concern academic performance, but
rather whether the respondent violated behavioral standards by repeatedly and publicly
characterizing the performance of a select and potentially identifiable group of students, as
reflected in the Board’s second finding.

                                                 B.

The respondent additionally objects to the charges and the Board’s recommended sanctions
because, the respondent claims, the evidence demonstrated that she is “an outstanding teacher
and scholar.” This objection, contrary to our process, asks me to re-weigh the evidence
presented to the Board. It also misses the mark for another reason. Professor Wax has indeed
been recognized in the past for her teaching excellence, and multiple former students testified at
the hearing on her behalf as to the quality of her teaching. Nevertheless, the Board’s findings are
not in tension with this testimony. The Board found that Professor Wax violated her duty to


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“teach our students according to the highest professional standards, and to do so equitably”
(emphasis in original); moreover, “she has failed to effectively teach all our students,” prompting
the Board to find that “[v]arious groups of students . . . are not only harmed but also wronged. . .
. These students have a justified expectation of equitable, respectful treatment . . .” In short, the
Board found that notwithstanding the evidence that Professor Wax’s teaching has been of benefit
to some students, her conduct harmed others equally entitled to an education of the highest
standard.

                                                 C.

The respondent also argues that the Board’s recommendations should be rejected because they
would punish her for extramural statements “protected by core principles of academic freedom.”
The respondent separately asserts that many of her comments regarding group differences are
part of social scientific academic debates, and therefore protected by academic freedom. These
arguments deserve special attention given the importance of the value they invoke. Article 11 of
the Statutes of the University of Pennsylvania provides that “[t]he University recognizes the
importance of a system of tenure for faculty as the preeminent means of fostering and protecting
academic freedom in teaching and scholarly inquiry.” Similarly, the Guidelines on Open
Expression, appearing in the Handbook as section V.A., state: “The University of Pennsylvania,
as a community of scholars, affirms, supports and cherishes the concepts of freedom of thought,
inquiry, speech, and lawful assembly.” As President, I embrace these principles. They are
essential to the vigorous pursuit of the University’s missions of research, scholarship, and
teaching.

Faculty members rightly enjoy broad academic freedom in their scholarly inquiry and in their
teaching. This means they are free to pursue in their scholarship and their teaching a wide range
of ideas, including those that are the subject of great debate and disagreement. Faculty members
also have responsibilities. As teachers, they have responsibilities to their students. Students can
and should expect that their teachers will evaluate them fairly, not as a member of an identifiable
group, but on their individual merit. The corollary for the teacher is that they must conduct
themselves in a manner that conveys a willingness to assess all students fairly, on their own
merits.

The Board found that Professor Wax failed in this responsibility to students, engaging in what it
determined was flagrantly unprofessional behavior that created an unequal learning environment
in three distinct ways: (1) Professor Wax’s sweeping, blithe, and derogatory generalizations
about groups by race, ethnicity, gender, sexual orientation, and immigration status; (2) her
repeated breaches of the confidentiality of student grades; and (3) her repeated and persistent
discriminatory and disrespectful statements regarding groups based on race, ethnicity, or other
identity inside the classroom, in the law school setting, and in public. Under our policy, it was
the Board’s responsibility to weigh all of the evidence and determine whether Professor Wax
crossed the line into conduct “involving flagrant disregard of the standards, rules, or mission of
the University” that created an unequal learning environment for students. I find no exceptional
circumstances warranting a departure from the Board’s determinations, and Professor Wax’s
conduct would make many students reasonably wonder whether they could be fairly educated


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cc:          Hearing Board
             Professor Amy Wax
             Former Dean and Professor Theodore Ruger
             Provost John L. Jackson, Jr.
             Dean Sophia Z. Lee
             Crystal Nix-Hines, Charging Party Counsel
             David Shapiro, Respondent Counsel
             Wendy White, Senior Vice President and General Counsel
             Sean Burke, Associate General Counsel

Enclosed:    Appendix A (procedural appendix)




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                                        Appendix A
                                      August 11, 2023
                Procedures Followed in Compliance with the Faculty Handbook


1. April 27, 2021 – Complaint is filed against Professor Wax by a group of Penn Law alumni
alleging that Professor Wax has made derogatory remarks inside and outside the classroom
resulting in harm to students.
2. June 3, 2021 – Dean Ruger contacts Professor Daniel B. Rodriguez, former Dean of
Northwestern University Pritzker School of Law, asking him to investigate the allegations.
3. August 2021 – Professor Rodriguez accepts the assignment; he speaks with twenty-six Penn
Law alumni and reviews available documentation to evaluate the allegations. Professor Wax
declines to participate in the process. In his report, dated August 3, 2021, Professor Rodriguez
does not uncover evidence of discrimination against any individual student, but does conclude
that “Professor Wax has made a number of comments in class and a few outside of class which
could reasonably be viewed as derogatory and harmful.”
4. September 10, September 29, and October 4, 2021 – Dean Ruger consults with three tenured
members of the University faculty to decide whether to invoke procedures for major infractions,
impose minor sanctions directly, or discontinue the matter.
5. January 2022 – Dean Ruger receives additional complaints from students and alumni citing
Professor Wax’s additional public comments, including the statement that America would be
“better off with fewer Asians and less Asian immigration.”
6. March 2, 2022 – Dean Ruger provides Professor Wax with a written description of charges,
including a summary of the negative impact her comments had on the Penn community.
7. April 2022 – Professor Wax appears on Tucker Carlson Today asserting that “Blacks” and
other “non-Western groups” harbor “resentment, shame and envy” against Western people for
their “outsized achievements and contributions even though, on some level, their country is a
shithole.”
8. May 11, 2022 – Dean Ruger meets with Professor Wax to afford her the opportunity for an
informal resolution of the matter, in accordance with Section II.E.16.2.A of the Faculty
Handbook.
9. June 23, 2022 – Dean Ruger, as Charging Party, requests that the Chair of the Faculty Senate
convene a Hearing Board, in accordance with Section II.E.16 of the Faculty Handbook, and
submits a written statement of the grounds for complaint.




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10. June 24, 2022 – Notice of Hearing Board composition is sent to Charging Party Dean Ruger
and Respondent Professor Amy Wax, with an option to disqualify members, giving a deadline of
July 5.
11. June 24, 2022 – Respondent replies to Dean Ruger indicating that she will be away with
family and then undergoing treatment for a medical condition in July and August and asks for
more time to respond.
12. June 30, 2022 – Hearing Board extends response deadline to July 12.
13. July 11, 2022 – Respondent replies with a physician’s note requesting a six-month delay of
proceedings.
14. July 15, 2022 – Deadline for Respondent extended to July 22, asking only that Respondent
indicate whether she wishes to seek to disqualify any proposed Hearing Board members.
15. July 20, 2022 – Letter from Respondent’s counsel, David Shapiro of Shapiro Litigation
Group, arguing that the timetable for response violates the ADA and including eight requests for
background information on the Hearing Board members, including a current CV and list of
publications for each, as well as a demand that the University search Board members’ University
and personal emails and text messages for references to Professor Wax and/or a presentation
given to the Faculty Senate by Professor Anita Allen, and a demand that the University produce
all documents relating to any other disciplinary proceeding in which any Board member may
have participated.
16. July 28, 2022 – Second notice of Board composition is sent by the Hearing Board to the
parties.
17. July 29, 2022 – Sean Burke, as counsel for the University and on behalf of the Faculty
Senate, replies to Mr. Shapiro’s July 20 letter. Mr. Burke states that the Senate has granted an
extension of time to object to proposed Hearing Board members. Mr. Burke also states that if
Professor Wax were on a medical leave from the faculty (which she had not requested), the
proceeding would be postponed for the duration of the leave, and that the Faculty Senate and
Hearing Board “will be willing to make accommodations concerning the timing and format of
the proceeding, including prehearing procedures.” Finally, Mr. Burke communicates the Hearing
Board’s determination that sufficient information about the members of the Board is publicly
available and for that reason the Board has denied Mr. Shapiro’s July 20 requests for information
about the Board members.
18. August 31, 2022 – Mr. Shapiro, files a memorandum with the Hearing Board seeking to
postpone the proceedings due to Professor Wax’s health issues; dismiss the charges; disqualify
Dean Ruger; and retain a neutral third party to determine pre-hearing issues. Additionally, Mr.
Shapiro and Professor Wax argue that “Penn Law must provide Prof. Wax with statistics, facts,
evidence, and information about the performance of Black students at the Law School. This is


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best done via a forensic analysis by an independent expert, chosen by both parties and paid for
by Penn.” Professor Wax also seeks to disqualify all members of the proposed Hearing Board.
19. September 13, 2022 – Faculty Senate Chair Vivian Gadsden sends a memo to the Hearing
Board members finalizing their membership and requesting they proceed with their work.
20. October 11, 2022 – Hearing Board meeting is held (in-person) to determine whether any
member should recuse themselves, per Section II.E.16.4.B. They conclude no recusal is
warranted.
21. October 18, 2022 – Pursuant to Section II.E.16.4.C(1) of the Faculty Handbook (which
requires the Hearing Board to meet to determine whether to proceed to a hearing, and permits the
Board to solicit written and/or oral argument from the charging party on the question), the
Hearing Board writes to Dean Ruger, inviting him to the Board’s October 25, 2022, meeting to
present oral argument on whether the Hearing Board should proceed to schedule a hearing on the
charges.
22. October 25, 2022 – Hearing Board meets (virtually) with Charging Party and asks Charging
Party to respond to the August 31, 2022, memorandum from Respondent.
23. October 27, 2022 – Hearing Board sends letters to Charging Party and Respondent notifying
them that the Board has determined that the charges are sufficient to proceed to consider a major
sanction and offering Respondent an opportunity for a hearing.
24. November 8, 2022 – Crystal Nix-Hines of Quinn Emanuel Urquhart & Sullivan, LLP,
counsel for the Charging Party, responds to the August 31 memo to the Hearing Board from
Respondent’s counsel, David Shapiro.
25. November 16, 2022 – Respondent requests a medical-related pause in all the proceedings
until “the beginning of the January 2023 semester.”
26. November 21, 2022 – Hearing Board meets (virtually) to determine whether to delay
proceedings and sends a letter to Respondent extending to January 17, 2023, her deadline by
which to state whether she is requesting a hearing as provided for in the Faculty Handbook.
27. January 16, 2023 – Mr. Shapiro submits a memorandum to the Hearing Board renewing his
arguments from August 2022 that the charges are “defective,” that the Charging Party is
“biased,” and that the Board "will never appear to be impartial”; Respondent further argues that
the matter should be suspended pending review by the Faculty Grievance Commission.
28. January 24, 2023 – Hearing Board meets (virtually) to discuss process.
29. February 2, 2023 – Charging Party responds to Respondent’s memo of January 16 arguing
that the Hearing Board is the appropriate forum to resolve the matter and seeking a hearing date
during the first week of May 2023.


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30. February 16, 2023 – In a letter to the Respondent, the Hearing Board declines to suspend the
proceedings indefinitely and declines to hold a preliminary hearing as requested. The Board
further states that it will “provide reasonable accommodation throughout the remainder of the
process, including in the scheduling and conduct of the hearing.”
31. February 23, 2023 – Hearing Board notifies parties of the hearing, initially scheduled for two
days (May 1-2), and further notes that it has not been notified whether Respondent will
participate in the hearing.
32. March 9, 2023 – Respondent withdraws grievance and requests meeting with Vice Provost
for Faculty, which occurs on March 21, 2023.
33. March 29, 2023 – Respondent affirms participation in hearing but states that a hearing might
not be practicable due to commitments that will take Professor Wax out of the country in May,
being overseas for the last part of June, and “prior commitments which will keep her abroad for
much of July and away for much of August.”
34. March 29, 2023 – Hearing Board meets to hold internal discussion regarding the conduct of
the hearing, including scheduling and the deadlines for the parties’ pre-hearing submissions.
35. March 31, 2023 – Hearing Board sends letter to parties reiterating planned May 1-2 dates and
outlining format.
36. April 2, 2023 – Mr. Shapiro, counsel for the Respondent, objects to the deadlines, the
proposal to redact students’ names from the transcript, and the May 2 date for the hearing.
37. April 3, 2023 – Hearing Board declines to change the dates and sets a deadline of April 17 for
Respondent to submit materials.
38. April 3, 2023 – Ms. Nix-Hines, counsel for the Charging Party, submits documentation for
the hearing to the Hearing Board and Respondent.
39. April 4, 2023 – Mr. Shapiro reiterates his objection to the hearing dates.
40. April 10, 2023 – Ms. Nix-Hines requests clarification on hearing procedure and dates.
41. April 17, 2023 – Hearing Board schedules hearing for a third day (May 3).
42. April 17, 2023 – Respondent reiterates objections to hearing dates and again seeks a pre-
hearing conference.
43. April 17, 2023 – Respondent submits materials for the hearing to the Hearing Board.
44. April 24, 2023 – Hearing Board meets to discuss process and notifies both parties that the
hearing dates will be May 1-3. It further sets forth details of the hearing process.
45. May 1-3, 2023 – Hearing is held. Respondent is advised that she may take whatever breaks
she needs to accommodate her health condition. Respondent participates fully in the three-day

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hearing, including testifying, making a statement for the record, and examining witnesses. At the
hearing, both parties are represented by counsel, present live testimony, are given the opportunity
to cross-examine witnesses, submit declarations and expert reports, and provide other
documentation in support of their positions.
46. May 5, 2023 – Both parties submit post-hearing presentations to the Hearing Board.
47. May 8, 2023 – Hearing Board meets (in person) to deliberate.
48. May 10, 2023 – Hearing Board sends request to counsel for Respondent, David Shapiro,
requesting course syllabi for Professor Wax’s classes.
49. May 16, 2023 – Course syllabi are received by Hearing Board.
50. May 17, 2023 – Hearing Board receives transcripts of Hearing Day 1 and Hearing Day 2.
51. May 18, 2023 – Hearing Board meets (in person) to conduct further deliberations.
52. Between May 18 and June 21, 2023 – Hearing Board continues deliberations and prepares
report.
53. May 22, 2023 – Charging Party sends letter to Hearing Board reacting to contents of course
syllabi.
54. May 23, 2023 – Transcript of Hearing Day 3 is received by the Hearing Board.
55. May 26, 2023 – Respondent replies to Charging Party’s letter of May 22 concerning the
course syllabi.
56. June 3, 2023 – Charging Party replies to May 26 letter from Respondent concerning the
course syllabi.
57. June 12, 2023 – Respondent replies to Charging Party’s June 3 letter concerning the course
syllabi.
58. June 21, 2023 – Hearing Board submits report to President, copying the Charging Party and
the Respondent, and reminds parties of confidentiality expectations. The report provides that the
Hearing Board has determined that the Respondent is responsible for a major infraction of
University behavioral standards, warranting major sanctions, short of tenure revocation.
59. June 25, 2023 – David Shapiro, counsel for the Respondent, writes to President Magill that
objections will be submitted by mid-August.
60. June 27, 2023 – The President’s Office responds by setting a deadline of July 14, 2023, for
objections to be submitted.
61. June 29, 2023 – Mr. Shapiro requests a deadline of August 9, 2023.
62. June 30, 2023 – The President’s Office extends the deadline for objections to July 19, 2023.

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63. July 18, 2023 – Mr. Shapiro requests a medical-related deadline extension to July 24, and the
President’s Office agrees. President’s Office further provides the Charging Party with the
opportunity to respond by July 28, 2023.
64. July 24, 2023 – Respondent’s objections are submitted to President Magill.
65. July 28, 2023 – Charging Party’s response to the objections is submitted to the President.
66. August 11, 2023 – President Magill provides the parties with her decision on the report of the
Hearing Board and the recommended sanctions.




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May 29, 2024

J. Larry Jameson, MD, PhD
Interim President
University of Pennsylvania
1 College Hall, Room 100
Philadelphia, PA 19104

Dear Interim President Jameson:

The Senate Committee on Academic Freedom and Responsibility (“SCAFR”) hereby submits its
Report in the Matter of Professor Amy L. Wax.

After careful considerations, the Committee has found no significant defect in procedure that
would require a remand to the Hearing Board. Our report appears below:

On September 29, 2023, Respondent, Professor Amy L. Wax, filed a Written Statement of
Appeal (“the Appeal”) from the Decision of the President of the University of Pennsylvania (“the
President”) issued on August 11, 2023, to accept the Report of the Hearing Board convened in
this matter and issued on June 21, 2023 (“the Hearing Board Report”). The Appeal was filed
with the Senate Committee on Academic Freedom and Responsibility (“SCAFR”), which is
charged, pursuant to Section II.E.16.4.J. of the Faculty Handbook, with the review of all
documents forwarded to it by the President and the Respondent’s Written Statement of
Appeal. In addition to the Appeal, SCAFR also received, reviewed, and considered a letter dated
October 9, 2023, from Respondent’s counsel, which raised an additional issue which Respondent
believed should be considered as part of her Appeal.

SCAFR’s responsibility under the rules proscribed by the Faculty Handbook is limited: its duty
is to determine whether there has been “a significant defect in procedure,” in which case SCAFR
is required to remand the matter to the Hearing Board for further proceedings pursuant to Section
II.E.16.I.4.

SCAFR’s review occurs after, but is separate from, the President’s review of any appeal. In this
instance, the President considered the matter pursuant to the standard set forth in Section
II.E.16.I.4. of the Handbook and found no “exceptional circumstances” warranting a departure
from the Hearing Board’s recommendation. Faced with the President’s decision to accept the
Hearing Board’s Report, the Respondent's Appeal to SCAFR followed.

To assist SCAFR, the Committee retained outside independent counsel. The work of the
Committee and the advice of counsel were not shared with the University’s Office of General
Counsel.




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In undertaking its work in this matter, the Committee adhered to the limited role set forth for it in
the Faculty Handbook. Under the Committee’s interpretation of the language in the
Handbook, SCAFR’s role was not to conduct a de novo review of the matter. Ambiguities, if
any, in the record below were to be resolved in favor of the Hearing Board’s Report. Deference
was accorded to the Hearing Board’s decisions about how it weighed the evidence before it and
the value and credibility of all witness testimony. Phrased differently, SCAFR did not reach its
own conclusion on the substance of the matter (that is, whether the Charging Party met its
burden of proof of establishing “just cause” for imposition of a major sanction). Under the
Handbook, that substantive determination rests with the Hearing Board as does the determination
of which sanctions were warranted in this case. The Committee did, however, make its own,
independent judgment about whether the required procedures were followed and whether any
potential defects in procedure rose to the level of “significant.” In doing so, SCAFR reviewed all
relevant Faculty Handbook language, the record below, all the filed submissions, and the
October 9, 2023, letter from Respondent’s counsel. The Committee considered each of the
Respondent’s allegations of procedural defect, and the Committee also searched the record for
other potential procedural defects.

After careful consideration and thoughtful discussion, the Committee found no significant
procedural defect. The Committee hereby shares its decision with the President.

Respectfully submitted,
The Faculty Senate Committee on Academic Freedom and Responsibility

CC:
Sophia Z. Lee, Dean, Penn Carey Law School, as the Charging Party
Amy L. Wax, Respondent
Crystal Nix-Hines, Counsel for the Charging Party
David J. Shapiro, Counsel for the Respondent
John L. Jackson, Jr., Provost
Wendy S. White, Senior Vice President and General Counsel




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               almanac.upenn.edu /articles/final-determination-of-complaint-against-professor-amy-wax


               Final Determination of Complaint Against Professor
               Amy Wax
               9-11 minutes


               Final Determination of Complaint Against Professor Amy Wax

               From the Interim President

               The University of Pennsylvania’s Handbook for Faculty and Academic Administrators, in
               the Procedure Governing Sanctions Taken Against Members of the Faculty, provides that
               at the conclusion of a proceeding resulting in the imposition of a major sanction against a
               faculty member, the University President shall publish in Almanac a statement describing
               the case and its disposition.

               The case involving charges brought against Penn Carey Law Professor Amy Wax, initiated
               during the tenure of President Emerita Gutmann, has now concluded, following a review of
               Professor Wax’s appeal by the Senate Committee on Academic Freedom and
               Responsibility (SCAFR). Under the provisions of the Handbook for Faculty and Academic
               Administrators, the SCAFR was charged with determining whether there was a significant
               defect in procedure for this case. The SCAFR has since determined there has not been
               any significant defect in procedure, thereby concluding this matter.

               For the benefit of the University community’s understanding of the matter, I have elected
               to publish in full the decision by then-President M. Elizabeth Magill to accept the
               recommendations of a faculty hearing board, which found Professor Wax responsible for
               major infractions of University behavioral standards and recommended the imposition of
               major sanctions, along with a timeline of the case appended to President Magill’s decision.
               As Interim President, I am confirming and implementing this final decision.

               —J. Larry Jameson, Interim President

               From the Provost

               As noted below, in the matter involving Professor Amy Wax, the Faculty Hearing Board
               recommended a public reprimand. That reprimand is included here for publication. The
               suspension recommended by the Faculty Hearing Board will be imposed in the 2025-2026
               academic year.

               Published: September 24, 2024

               Dear Professor Wax:
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               I write in connection with the decision of the Faculty Senate Hearing Board rendered in
               accordance with the University of Pennsylvania Procedure Governing Sanctions Taken
               Against Members of the Faculty (section II.E.16 of the Handbook for Faculty and
               Academic Administrators) on the charges brought against you by former Dean Theodore
               Ruger. As you know, following a three-day hearing held in May 2023, the faculty Hearing
               Board concluded that you engaged in “flagrant unprofessional conduct” that breached
               your responsibilities as a teacher to offer an equal opportunity to all students to learn from
               you. That conduct included a history of making sweeping and derogatory generalizations
               about groups by race, ethnicity, gender, sexual orientation, and immigration status;
               breaching the requirement that student grades be kept private by publicly speaking about
               the grades of law students by race and continuing to do so even after cautioned by the
               dean that it was a violation of University policy; and, on numerous occasions in and out of
               the classroom and in public, making discriminatory and disparaging statements targeting
               specific racial, ethnic, and other groups with which many students identify.

               The Board recommended sanctions including a one-year suspension from the University
               at half pay; the loss of your named chair; the loss of summer pay in perpetuity; the
               requirement that you note in public appearances that you speak for yourself alone and not
               as a University or Penn Carey Law School faculty member; and a public reprimand.

               Under our policy, former President M. Elizabeth Magill reviewed the Board’s
               recommendations. The Handbook provides that the President “may depart from the
               Hearing Board’s recommendations only in exceptional circumstances, and only to reduce
               the severity of recommended sanctions or to dismiss the charges for failure of proof”
               (Section II.E.16.4.I.2). As she found no exceptional circumstances warranting departure
               from the Board’s recommendations, nor any ground to return the case to the Board for
               further review, President Magill accepted the Board’s recommendations. You subsequently
               appealed the matter to the Faculty Senate Committee on Academic Freedom and
               Responsibility, which found no procedural defect warranting remand to the Hearing
               Board.

               Interim President J. Larry Jameson confirmed and is implementing the final decision. The
               matter is now concluded, so in accordance with the recommendations of the Hearing
               Board, I am issuing to you this public letter of reprimand.

               Academic freedom is and should be very broad. Teachers, however, must conduct
               themselves in a manner that conveys a willingness to assess all students fairly. They may
               not engage in unprofessional conduct that creates an unequal educational environment.
               The Board has determined that your conduct failed to meet these expectations, leaving
               many students understandably concerned that you cannot and would not be an impartial
               judge of their academic performance.

               It is imperative that you conduct yourself in a professional manner in your interactions with
               faculty colleagues, students, and staff. This includes refraining from flagrantly
               unprofessional and targeted disparagement of any individual or group in the University
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               community. These directives will remain in effect for so long as you are a member of the
               University’s standing faculty.

               Sincerely,
               —John L. Jackson, Jr., Provost

               Report of the Senate Committee on Academic Freedom and
               Responsibility

               May 29, 2024

               Dear Interim President Jameson:

               The Senate Committee on Academic Freedom and Responsibility (“SCAFR”) hereby
               submits its Report in the Matter of Professor Amy L. Wax.

               After careful considerations, the Committee has found no significant defect in procedure
               that would require a remand to the Hearing Board. Our report appears below:

               On September 29, 2023, Respondent, Professor Amy L. Wax, filed a Written Statement of
               Appeal (“the Appeal”) from the Decision of the President of the University of Pennsylvania
               (“the President”) issued on August 11, 2023, to accept the Report of the Hearing Board
               convened in this matter and issued on June 21, 2023 (“the Hearing Board Report”). The
               Appeal was filed with the Senate Committee on Academic Freedom and Responsibility
               (“SCAFR”), which is charged, pursuant to Section II.E.16.4.J. of the Faculty Handbook,
               with the review of all documents forwarded to it by the President and the Respondent’s
               Written Statement of Appeal. In addition to the Appeal, SCAFR also received, reviewed,
               and considered a letter dated October 9, 2023, from Respondent’s counsel, which raised
               an additional issue which Respondent believed should be considered as part of her
               Appeal.

               SCAFR’s responsibility under the rules proscribed by the Faculty Handbook is limited: its
               duty is to determine whether there has been “a significant defect in procedure,” in which
               case SCAFR is required to remand the matter to the Hearing Board for further
               proceedings pursuant to Section II.E.16.I.4.

               SCAFR’s review occurs after, but is separate from, the President’s review of any appeal.
               In this instance, the President considered the matter pursuant to the standard set forth in
               Section II.E.16.I.4. of the Handbook and found no “exceptional circumstances” warranting
               a departure from the Hearing Board’s recommendation. Faced with the President’s
               decision to accept the Hearing Board’s Report, the Respondent’s Appeal to SCAFR
               followed.

               To assist SCAFR, the Committee retained outside independent counsel. The work of the
               Committee and the advice of counsel were not shared with the University’s Office of
               General Counsel.

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               In undertaking its work in this matter, the Committee adhered to the limited role set forth
               for it in the Faculty Handbook. Under the Committee’s interpretation of the language in the
               Handbook, SCAFR’s role was not to conduct a de novo review of the matter. Ambiguities,
               if any, in the record below were to be resolved in favor of the Hearing Board’s Report.
               Deference was accorded to the Hearing Board’s decisions about how it weighed the
               evidence before it and the value and credibility of all witness testimony. Phrased
               differently, SCAFR did not reach its own conclusion on the substance of the matter (that is,
               whether the Charging Party met its burden of proof of establishing “just cause” for
               imposition of a major sanction). Under the Handbook, that substantive determination rests
               with the Hearing Board as does the determination of which sanctions were warranted in
               this case. The Committee did, however, make its own, independent judgment about
               whether the required procedures were followed and whether any potential defects in
               procedure rose to the level of “significant.” In doing so, SCAFR reviewed all relevant
               Faculty Handbook language, the record below, all the filed submissions, and the October
               9, 2023, letter from Respondent’s counsel. The Committee considered each of the
               Respondent’s allegations of procedural defect, and the Committee also searched the
               record for other potential procedural defects.

               After careful consideration and thoughtful discussion, the Committee found no significant
               procedural defect. The Committee hereby shares its decision with the President.

               Respectfully submitted,
               —The Faculty Senate Committee on Academic Freedom and Responsibility




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    Report for the Senate Committee on Academic Freedom and Responsibility (SCAFR)
                       regarding the Appeal Procedure of Amy Wax
                                 Jules van Binsbergen, member of SCAFR

The case before us is not about agreeing or disagreeing with Professor Amy Wax’s points of view.
Well-functioning universities encourage a plurality of views, even those that are upsetting to part of
their student body and faculty. Further, openly disagreeing with other people’s points of view is part
and parcel of any well-functioning academic institution. The question of whether we like her speech
(or her beliefs) is also not part of SCAFR’s charge. Many people dislike her speech, and she herself
has described her character as disagreeable, in public. What SCAFR is charged with is to judge whether
the procedure against Professor Wax was followed appropriately. This includes the question of whether
such a procedure should have been started to begin with.

The handbook states in Section II.E.16. that “The imposition of a sanction on a faculty member of the
University of Pennsylvania is a rare event. However, when situations that might lead to such an action
arise, they must be handled fairly and expeditiously. It is essential to have a process that both protects
the rights of faculty members and addresses the legitimate concerns of the University [emphasis
added].”

The documentation provided to SCAFR makes it clear that the procedure against Professor Wax did
not appropriately protect her rights. Further, insufficient effort was made to ensure that it was handled
fairly. To an independent observer, this case has similarities to a Kafka trial: a trial where it is never
made explicit what exactly the crime or violation (“the professional misconduct”) entails, and where
the process is specifically tailored to arrive at a predetermined verdict. The procedure comes across as
a poorly concealed ploy to persecute speech (all of the cited “offenses” concern speech) while
pretending that it is not about speech, but about professional misconduct. Allowing this ploy to
continue any further is dangerous and not in the best interest of the university, particularly in light of
recent events. Penn’s former president had to resign over the exact same issues that we are grappling
with here. The conclusion of this report is that as a ma tter of procedure, (then) Dean Ruger should
never have brought charges against Professor Wax and (then) President Magill should never have
upheld the verdict. Further, in the interim process, a large number of major procedural errors were
committed. These include (but are not limited to):

    1. University administrators involved in the case making statements in (a) congressional
       testimony, (b) public interviews, and (c) on one of Penn’s official websites on free speech, are
       in direct contradiction with the decision to bring a case against Professor Wax, let alone convict
       her and uphold that conviction. Nearly all of the stated examples of speech “misconduct” in
       (then) Dean Ted Ruger’s complaint letter to Professor Vivian Gadsden occurred in the public
       square and not in the classroom. They are fully protected by first amendment principles, which
       Penn leadership has claimed university policy is based on. 1 As such, as a matter of procedure,
       these examples cannot be used to bring a charge against Professor Wax or base the verdict on.

    2. The recently introduced false dichotomy between protected speech and the conduct/behavior
       that comes with that speech. Speech is indeed behavior, but a very particular form of behavior

1
  Both the Academic Freedom Alliance (AFA) and the Foundation of Individual Rights and Expression (FIRE), two
independent organizations that protect academic freedom and free speech, have argued the same.




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       that is protected. The newly introduced standard, which separates the behavior from the speech
       and labels it professional (mis)conduct that is punishable, is fundamentally at odds with first
       amendment principles. It would imply that speech is only protected to the extent that appointed
       administrators deem it consistent with some subjective notion of professional conduct. That is,
       speech would not be protected at all. This proposed behavioral standard is such an egregious
       infraction of academic freedom and free speech principles inconsistent with Penn’s publicly
       stated policies, that I formally request an investigation by SCAFR into this matter as soon as
       possible.

   3. The retroactive application of this nonsensical behavioral standard to Professor Wax’s past
      behavior. Most of the stated examples of speech “misconduct” have occurred before the new
      behavioral standard was introduced.

   4. The inappropriate use of the “major infraction” article in the faculty handbook intended for
      cases like physical abuse, research misconduct, misuse of university funds, providing illegal
      substances to or harassing students, and plagiarism, to persecute a member of the faculty for
      protected speech. The “minor infraction” article was never invoked.

   5. The intentional initial suppression and later misrepresentation of a report largely favorable to
      the accused by (then) law school Dean Professor Ted Ruger and the legal counsel of the
      university.

   6. The selection of a hearing board that was unaltered despite the defendant’s exercised right to
      suggest the exclusion of certain members because of their conflict of interest. While there is
      no formal obligation to honor these suggestions, any reasonable application of fairness
      principles (combined with the availability of many alternative candidates), should have led to
      honoring those requests. Jury selection is a crucial element of any fair trial. Yet, there was
      insufficient effort taken in this case to ensure an unbiased and balanced hearing board.

   7. The inappropriate use of a guilt-by-association mechanism. Professor Ruger used the invitation
      of a controversial speaker to campus by Professor Wax as part of the charges against her.

   8. The inappropriate conduct of Penn’s legal counsel by pretending to SCAFR that they are
      impartial in this matter which, given their actions described in the previous points, is clearly
      false. Asking the same legal counsel to instruct SCAFR how its meetings should be run and
      what exactly is SCAFR’s scope of investigation, is a blatant conflict of interest that in and of
      itself constitutes a major procedural defect. Legal counsel should have recused themselves
      rather than inappropriately inserting themselves into the procedure. Unsurprisingly, legal
      counsel has attempted to define SCAFR’s scope quite narrowly, while the handbook allows
      SCAFR’s scope to be as extensive as it chooses it to be. SCAFR is allowed to investigate and
      write reports on any matter it deems important, including this case. That specific language in
      the faculty handbook was chosen for a reason. I formally request an investigation by SCAFR
      into legal counsel’s conduct in this matter as soon as possible.


The remainder of this report elaborates on these points.




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Add 1.
In her decision, Penn’s former president Professor Liz Magill writes that she has chosen to uphold the
proposed conviction against Professor Wax. However, shortly after that decision she has testified in
front of congress and has stated in interviews (e.g. CNN) that Penn adheres to first amendment
principles which protect speech (even perceived hateful speech) as long as it does not provoke a crowd
to immediately carry out violent and unlawful action. Similarly, Professor Sigal Ben-Porath, who is
the co-chair of the hearing board that convicted Amy Wax, and who has reaffirmed the hearing board’s
conviction by ensuring in written form that this was not a close case, writes on the Penn’s FAQ website
when asked “What about hate speech?”:
         “Hate speech is very hard to define in a way that would allow institutions to address it. Even
         if we could define it, we could not prevent or punish hate speech, because it is protected under
         the First Amendment. While as a private institution we are not subject to the First
         Amendment, the University’s policies have embraced these values. Universities can invest
         their efforts and resources in educating their members and in creating spaces and contexts for
         productive dialogue, but they cannot legitimately punish members — students, staff, and
         faculty — who choose not to participate in those, or who profess bigoted and other hateful
         views. This is especially true in open and public spaces, like Locust Walk. We can address
         classroom speech and behaviors that disrupt learning, but what our community members say
         in public spaces, including those spaces that are part of our campus, is only subject to
         discipline if the inflammatory speech intentionally and effectively provokes a crowd to
         immediately carry out violent and unlawful action. This means that if someone voices hateful
         views, the only appropriate response that can come from the community takes the form of
         disagreement, rejection, or offering alternative (or even ignoring the hateful statements, which
         may not deserve our attention). [emphasis added]”
The statements by President Magill and Professor Ben-Porath are fundamentally at odds with the
decisions to start a case against and to convict (or uphold the conviction of) Professor Wax. Nearly all
of the stated examples of speech “misconduct” in Dean Ted Ruger’s complaint letter to Professor
Vivian Gadsden occurred in the public square and not in the classroom. This severely undermines the
hearing board’s conclusion that Professor Wax has mistreated students in a classroom setting. 2 Little
direct evidence of that claim has been offered, and even that evidence has been disputed by Amy Wax.
It is her word against that of the (former) students. 3 The inappropriate inclusion and overrepresentation
of her first-amendment-protected public statements in Dean Ruger’s complaint letter is testament to
the weakness of the case, particularly given that her classroom behavior earned her a university-wide
teaching award in 2015. More importantly, allowing these public statements to largely carry the case
and use them to start the case to begin with, is a major procedural error. The case should have been
dismissed out of hand.
To my knowledge, nobody has argued that Professor Wax’s public statements have provoked a crowd
to immediately carry out violent and unlawful action, her public speech should have been fully

2
  See also the Rodriguez report.
3
  Given the incredibly large number of students she has taught over the years, finding a few that were offended by
her speech in class surely was not hard. One would hope that the existence of such students does not justify a “major
infraction” procedure for our faculty. Given that she has won the Lindback award in 2015, certainly many students
and colleagues who thought she was an outstanding instructor were readily available as well.




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protected. 4 That leaves us with the following conundrum. Either (1) Professors Magill and Ben-Porath
while claiming that they (and the university) adhere to first amendment principles in fact do not, or (2)
since Professor Wax’s conviction, Professors Magill and Ben-Porath have changed their mind and now
believe that first amendment principles should apply while previously other considerations trumped
those principles (this change of heart is not implausible given the recent turmoil at Penn resulting from
the events on October 7th) or (3) Amy Wax’s case was a miscarriage of justice that due to unfortunate
procedural circumstances has led us to why we are here today. Each of these three possible explanations
should give SCAFR pause and should be grounds for sending this case back to the interim president
for reconsideration. Further, I formally request that SCAFR investigates how as an institution we ended
up with this conundrum, so that it can be avoided in the future.
Another important detail in the file should give SCAFR pause. Professor Ben-Porath has reaffirmed
the hearing board’s conviction by ensuring in written form that Professor Wax’s conviction was not a
close call. This raises the question of how she and/or the committee could have reached that conclusion.
Given that no precedent to the current case was provided to SCAFR despite my repeated requests, I
can only conclude that this case is the first of its kind. Indeed, given that a new behavioral standard
was introduced by Professor Anita Allen shortly before proceeding with this case, it begs the question
what the statement made by Professor Ben-Porath exactly communicates. How can she claim that the
case was not a close case when no other case exists that it can be compared to? Perhaps she means: not
a close case as measured by the recently invented new behavioral standard that was then retroactively
applied to Amy Wax’s speech? Professor Ben-Porath’s statement thus undermines the hearing board’s
supposedly independent verdict. Given that this was an unprecedented action taken against a faculty
member based on speech “violations” alone, it should have been an incredibly hard case to decide.
That is indeed what (then) President Magill writes in her letter. SCAFR should ask Professor Ben-
Porath for clarification in this matter.
Add 2.
The hearing board, in its verdict, is attempting to have it both ways. On the one hand, they would like
to acknowledge that Professor Wax’s speech is protected. On the other hand, they dislike her speech
so much that they want to sanction it. As no actual major misconduct, as defined in the handbook, is
available to base a sanction on, the hearing board is left with only one other option: the introduction of
a dichotomy between speech (that is fully protected) and the conduct that comes with that speech that
they can then sanction. This dichotomy is false and baseless. Not only is it in direct contradiction with
first amendment principles (which, as argued before, the university and its administrators claim to
uphold), but it poses a major risk to all faculty at the university that have unpopular opinions. Who is
to decide in future cases which unpopular speech is professional misconduct and which speech is not?
Recent events on campus have made it painfully clear how difficult such calls will be.
The hearing board is attempting to give some credence to a professional misconduct charge by arguing
that Professor Wax has professed outdated theories and/or scientific inaccuracies. Once again, this
point of view is misguided. First amendment principles explicitly give people the right to profess
opinions that turn out to be incorrect. The only way to challenge and test orthodoxies and solidify

4
 This has also been pointed out by the Foundation for Individual Rights and Expression (FIRE) as well as the
Academic Freedom Alliance (AFA) who have both indicated that all the speech Amy Wax is convicted for is fully
protected by first amendment rights and common standards of academic freedom.




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scientific knowledge is to sometimes (or even often) be wrong. The whole point of academic freedom
and speech protections is that faculty are allowed to challenge orthodoxies that are deemed
scientifically accurate at that time. Faculty are also allowed to try and revive old theories that have
been deemed inaccurate. It would not be the first time that old theories are revived and are reintroduced
as valid scientific arguments. None of this in any way implies that Professor Wax’s theories are correct.
It only implies that she is allowed to pose them. The hearing board fails to acknowledge that any well-
functioning academic institution explicitly embraces the insight that no party possesses the moral
authority to monopolize the truth or censor opponents, not even the esteemed members of the hearing
board. Incorrect hypotheses are rejected only by argument and persuasion, logic and evidence, not
suppression, sanctions or ad-hominem attacks.
Add 3.
Independently of whether one believes the newly proposed behavioral standard should be applied
going forward, certainly it is inconsistent with fairness principles to apply them retroactively. When
Amy Wax received tenure at the University of Pennsylvania, none of these standards were in place. In
fact, several of the testimonies that were given referred to speech that occurred over a decade ago.
Related to this point, there are important asynchronicities in the file. The charging party seems to argue
that in the past she was an outstanding teacher (as is evident from her 2015 University-wide teaching
award) and that the issues raised are recent. This undermines the severity of the testimonies in the file
that refer to speech “violations” that occurred long before the granting of that teaching award.
Add 4.
The Academic Freedom Alliance writes in its letter to the charging party: “Professor Wax’s personal
opinions do not exhibit “a ‘flagrant disregard of the standards, rules, or mission of the University or
the customs of scholarly communities’ that might give rise to disciplinary action under the Faculty
Handbook, and the list of major infractions provided in the Handbook in no way resemble the actions
at issue here.” The key question indeed is why Dean Ruger has decided to immediately move to a
major infraction charge when the examples listed are indeed far removed from the unpleasant speech
that professor Wax is accused of. Was a minor infraction procedure ever under consideration? The
potentially inappropriate use of the major infraction article can have material implications. After all,
the handbook states that “the bringing of charges of major or minor infractions of University standards
against a member of the University community, knowing these charges to be false or recklessly
indifferent to their truth or falsity” does itself constitute a major infraction. I formally request that
SCAFR investigates this matter.
Add 5.
The documents that were shared with SCAFR contain a detailed and nuanced report by the former
Dean of the law school of Northwestern University, Professor Daniel Rodriguez. From what I
understand it was Penn who commissioned this report. From e-mail communication I have had with
Professor Rodriguez it has come to my attention that he was instructed to only share the report with
(then) Dean Ruger and Wendy White (the legal counsel of the university) and not share it with anybody
else, including Professor Wax and her legal counsel. Only later was this report released to the larger
public (presumably through a leak). The strategic use of information in this manner by the university
and its legal representatives when somebody’s livelihood and reputation are at stake are in my opinion
not consistent with the handbook’s prescription of a fair proceeding. Professor Rodriguez has indicated



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in e-mail communication with me that he had his own thoughts about the request not to share the report
with Professor Wax, but that he did what he was told. He also indicated that he was disappointed with
Dean Ruger referring in public statements to parts of the report out of context. This behavior on the
part of the university and its representatives is of course disappointing, and does not give credence to
the process. It, in fact, provides evidence of declining governance standards at Penn. SCAFR should
investigate who decided to withhold this important evidence from the accused.
Add 6.
In any proceeding, the selection of jury members is an incredibly important step that if done incorrectly
can severely undermine a fair trial. The handbook states that the charging party and the respondent
each shall be given the opportunity to move to disqualify for prejudice any potential member of the
Hearing Board designated by the Chair of the Faculty Senate. Professor Wax was concerned about the
potential conflict of interest of those hearing board members who attended Professor Anita Allen’s
presentation that outlined the new behavioral standard mentioned above. Given the topic and timing of
this presentation, it is conceivable that this presentation was specifically targeted to provide tools to
get a conviction in Professor Wax’s case. As such, the request to exclude from the hearing board the
self-selected group of faculty that chose to attend that talk is reasonable. Given that the vast majority
of faculty members did not attend that talk, composing an impartial hearing board that satisfied
Professor Wax’s request would have been easy to achieve.
Add 7.

Inviting others to speak in one’s class (or anywhere elsewhere for that matter) in no way implies the
endorsement of their views. More importantly, exposing students to controversial views is an important
part of a university education. If we believe that we have properly educated our students in critically
analyzing all statements and arguments presented to them by professors, classmates and speakers, there
should be no issue with confronting them with controversial claims. In fact, the only way to teach them
such critical thinking skills is to confront them with such claims. This seems particularly important for
law students, most of whom will be confronted with controversial opinions in their careers. Regardless,
including the invitation of a controversial speaker as part of a major infraction charge is highly
inappropriate.


Conclusion
As outlined in this report, SCAFR should be aware of many serious procedural flaws in the case of
Professor Amy Wax. These flaws are so severe that absent an immediate dismissal of the case, it will
cause long-term harm to the university and its reputation. There is a very large chance that these
procedural flaws will become public in the inevitable lawsuit that will follow if SCAFR would uphold
the hearing board’s decision. Given the university’s recent stance against antisemitism, a severely
unjust procedure against a Jewish female faculty member, of all things over free speech issues, is the
last thing the university’s administration should want to continue. SCAFR should recommend to the
university interim president that the case should be dismissed immediately.




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                                                                                                                    Guidelines on Open Expression             1




GUIDELINES ON OPEN                                                              manner that attracts attention, as in protest, rallies, sit-ins, vigils, or
                                                                                similar forms of expression. “University location” designates:

EXPRESSION                                                                       1. The campus of the University;
                                                                                 2. Any location owned, leased or used by the University, when used
                                                                                    by members of the University community; and
I. Principles                                                                    3. Areas immediately adjacent thereto.
A. The University of Pennsylvania, as a community of scholars, afﬁrms,
   supports and cherishes the concepts of freedom of thought, inquiry,       III. Standards
   speech, and lawful assembly. The freedom to experiment, to present        A. The University, through the President, the Provost, and the Vice
   and examine alternative data and theories; the freedom to hear,              Provost for University Life, shall act to encourage and facilitate free
   express, and debate various views; and the freedom to voice criticism        and open expression within these Guidelines.
   of existing practices and values are fundamental rights that must be          1. The University shall publish these Guidelines at least once each
   upheld and practiced by the University in a free society.                        academic year in a manner that brings them to the attention
B. Recognizing that the educational processes can include meetings,                 of members of the University community. The University shall
   demonstrations, and other forms of collective expression, the                    publish the rules adopted pursuant to IV.B.1 (p. 2) by the
   University afﬁrms the right of members of the University community               Committee on Open Expression at least once each academic year
   to assemble and demonstrate peaceably in University locations                    in a manner that brings them to the attention of members of the
   within the limits of these Guidelines and undertakes to ensure                   University community.
   that such rights shall not be infringed. In keeping with the rights           2. The University shall establish standards for the scheduling of
   outlined in I.A. (p. 1) above, the University afﬁrms that the                    meetings and events. This shall involve:
   substance or the nature of the views expressed is not an appropriate              a. Publishing policies and procedures whereby members of the
   basis for any restriction upon or encouragement of an assembly                       University community, upon suitable request, can reserve and
   or a demonstration. The University also afﬁrms the right of others                   use designated spaces within University buildings for public
   to pursue their normal activities within the University and to be                    or private meetings or events;
   protected from physical injury or property damage. The University                 b. Publishing policies and procedures whereby members of the
   shall attempt to ensure that, at any meeting, event or demonstration                 University community, upon suitable request, can reserve and
   likely to be attended by non-University law enforcement authorities,                 use designated outdoor spaces on the University campus for
   the rights provided by these Guidelines are not infringed.                           public meetings or events;
C. The University shall be vigilant to ensure the continuing openness                c. Publishing policies and procedures that speciﬁcally
   and effectiveness of channels of communication among members                         address requests involving groups composed entirely or
   of the University community on questions of common interest. To                      predominantly of persons who are not members of the
   further this purpose, a Committee on Open Expression has been                        University community (see Section VI (p. 4));
   established as a standing Committee of the University Council. The
                                                                                     d. Consulting with the Committee on Open Expression with
   Committee on Open Expression has as its major tasks: participating
                                                                                        regard to the substance of the policies and procedures and
   in the resolution of conflicts that may arise from incidents or
                                                                                        the manner of their publication; and, if practicable, consulting
   disturbances implicating these Guidelines; mediating among the
                                                                                        with the Committee on Open Expression before denying a
   parties to prevent conflicts and violations of these Guidelines;
                                                                                        request for use of a room, facility, or space by an organization
   interpreting these Guidelines; advising administrative ofﬁcers when
                                                                                        recognized by the University for a reason other than prior
   appropriate; and recommending policies and procedures for the
                                                                                        assignment of the room, facility, or space. In any event, any
   improvement of all levels of communication.
                                                                                        such denial must be reported promptly to the Committee.
D. In case of conflict between the principles of the Guidelines on
                                                                             B. Each member of the University community is expected to know and
   Open Expression and other University policies, the principles of the
                                                                                follow the Guidelines on Open Expression. A person whose conduct
   Guidelines shall take precedence.
                                                                                violates the following Standards may be held accountable for that

II. Deﬁnitions                                                                  conduct, whether or not the Vice Provost or delegate has given an
                                                                                instruction regarding the conduct in question. Any member of the
A. For the purposes of these guidelines, the “University community”             University community who is in doubt as to the propriety of planned
   shall mean the following individuals:                                        conduct may obtain an advisory opinion from the Committee on Open
    1. Persons who are registered as students or who are on an                  Expression in advance of the event.
       unexpired ofﬁcial leave of absence.                                       1. Individuals or groups violate these Guidelines if:
    2. All persons who are employed by the University.                               a. They interfere unreasonably with the activities of other
                                                                                                                                    1
    3. Trustees and associate trustees of the University and members of                 persons. The time of day, size, noise level, and general tenor
       Boards of Overseers or other bodies advisory to the University.                  of a meeting, event or demonstration are factors that may be
                                                                                        considered in determining whether conduct is reasonable;
B. For the purposes of these Guidelines, “meeting” and “event” designate
   a gathering of persons in a University location previously reserved for           b. They cause injury to persons or property or threaten to cause
   that purpose. Unless designated as public, meetings are considered                   such injury;
   to be private. Events are considered to be public. “Demonstration”                c. They hold meetings, events or demonstrations under
   designates the presence of one or more persons in a University                       circumstances where health or safety is endangered; or
   location with the intent to express a particular point of view in a               d. They knowingly interfere with unimpeded movement in a
                                                                                        University location.


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    2. Individuals or groups violate these Guidelines if they hold a              3. The Chair of the Committee shall be selected by the Committee
       demonstration in the following locations:                                     on Committees from among the members of the Committee on
        a. Private ofﬁces, research laboratories and associated facilities,          Open Expression.
           and computer centers; or                                            B. Jurisdiction
        b. Ofﬁces, museums, libraries, and other facilities that                  The Committee has competence to act in issues and controversies
           normally contain valuable or sensitive materials, collections,         involving open expression in accordance with these Guidelines. The
           equipment, records protected by law or by existing University          Committee’s responsibilities are the following:
           policy such as educational records, student-related or                  1. Issuing rules to interpret or give more speciﬁc meaning to the
           personnel-related records, or ﬁnancial records; or                         Guidelines. Before adopting a rule, the Committee must hold
        c. Classrooms, seminar rooms, auditoriums or meeting rooms                    an open hearing on the proposed rule and receive the views of
           in which classes or private meetings are being held or are                 individuals or groups. An afﬁrmative vote of eight members is
           immediately scheduled; or                                                  required for adoption, modiﬁcation or recision of a rule to be
                                                                                      effective.
        d. Hospitals, emergency facilities, communication systems,
           utilities, or other facilities or services vital to the continued      2. Recommending to the University Council proposals to amend or
           functioning of the University.                                            repeal the Guidelines. An afﬁrmative vote of seven members is
                                                                                     required to make such recommendations.
    3. a. Individuals or groups violate these Guidelines if they continue
          to engage in conduct after the Vice Provost for University Life         3. Giving advisory opinions interpreting the Guidelines at the request
          or delegate has declared that the conduct is in violation of               of a member of the University community for the purpose of
          the Guidelines and has instructed the participants to modify               advising that person or the University community. Such advice is
          or terminate their behavior. Prompt compliance with the                    provided to guide future action. If the Committee does not give
          instructions shall be a mitigating factor in any disciplinary              a requested opinion, it must indicate its reasons for not doing
          proceedings based upon the immediate conduct to which                      so. The Committee must respond to such requests as soon as
          the instructions refer, unless the violators are found to have             feasible but in any event not later than within one month of the
          caused or intended to cause injury to person or property or to             receipt by the Chair of the Committee.
          have demonstrated willfully in an impermissible location.               4. Giving advisory opinions interpreting the Guidelines at the request
        b. If the individuals or groups refuse to comply with the                    of administrative ofﬁcials with responsibilities affecting freedom
           Vice Provost’s or delegate’s order, they may challenge                    of expression and communication. Such advice is provided for
           the appropriateness of the order to the judicial system. If               the purpose of guiding future action.
           the judiciary ﬁnds that the conduct was protected by the               5. Mediating in situations that involve possible violations of the
           Guidelines, all charges shall be dismissed.                               Guidelines. Those Committee members available at the time may
        c. Individuals or groups complying with the Vice Provost’s                   act on behalf of the Committee. In carrying out the mediation
           or delegate’s order may request that the Committee on                     function, the Committee or those members present may advise
           Open Expression determine if the Guidelines were properly                 the responsible administrative ofﬁcials and any other person
           interpreted and applied to their conduct.                                 with respect to the implementation of the Guidelines. Those
                                                                                     Committee members who have acted on behalf of the Committee
IV. Committee on Open Expression                                                     must report on their activities to the full Committee.
                                                                                  6. Reviewing the following administrative decisions for the purpose
A. Composition
                                                                                     of providing advice on future actions.
    1. The Committee on Open Expression consists of seventeen
                                                                                      a. At the discretion of the Committee, administrative decisions
       members: eight faculty members named by the Faculty
                                                                                         involving these Guidelines made without consultation with
       Senate Executive Committee, two representatives of the Penn
                                                                                         the full Committee.
       Professional Staff Assembly, one representative of the Weekly-
       Paid Professional Staff Assembly, and three undergraduate                      b. All instructions by the Vice Provost or delegate to modify or
       students and three graduate/professional students selected by                     terminate behavior under Section III.B.3 (p. 2) of these
       the appropriate student governance organizations (currently the                   Guidelines.
       Nominations and Elections Committee of the Undergraduate                   7. Investigating incidents involving the application of these
       Assembly and the Graduate and Professional Student Assembly).                 Guidelines to aid the Committee in its functions of rule making,
    2. Members of the Committee are appointed for the following terms:               recommending changes in the Guidelines or issuing advisory
       a. The faculty and representatives of the Penn Professional                   opinions. Such functions provide guidance to the University
          Staff Assembly are appointed to two-year terms, staggered                  community for future action. The results of Committee
          so that in each year either two or three faculty members are               investigations for these purposes shall not be a part of the
          appointed and one representative of the Penn Professional                  initiation, consideration or disposition of disciplinary proceedings,
          Staff Assembly is appointed.                                               if any, arising from the incidents.

        b. The representative of the Weekly-Paid Professional Staff               8. Adopting procedures for the functions of the Committee, varied
           Assembly is appointed for a two-year term.                                to suit its several functions, consistent with these Guidelines.
                                                                                     Procedures that are not wholly matters of internal Committee
        c. The undergraduate and graduate/professional student
                                                                                     practice must be made public in advance of implementation.
           members are appointed to one-year terms.
                                                                                     Except as otherwise provided, the Committee may determine its
        d. Vacancies shall be ﬁlled for the unexpired term by the                    own voting procedures.
           appropriate nominating body or persons.




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    9. Submitting an annual report to the Council and the University on          C. The Vice Provost or delegate is responsible for enforcing Section III.B
       the status of the Committee’s work in the University journal of              (p. 1). and may instruct anyone whose behavior is violating or
       record.                                                                      threatens to violate these Guidelines to modify or terminate such
C. Procedures                                                                       behavior. The instruction shall include notice that failure or refusal
    1. Except as provided with respect to the mediation function in                 to comply is a further violation according to Section III.B (p. 1).
       Section IV.B.5 (p. 2), seven members of the Committee                        of these Guidelines. However, an instruction or warning by the Vice
       constitute a quorum.                                                         Provost or delegate is not a prerequisite for a ﬁnding that a violation
                                                                                    has occurred.
    2. The Committee can authorize subcommittees, selected from its
                                                                                     1. When the Vice Provost or delegate declares that an individual
       own members, to act for the Committee in any matter except the
                                                                                         or a group has violated the Guidelines, he or she may request to
       issuance of rules interpreting or implementing the Guidelines
                                                                                         examine their University identiﬁcation.
       or the making of recommendations to amend or repeal the
                                                                                          a. Failure to comply with this request is in violation of the
       Guidelines.
                                                                                             Guidelines.
    3. The Committee shall respect the privacy of individuals as
                                                                                         b. In the event that any person(s) are deemed by the Vice
       its general policy and shall maintain the right to declare the
                                                                                            Provost or delegate, in consultation with available members
       conﬁdentiality of its proceedings.
                                                                                            of the Committee on Open Expression, to have violated the
         a. If a person appearing before the Committee requests that
                                                                                            Guidelines and such person(s) refuse to show University
            his or her testimony or information be kept conﬁdential, the
                                                                                            or other identiﬁcation, the Vice Provost or delegate shall
            Committee shall consider such a request. The Committee
                                                                                            if practicable inquire of other individuals present as to the
            then shall determine whether to honor that request and shall
                                                                                            identity of the claimed violator(s). Identiﬁcation by two other
            inform that person of its decision before testimony is given.
                                                                                            individuals shall sufﬁce to establish identity. Should it not
        b. Minutes of particular Committee meetings may be declared
                                                                                            be possible to establish identity in this way, the Vice Provost
           conﬁdential by the Committee or be so declared at the
                                                                                            or delegate may direct that photographs be taken of the
           discretion of the chair subject to review by the Committee.
                                                                                            participant(s) in the claimed violation. The Vice Provost or
        c. All Committee documents containing conﬁdential material, as                      delegate must warn the individual(s) that their photographs
           determined by the chair, shall be clearly marked “conﬁdential”                   will be taken unless identiﬁcation is presented. Photographs
           and shall carry a warning against unauthorized disclosure.                       and videotapes obtained without such warning may not be
                                                                                            used as evidence in disciplinary proceedings. It is preferred
V. Responsibilities for Enforcement                                                         that a member of the Committee on Open Expression take
A. It is the responsibility of the Vice Provost for University Life (hereafter              any such photographs; however, if no such person is able or
   referred to simply as the “Vice Provost”) to protect and maintain the                    willing to do so, another member of the University community
   right of open expression under these Guidelines.                                         may be requested to do so. As soon as safely practicable, all
                                                                                            such photographs shall be turned over to the Vice Provost
B. Observation of meetings, events or demonstrations, when deemed
                                                                                            or delegate. Any photographs taken (including videotapes
   necessary by the Vice Provost to protect and maintain open
                                                                                            and negatives) shall be used solely by the Ofﬁce of Student
   expression, shall be the responsibility of the Vice Provost, who may
                                                                                            Conduct for the purpose of investigation of alleged violations
   delegate such responsibility. This delegate shall have full authority to
                                                                                            and possible identiﬁcation of alleged violators of these
   act in the name of the Vice Provost under these Guidelines.
                                                                                            Guidelines. If it is determined that no violation has occurred,
    1. The observer (Vice Provost or delegate) shall identify himself or
                                                                                            the Vice Provost or delegate shall destroy the photographs.
       herself to those responsible for the meeting or event or to the
                                                                                            If a violation is found to have occurred, after identiﬁcation
       leaders of the demonstration.
                                                                                            has been made and the case has been adjudicated, the Vice
    2. The Vice Provost shall attempt to inform the chair of the
                                                                                            Provost or delegate shall destroy the photographs. None
       Committee on Open Expression of meetings, events or
                                                                                            of the photographs shall be published. After each incident
       demonstrations to which an observer will be sent. The chair may
                                                                                            at which photographs are taken, the Committee on Open
       designate a member or members of the Committee to accompany
                                                                                            Expression shall report on the incident to the University
       and advise the observer. Such a Committee representative shall
                                                                                            Council, via the chair of the University Council Steering
       also be identiﬁed to those responsible for the meeting or event or
                                                                                            Committee, regarding what happened in the incident, which
       to the leaders of the demonstration.
                                                                                            individuals saw the photographs, and the disposition of the
    3. Except in emergencies, the Vice Provost’s authority under these                      photographs.
       Guidelines shall not be delegated to employees of the University’s
                                                                                     2. In carrying out this responsibility for safeguarding the right of
       Department of Public Safety. The role of public safety personnel
                                                                                        open expression, the Vice Provost shall obtain the advice and
       at a meeting, event or demonstration is deﬁned below, in Section
                                                                                        recommendation of the representatives of the Committee on
       V.C.3 (p. 3).
                                                                                        Open Expression whenever feasible.
    4. Any observer or Committee representative who attends a
                                                                                     3. The Vice Provost or delegate may request members of the
       meeting, event or demonstration shall respect the privacy of
                                                                                        University Police to attend meetings, events or demonstrations to
       those involved. If there has been no violation of these Guidelines,
                                                                                        help protect the open expression of those involved.
       other University regulations, or applicable laws, an observer,
                                                                                         a. Any person acting as an agent of the Division of Public Safety
       committee representative, or public safety employee who
                                                                                            who attends a meeting, event or demonstration in a University
       attends a meeting, event or demonstration shall not report on the
                                                                                            location shall be clearly identiﬁable as such and in normal
       presence of any person at such meeting, event or demonstration.
                                                                                            duty uniform. (Arms may be carried if they are part of “normal
                                                                                            duty uniform.”)


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         b. Public Safety personnel also may attend meetings, events
                                                                               1
            or demonstrations when requested to do so by the person              An “unreasonable noise level” is deﬁned as sound above 85 decibels
            or group responsible for the event, when prominent public            measured by a calibrated sound-level meter at an “A” weighting on
            ﬁgures are involved, or when the Commissioner of Public              “slow” response ten feet away from and directly in front of the source,
            Safety or delegate determines that there exists an imminent          ampliﬁer or loudspeaker when the latter is within 50 feet of a building.
                                                                               2
            danger of violence at the event.                                     Videotaped or closed circuit television information collected by posted,
     4. Terminating a meeting, event or demonstration by force is a most         ﬁxed location cameras is excluded, as long as it is in conformance with
        serious step, as this action may exacerbate existing tensions and        the rules of the CCTV policy as of January 13, 1999.
        may lead to personal injury and property damage.
         a. Avoidance of injury to persons by the continuation of a            (Source: Almanac, March 16, 1993 (https://almanac.upenn.edu/archive/
            meeting, event or demonstration is a key factor in determining     v39pdf/n25/031693.pdf))
            whether it should be forcibly terminated. Property damage
            and signiﬁcant interference with educational processes
            are also factors to be considered and may be of sufﬁcient
                                                                               Interpretative Guidelines (Sections I & II)
            magnitude to warrant forcible termination.                         Adopted by the 2014-2015 Committee on
         b. Whenever possible, the Vice Provost or delegate should             Open Expression
            consult with the Committee on Open Expression before
                                                                               These are interpretative guidelines adopted by the members of the
            seeking a court injunction against those involved in a
                                                                               2014-2015 Committee on Open Expression of the University, pursuant to
            meeting, event or demonstration or calling for police action.
                                                                               the Guidelines on Open Expression, Section IV.B.
         c. The Vice Provost or delegate shall inform those involved
            that he or she intends to seek an injunction or call for police    I. Inviting Speakers to Campus
            intervention before he or she does so.
                                                                               A. The Guidelines clearly express the foundational value of free speech
         d. When a meeting, event or demonstration is forcibly                    at Penn (I.A.): “The University of Pennsylvania, as a community of
            terminated, a full statement of the circumstances leading to          scholars, afﬁrms, supports and cherishes the concepts of freedom
            the incident shall be publicized by the Vice Provost within the       of thought, inquiry, speech, and lawful assembly. The freedom to
            University.                                                           experiment, to present and examine alternative data and theories; the
D. 1. Cases involving undergraduate students are referred to the Ofﬁce            freedom to hear, express, and debate various views; and the freedom
      of Student Conduct who investigates the event and decides what              to voice criticism of existing practices and values are fundamental
      disciplinary proceedings, if any, to pursue.                                rights that must be upheld and practiced by the University in a free
     2. Cases involving graduate or professional students are referred to         society.” These values are of paramount importance: “In case of
        the Ofﬁce of Student Conduct or to the established disciplinary           conflict between the principles of the Guidelines on Open Expression
        body of the school in which the student is enrolled.                      and other University policies, the principles of the Guidelines shall
     3. Cases involving faculty are referred to the appropriate Dean or to        take precedence” (I.D).
        the Provost.
     4. Cases involving University staff or administrators are referred to         By allowing a controversial speaker to speak or a group to organize
        that individual’s supervisor or any other person with supervisory          and invite a speaker or hold an event, the University of course in
        responsibility over that individual.                                       no way endorses that speaker’s or event organizer’s content or
     5. Cases involving trustees and associate trustees of the University          viewpoint; rather, it afﬁrms the value of creating a robust marketplace
        and members of the Boards of Overseers or other bodies advisory            of ideas and fostering reasoned disagreement and discourse.
        to the University are referred to the Executive Committee of the
        Trustees.                                                              B. The Guidelines on Open Expression already unambiguously forbid
E. The Division of Public Safety shall not collect or maintain information        discriminating against particular content and viewpoints (I.B): “the
                                                  2
   about members of the University community, except in connection                substance or nature of the views expressed is not an appropriate
   with alleged crimes, violations of University regulations, or as               basis for any restriction upon or encouragement of an assembly or
   speciﬁcally authorized in writing by the President (to Public Safety           demonstration.” The unpopularity of a speech’s content or viewpoint
   and the Open Expression Committee). This regulation shall not                  is not a reason to suppress speech. Objectors may not have a
   affect personnel information concerning current, past or prospective           “heckler’s veto” over speech with which they disagree. Allowing
   employees of the Division of Public Safety.                                    threats of protests or violence to suppress speech in any way
                                                                                  would encourage protesters to make such threats. In keeping
VI. Non-University Persons                                                        with this foundational principle, the University has never revoked
                                                                                  a commencement speaker’s invitation to speak based upon the
These Guidelines address themselves explicitly to forms of individual
                                                                                  substance of the speaker’s views, including any controversy they
and collective expression in a University location by members of the
                                                                                  might generate.
University community. The extent to which the privileges and obligations
of these Guidelines may be made applicable in particular circumstances
to individuals who are not members of the University community shall               Most speakers at Penn are invited not by the University itself, but
be determined by the Vice Provost or delegate. Participants in meetings,           by particular organizations, departments, schools, and individuals
events and demonstrations in a University location are required to                 at Penn. The Guidelines protect members of the entire University
comply with the instructions of the Vice Provost or delegate. (See III.A.2.c       community against ofﬁcial reprisals for hosting controversial
(p. 1).)                                                                           speakers and events. An event organizer is at liberty to change its


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   mind freely, without duress, and to cancel an event or a speaker              all levels of communication” (I.C). The Committee is also expressly
   invitation. Other members of the University community likewise                charged with preventing, mediating, and resolving conflicts related to
   have the right to criticize a proposed speaker’s or event’s substance         open expression (IV.B).
   or viewpoint, or even to call upon the event organizer to cancel an
   event or rescind an invitation. But they may not go beyond criticism
   to exert any duress on the event organizer or speaker to withdraw.            Penn’s tradition strongly encourages consulting with interested
   Duress includes any express or implied threat—by an administrator,            stakeholders across campus. On issues involving open expression,
   a member of an administrative staff, a student leader, or a faculty           such consultation ought to include the Committee on Open
   member or teaching assistant in a supervisory or hierarchical                 Expression and the Ofﬁce of the Vice Provost for University Life. The
   relationship to an event organizer or speaker (particularly one within        Committee strongly encourages students, faculty, staff, and campus
   the same department or school)—to an organization’s or speaker’s or           organizations and groups to raise such issues at the earliest possible
   event’s safety, recognition, registration, budget, funding, or access to      opportunity. If a student group or other University of Pennsylvania
   venues or security, or to any faculty, student, administrator, or staff       afﬁliate believes that a member of the University community is
   member’s employment, tenure candidacy, funding, grades, honors,               violating or attempting to violate the Guidelines on Open Expression,
   academic standing, or other status within the University, or a threat         including any of the foregoing provisions, it may ask the Ofﬁce of the
   of violence or similar unlawful conduct. Any such duress, express or          Vice Provost for University Life to mediate to resolve the issue. If the
   implied, gives rise to the natural inference that the actor is seeking        mediation does not produce a mutually satisfactory resolution, the
   to suppress speech because it is controversial or unpopular. That             aggrieved party may ﬁle a complaint with the Committee on Open
   would amount to “any restriction upon” “the substance or nature of            Expression, or with the chair, administrative liaison, or members of
   the views expressed,” in violation of the Guidelines (I.B).                   the committee if a quorum is not immediately available.


C. The norm at the University is to allow reservations of rooms and
                                                                              II. Open Expression in Electronic Media and Cyberspace
                                                                              The University’s Guidelines on Open Expression were originally drafted
   other venues on a ﬁrst-come, ﬁrst-served basis. Denying a room-
                                                                              decades before the spread of email and the Internet and well before
   reservation request on any other basis, or worse rescinding an
                                                                              the creation of social media, and therefore do not expressly mention
   existing reservation of a room or other venue, raises the almost
                                                                              electronic forms of communication. But their principles apply equally
   inescapable inference that the denial or rescission is based on
                                                                              online.
   “the substance or nature of the views expressed” (I.B). Thus, the
   Guidelines already require, “if practicable, consulting with the           The value of free and open expression and vigorous debate apply with
   Committee on Open Expression before denying a request for use              equal force to newer forms of communication, including emails, web
   of a room, facility, or space by an organization recognized by the         sites, social media, and other technologies and communication media. As
   University for a reason other than prior assignment of the room,           the University’s Information Systems and Computing Department’s Policy
   facility, or space. In any event, any such denial must be reported         on Acceptable Uses of Electronic Resources puts it, “The University’s
   promptly to the Committee” (III.A.2.d).                                    commitment to the principles of open expression extends to and includes
                                                                              the electronic information environment, and interference in the exercise
                                                                              of those rights is a violation of this policy and of the Guidelines on Open
   The same principle, in keeping with the Guidelines’ letter and
                                                                              Expression” http://www.upenn.edu/computing/policy/aup.html Whether
   spirit, applies to the authorization of events and to the provision
   of security, audiovisual, publicity, and other logistical support. An      communications occur on Locust Walk or in cyberspace, open expression
   organization must of course have a budget sufﬁcient to defray              remains equally valuable to the University and equally protected to
   the necessary expenses and must reserve any such resources                 the same extent, under the same principles, and subject to the same
                                                                              limitations as non-digital forms of communication.
   sufﬁciently in advance to allow the University to provide them
   on a ﬁrst-come, ﬁrst-served basis. Once such reservations have             (Source: Almanac, March 3, 2015, Volume 61 Issue 25 (https://
   been made with adequate funding and advance planning, however,             almanac.upenn.edu/archive/volumes/v61/n25/open-expression.html);
   and particularly once a student group, faculty member, school,             Almanac, July 14, 2015, Volume 62 Issue 1 (https://almanac.upenn.edu/
   department, or organization has formally invited a speaker, whether        articles/council-2014-2015-year-end-report-of-the-committee-on-open-
   by contract or other formal invitation such as one on University           expression/))
   letterhead, any rescission or compelled modiﬁcation of existing
   reservations or security arrangements raises the strong inference
   that the rescission or modiﬁcation is based on “the substance or
                                                                              Interpretative Guidelines (Section III)
   nature of the views expressed” (I.B). “[I]f practicable, [any member of    Adopted by the 2022-2023 Committee on
   the University community must thus] consult[] with the Committee
   on Open Expression before denying [such] a request [or rescinding          Open Expression
   or forcibly modifying such a reservation] . . . for a reason other than    June 20, 2023
   prior [reservation of the scarce resource at issue]. In any event, any
   such denial [including a rescission or compelled modiﬁcation] must         These interpretative guidelines are adopted by the members of the
   be reported promptly to the Committee” (III.A.2.d).                        2022-2023 committee (Section III below), pursuant to the Guidelines on
                                                                              Open Expression, Section IV.B. This interpretation provides clariﬁcation
                                                                              to the University community regarding the role of the Committee on
D. “[T]o ensure the continuing openness and effectiveness of channels
                                                                              Open Expression (COE) on campus. Parenthetical references below are
   of communications” at Penn, the Guidelines establish the Committee
                                                                              to the Guidelines on Open Expression (guidelines). This interpretation is
   on Open Expression (I.C). The Committee is expressly charged
   with “its major tasks” of “interpreting these Guidelines” and
   “recommending policies and procedures for the improvement of

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adopted in accordance with Section IV.B.1 of the guidelines and will be       the University community. Advance consultation with COE does not offer
published as Section III of the Interpretive Guidelines.                      any blanket protection with respect to VPUL’s enforcement jurisdiction.
                                                                              The COE shall respect the privacy of individuals as general policy and
III. Clariﬁcation of the Role of the Committee on Open                        maintains the right to declare the conﬁdentiality of its proceedings.
Expression within the University Community
                                                                              5. With respect to COE’s responsibilities in reviewing administrative
1. The Vice Provost for University Life (VPUL) or its delegate (VPUL-
                                                                              decisions for the purpose of providing advice for future action (Section
D) has the authority to determine if the guidelines are being violated
                                                                              IV.B.6 & 7), the COE interprets these provisions to mean that it may
by any member of the University community. The COE is advisory to
                                                                              provide advice to the appropriate governing body (VPUL for students,
the VPUL and to members of the University community regarding
                                                                              deans for faculty, supervisors for staff, etc.) prior to referral regarding the
interpretations of the guidelines (Section II.B). COE members may assist
                                                                              application/interpretation of the guidelines. The COE may suggest that
in offering real time advice to requesting parties regarding the Open
                                                                              their advice be included in any referrals for consideration of any further
Expression guidelines if they are present during a situation that involves
                                                                              adjudication and/or restorative practice. However, the COE acts in an
possible violations of the guidelines. Currently, the VPUL refers to its
                                                                              advisory capacity only in this context, and its advice is not binding with
delegates as “Open Expression Observers,” which has led some members
                                                                              respect to either a decision to bring a disciplinary action or the nature of
of the University community, including some students, to view them
                                                                              such disciplinary actions.
incorrectly as representatives of the COE. In order to avoid confusion,
the COE recommends that VPUL refer to its delegates instead as VPUL-          (Source: Almanac, June 20, 2023, Volume 67 Issue 37) (https://
delegates charged with enforcing the guidelines (Section III) but who do      almanac.upenn.edu/articles/interpretative-guidelines-adopted-by-
not represent the COE.                                                        the-2022-2023-committee-on-open-expression/)

2. The VPUL or a VPUL-D may intervene to address in real time any
conduct that it has declared to be in violation of the guidelines (Section
V.C). Intervention may include instructions to participants to modify or
terminate their behavior (Id.). The COE interprets these provisions to
mean the following:

    • For students, compliance with instructions from the VPUL or a VPUL-
      D will have the consequence that no referral will be made by the VPUL
      to the Center for Community Standards and Accountability (CSA) for
      a disciplinary hearing or penalty. (The CSA was formerly known as the
      Ofﬁce of Student Conduct and renamed in 2022.)
    • Refusal to comply with these instructions may lead to a referral by
      the VPUL to the CSA, who will investigate the event and decide what
      disciplinary proceedings, if any, to pursue.

3. Whenever feasible, the VPUL and its delegates shall, in carrying out
their responsibility for safeguarding the rights of open expression, obtain
the advice and recommendation of the representatives of the Committee
on Open Expression (Section V.C.2). The COE interprets this requirement
to mean that the chair of the COE should be advised of any likely future
possible controversial conduct or events (see also Section V.B.2) to
determine if the COE should meet and provide anticipatory guidance. The
COE recognizes that the VPUL and its delegates may sometimes need
to act expeditiously in situations about which they did not have advance
notice or warning. Even in these situations, all instructions given by the
VPUL or its delegates to members of the University community to modify
or terminate their behavior under the authority of the guidelines should be
reported to the COE as soon as practical and in a manner agreed with the
COE chair. (See Section IV.B.6.b.)

4. Any member of the University community (including, without limitation,
the VPUL and any of its delegates, as well as students or student groups)
may request advice from the COE. Although the COE may sometimes be
requested to provide advisory opinions in advance about its interpretation
of the guidelines (Section IV.B.3 & 4), its primary role is to review
incidents in retrospect to provide guidance to the University community
for future action (Section IV.B.6 & 7). The COE interprets these provisions
to mean that the VPUL and its delegates, or any other members of the
University community, including students and student groups, may
consult with the COE in advance of meetings, events or demonstrations,
but this is optional and choosing not to consult the COE in advance
cannot be used as grounds for punitive action against any member of


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               Congressional Hearing Written Testimony | Office of
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               President M. Elizabeth Magill, University of Pennsylvania
               Testimony before the
               United States House of Representatives
               Committee on Education and the Workforce on
               “Holding Campus Leaders Accountable and Confronting Antisemitism”

               December 5, 2023

               Thank you, Chairwoman Foxx, Ranking Member Scott, and distinguished members of this
               Committee, for the opportunity to discuss the important issue of rising antisemitism in our
               society and the actions we are taking in response at the University of Pennsylvania
               (Penn).

               My name is Elizabeth Magill. For just over a year, I have had the honor of serving as the
               9th President of the University of Pennsylvania, a 283-year-old institution founded by
               Benjamin Franklin. Prior to joining Penn, I was Executive Vice President and Provost of
               the University of Virginia, the Dean of the Stanford Law School, and for many years a
               professor of law at the University of Virginia. Early in my career, I worked as a law clerk for
               J. Harvie Wilkinson of the U.S. Court of Appeals for the Fourth Circuit and U.S. Supreme
               Court Justice Ruth Bader Ginsburg.

               Let me begin by saying that I, and the University of Pennsylvania, are horrified by and
               condemn Hamas’s abhorrent terrorist attack on Israel on October 7th. There is no
               justification—none—for those heinous attacks. The loss of life and suffering that are
               occurring in Israel and Gaza during the ensuing war are heartbreaking. The pain extends
               to our campus. I know it from my daily conversations with our students, faculty, and staff,
               as well as parents and alumni.

               This hearing was called to discuss antisemitism on college campuses. I value this
               opportunity to reaffirm my and Penn’s unyielding opposition to antisemitism and to outline
               the urgent, university-wide actions we are taking to combat this centuries-old and
               resurgent threat.

               As President, my first priority is to members of the Penn community and, above all, to their
               safety and support. I must also ensure that our academic mission thrives; that academic
               freedom and the free exchange of ideas endure; and that we swiftly address any violation
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               of the law or our University’s policies. These are the priorities Penn is seeking to achieve
               in the actions I will discuss today.

               Penn’s Relationship with the Jewish Community

               The vibrant engagement of Jewish faculty, students, staff, and alumni has long been an
               integral part of Penn. To see this sense of belonging shaken by recent events is deeply
               troubling. We trace our history back to 1772 with the enrollment of Penn’s first Jewish
               student, Moses Levy, who later became the first Jewish Trustee of the University. The
               Jewish Students’ Association at Penn was established in 1924. In 1970, Martin Meyerson
               became the first Jewish Ivy League President. Since 2012, we have partnered with the
               USC Shoah Foundation Institute’s Visual History Archive to make available to students
               and researchers more than 50,000 video testimonials of Holocaust survivors and other
               witnesses.

               We—and I—are proud of our history and the prominent role our Jewish community plays
               in campus life and, broadly, in Penn’s academic excellence. Under my leadership, we will
               never shrink from our moral responsibility to combat antisemitism and educate others to
               recognize and reject hate.

               Addressing Antisemitism

               Prior to October 7th, antisemitism—a pernicious, viral evil—was already rising in our
               society, and global events have dramatically accelerated the surge. No place is immune,
               and campuses, including ours, have recently experienced an unacceptable number of
               antisemitic incidents. We are combatting this evil head on with immediate action.

               I have condemned antisemitism publicly, regularly, and in the strongest terms possible and
               today want to reiterate my and Penn’s commitment to combatting it. For decades our
               Division of Public Safety has learned from and worked with the Anti-Defamation League
               office in Philadelphia, and we are working closely with them, as well as local, state, and
               federal law enforcement to promptly report and investigate antisemitic acts against any
               member of the Penn community. Where we have been able to identify individuals who
               committed these acts in violation of existing University policy or law, we have initiated
               disciplinary proceedings and referred these matters to law enforcement where
               appropriate.

               We have also acted decisively to ensure safety throughout and near campus. We have
               expanded the presence of Penn Public Safety and Allied Security at our religious life
               centers including Penn Hillel, the Herbert D. Katz Center for Advanced Judaic Studies,
               and the Lubavitch House. We also enhanced security at every event, rally, protest, and
               vigil on campus. Penn Public Safety works in close collaboration with law enforcement,
               including the Philadelphia Police Department.

               Like many communities around the world, Penn has also experienced protests, rallies,
               and vigils related to the terrorist attack and the subsequent war. Protest—and all it entails
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               —has long been a feature of university life. Penn’s approach to protest is guided by the
               U.S. Constitution, outlined in decades-old open expression policies, and supported and
               upheld by trained Open Expression Observers. We recognize the right of peaceful protest
               and assembly, and we give broad protection to free expression—even expression that is
               offensive. At the same time, we have zero tolerance for violence or speech intended to
               incite it. Our public safety officers are present at every protest, rally, or vigil, trained in de-
               escalation techniques, and, if necessary, they are ready to act.

               Protests playing out on campuses and in cities worldwide demonstrate the challenges of
               fostering robust debate during difficult times. In addition to respecting the right of protest,
               Penn is offering many ways for students to come together in classrooms and in small
               groups to discuss these issues. Making space for this sort of debate is in keeping with the
               best traditions and educational missions of institutions like Penn. Educating citizens
               requires engagement with real-world challenges and hard topics—topics that often inspire
               passionate responses. University leadership must provide guardrails that encourage free
               and open expression while also ensuring a secure environment, and that is what I am
               seeking to do.

               These immediate actions are only the first step. I am also committed to lasting change and
               laying the foundation for a Penn that leads on these issues. On November 1, 2023, I
               announced Penn’s Action Plan to Combat Antisemitism, which builds on our anti-hate
               efforts to date and is anchored in the U.S. National Strategy to Counter Antisemitism.
               Developed in collaboration with faculty, staff, students, campus leaders, alumni, and
               national organizations like the American Jewish Committee, our Action Plan centers on
               three key areas: (1) Safety and Security, (2) Engagement, and (3) Education. In each of
               these areas, we announced both immediate and medium-term actions.

               As part of that Action Plan, I have convened and charged an Antisemitism Task Force,
               with membership across Penn’s schools and communities, to identify concrete, actionable
               recommendations. I have directed the Task Force to provide me with their
               recommendations in real time and to deliver their final report by this spring.

               We are making certain that all our educational efforts aimed at addressing bigotry include
               antisemitism and other forms of hate.

               To ensure our Jewish students have a direct channel to share their experiences with me, I
               have invited and received over 80 applications for membership to a new Student Advisory
               Group on the Jewish Student Experience.

               I also sent a delegation of university leaders to attend the Brandeis Leadership
               Symposium on Antisemitism in Higher Education. They have reported back to me and are
               already contributing best practices and lessons learned toward our efforts.

               As these efforts progress, I know we will have more to report.

               The Rise of Other Forms of Hate
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               While I know this hearing is focused on antisemitism, we, and society broadly, are facing
               another significant challenge in this moment as well. We are seeing rising harassment,
               intimidation, doxing, and threats toward students, faculty, and staff based on their identity
               or perceived identity as Muslim, Palestinian, or Arab. Some have lost family members in
               this war, and many are worried about the safety of their loved ones in the region. Many are
               also afraid for their own safety, and the horrifying shooting of three Palestinian students in
               Vermont has only deepened their fears.

               I am appalled by and have publicly condemned these acts of harassment, threats, and
               intimidation. We are investigating all allegations, even when threats have come from
               outside our campus. We are providing resources and advice to assist individuals with
               online doxing, harassment, and threats. Safety and security for individuals and places of
               worship has been increased across the board, and we are deploying all necessary
               resources to support any member of our community who is the target of hate.

               In addition to these immediate steps, I have created a Presidential Commission on
               Countering Hate and Building Community to empower our campus leaders to address
               antisemitism, Islamophobia, and hate in all forms, and to lay the groundwork for a
               stronger, more connected community. I will direct the Commission to provide me their
               recommended actions by spring.

               Changing Penn for the Better

               In challenging times, leaders must make many choices. The most important choice is to
               take the full measure of what we face, act decisively, communicate clearly, and lay the
               foundation for a stronger institution in the years to come. Our immediate actions—safety
               and support of our community, investigation and enforcement of policies and laws, and
               condemnation of hate—are essential. We will remain vigilant. We are also setting the
               stage for long-term change. I am committed to ensuring that Penn not only takes
               immediate action to combat antisemitism, but also creates lasting change and emerges as
               a higher education leader in this regard. Penn’s all-in efforts today, I believe, will bring
               about that better tomorrow.

               Closing

               Higher education institutions create knowledge, share it for good, and educate the next
               generation—missions that have never been more essential. Leading Penn is the honor of
               a lifetime because, even in these challenging times, we have never been stronger than we
               are today. Penn has attracted and is home to more-talented faculty, students, and staff
               than ever before. Each day, our faculty educate students while producing life-changing
               and award-winning insights and discoveries. Our health system provides world-class
               clinical care. Our students grow in their respective fields and go on to lead.

               If you visited Penn’s campus today, you would see vibrant university life. Students are
               walking to class and preparing for exams. Faculty are teaching seminars and undertaking

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               research.       Doctors, nurses, and health care providers are tending to thousands of
               patients. Dedicated staff are enabling the work of the University. You would also see many
               people engaged in serious and respectful conversation—despite disagreement—about
               difficult topics, including those related to the Israel-Hamas war.

               Thank you for the opportunity to discuss the topic of this hearing, the disturbing rise of
               antisemitism. As the President of Penn, I join you—emphatically—in addressing these
               concerns and fostering solutions. That is why we are urgently taking both immediate and
               lasting action to make Penn an even better, stronger institution now and for the future. We
               must and we will stand together in unyielding opposition to antisemitism, hate in all its
               forms, and all forces that would seek to divide us.

               I look forward to your questions.




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                                    MEMORANDUM

                                     August 31, 2022

Via Email and FedEx

TO:          Dr. Vivian L. Gadsden, Chair of the Faculty Senate

FROM:        David J. Shapiro

RE:          Request That You (1) Postpone Further Proceedings Until Prof. Wax’s Cancer
             Treatment Concludes; (2) Order The University To Produce Information
             Regarding The Proposed Hearing Board Members Pursuant To Section
             II.E.16.4.D Of The Faculty Handbook; (3) Dismiss The March 2, 2022 Written
             Charges Against Prof. Amy Wax; (4) Disqualify Dean Ruger As Charging Party;
             (5) Retain A Neutral Third-Party To Determine Pre-Hearing Issues; And (6)
             Order The University To Produce Information Relevant To Prof. Wax’s
             Affirmative Defense, Among Others, That Her Comments On Black Law
             Student Performance Was Truthful And Accurate.

COPY TO:     William W. Braham, Past Chair of the Faculty Senate
             Tulia G. Falleti, Chair-Elect of the Faculty Senate
             Wendy S. White, Senior Vice President and General Counsel
             Sean V. Burke, Associate General Counsel
             Dean Theodore W. Ruger
             Sarah Hope Kagan, Ph. D. Chair, Faculty Grievance Commission
             John Paul MacDuffie, Ph. D. Chair-Elect, Faculty Grievance Commission
             Santosh S. Venkatesh, Ph. D. Past Chair, Faculty Grievance Commission

____________________________________________________________________________




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                                             Preliminary Statement

        I have reviewed the following materials from the University to Professor Amy Wax: (1)

a complaint dated April 27, 2021 (Ex. 1); 1 (2) the August 3, 2021 report issued by Prof. Daniel
                                                 0F




Rodriguez (the “Rodriguez Report”) (Ex. 2); (3) the March 2, 2022 Written Description of

Charges (the “Charges”) (Ex. 3); (4) materials related to the May 11, 2022 pre-Hearing meeting

between Prof. Wax and Dean Ruger (the “May 11 Meeting”), including a request that Dean

Ruger recuse himself as the Charging Party; and (5) the June 23, 2022 Request for Hearing

Board Formation (the “Hearing Board Request”) (Ex. 4).

        The substantive and procedural problems with the proceedings instituted by Dean Ruger

are immense and require immediate rectification before any more harm is done to the University,

the Law School, Professor Wax, and other University stakeholders. As Chair of the Faculty

Senate, you are “the principal executive officer” of the Senate, and you have “such powers as are

appropriate to the office.” Faculty Senate Rules, Rule 4 (“Duties of the Chair”). I therefore

respectfully submit this memorandum in support of Prof. Wax’s request that you, as Chair:

             1. Postpone further proceedings until Prof. Wax’s cancer treatment concludes; 2                1F




             2. Order the University to produce information regarding the proposed Hearing
                Board Members pursuant to Section II.E.16.4.D of the Handbook for Faculty and
                Academic Administrators (the “Handbook”);

             3. Dismiss the March 2, 2022 Written Charges;

             4. Disqualify Dean Ruger as the Charging Party;

1
  Prof. Wax did not receive this complaint from the University’s General Counsel, despite several requests, until
June 10, 2021. (This complaint has been designated in some previous correspondence as the “May 2021
complaint”). In February 2022, Dean Ruger notified Prof. Wax that this 2021 complaint has been “consolidated”
with the March 2, 2022 Written Charges.
2
  The Chair, Past Chair, and Chair-Elect of the Faculty Grievance Commission are being copied because, absent a
satisfactory resolution of the issues addressed in this memorandum, Prof. Wax will be forced to start a formal
grievance procedure. At a minimum, the University’s refusal to provide Prof. Wax with an accommodation given
her cancer treatment is arbitrary and capricious. Handbook, § II.E.12(1).




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           5. Retain, on behalf of the University and Prof. Wax, a neutral third-party to
              determine pre-hearing issues;

           6. Order the University to produce information, pursuant to Section II.E.16.4.D of
              the Handbook, relevant to Prof. Wax’s affirmative defense that her comments on
              Black law student performance was truthful and accurate; and

           7. Provide additional information requested below on the various charges against
              Professor Wax.

       As documented in letters from her physicians attached as exhibits to this memorandum,

Professor Wax is too ill to meet arbitrary deadlines or participate in any proceedings and will be

unable to do so until at least the end of the Fall semester 2022. As Chair, we implore you to use

your office to postpone further proceedings, as an accommodation under the Americans With

Disabilities Act (the “ADA”), until Prof. Wax’s disabled state from cancer treatment has

sufficiently abated. The Charging Party’s continued refusal to provide this basic humanitarian

accommodation is simply shocking and we turn to you.

       As well as unnecessarily rushing these proceedings and putting Prof. Wax’s health at

risk, Dean Ruger’s referral of the Charges to the Faculty Board is premature, unwarranted, and

prejudicial to her. The rights afforded to Prof. Wax under the Handbook have not been honored.

The University is contractually obligated to treat Professor Wax “fairly” and protect her “rights,”

but it has not done so.

       This memorandum is not a comprehensive, charge-by-charge review and rebuttal of the

allegations made against Prof. Wax in the Charges and other various documents. An Answer

and Affirmative Defenses will be filed when we receive a revised set of charges from a new

Charging Party that comports with, among other things, the University’s obligation to provide

Prof. Wax with adequate notice of which University rule, regulation, guideline, manual or




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condition of employment she allegedly violated. 3 Rather, this memorandum is in support of
                                                         2F




Prof. Wax’s request that you, as Chair of the Faculty Senate, exercise your power to correct the

many legal (and, frankly, ethical) problems that have infected these proceedings. The

mistreatment of my client has resulted in Charges to which, for the reasons set forth below, Prof.

Wax cannot adequately respond nor properly mount a defense.

        I wish to emphasize at the outset the importance of our request for University materials

necessary for Dr. Wax to respond to the Charges and prepare for the Hearing. One among many

of the Charges against Prof. Wax is that she deserves a “major sanction” because she made

statements regarding Black students’ performance at the Law School in connection with its

affirmative action policies. The school, on the one hand, contends that Prof. Wax made “false”

and “inaccurate” statements on this topic which (i) allegedly makes her a white nationalist racist;

(ii) means that minority students have a “legitimate” reason to fear that she will be biased against

them; and (iii) requires that she must go. Prof. Wax contends, on the other hand, that her

comments were accurate and therefore cannot be the basis for any sanction, nor for any

compromise of her right, as a tenured professor, to discuss affirmative action without fear of

being terminated. A key issue at the Hearing, therefore, will be whether Prof. Wax’s statements

were accurate. And there is only one party who has the information relevant to that issue, and

that is the Law School.




3
  We cannot wait until after the members of the Hearing Board have been finalized to receive the Charging Party’s
“written statement” pursuant to Section II.E.16.4.C.1 of the Handbook. It should be issued now. The allegations
have been known for years; the Dean keeps adding charges every few months; and there have already been three
charging documents in this action (the April 2021 complaint, the March 2, 2022 Written Charges, and the June 23,
2022 Request for Hearing Board Formation). Prof. Wax will need time and University documents to prepare her
Answer and Affirmative Defenses and waiting until after the Hearing Board members have been finalized will not
leave her with enough time, especially if we receive information which will require a motion to disqualify Hearing
Board members for prejudice.




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             Given the obvious importance of this information to the proceedings and Prof. Wax’s

  affirmative defenses, we ask that you order the University to appoint an outside forensic expert

  to examine the Law School’s records on students’ grades and academic performance by race. 4                       3F




  Only from that exercise will the Hearing Board know if Prof. Wax made accurate statements,

  and whether the Dean’s contentions to the contrary are themselves incorrect. Access to this

     information is guaranteed by the Handbook. Handbook, § II.E.16.4.D. Prof. Wax’s right to this

     information is discussed in greater detail below in Section VIII.

                                                      ARGUMENT

I.       Prof. Wax Is Battling Cancer And Therefore Deserves A Reasonable Accommodation
         Of A Postponement Of These Proceedings.

             Prof. Wax is currently undergoing active treatment for a life-threatening cancer, and she

 is recuperating from cancer treatment and other therapies. Per her treating physicians’

 conclusions and instructions (see letters from Dr. Gary Freedman (Ex. 5) and Dr. Amy Clark

 (Ex. 6)), Prof. Wax will be unable to meet deadlines, participate in proceedings, or respond

 adequately to charges against her until at least the end of 2022, and possibly longer. Threatening

 her with “major sanctions” under these circumstances is cruel and violates her rights under the

 ADA. It also guarantees that she will not have an adequate opportunity to defend herself against

 the Charges, which violates the fundamental fairness accorded to her under the Handbook.

             This is not the first time that the University has refused to provide Prof. Wax with a

 medical accommodation. Dean Ruger disregarded Prof. Wax’s request for more time before he

 insisted on having the Handbook-mandated pre-Hearing May 11 Meeting. He did this even

 though she told him that she did not have the time and capacity to prepare given her medical


  4
      Because of the time and effort it will take to produce this exculpatory evidence, we cannot wait until one month
     before the Hearing to receive it. Handbook, § II.E.16.4.D.




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condition and treatment. He scheduled the meeting despite Prof. Wax’s objections, and the

meeting took place over her vociferous protests.

       Dean Ruger also refused to provide Prof. Wax with any materials or information beyond

the Charges themselves, and he continued to do so despite repeated requests. There was no

rational basis for demanding the pre-Hearing meeting without an extension of time or without the

information and documentation requested. As Prof. Wax explained, absent the information

requested, there was no chance that the Handbook-mandated pre-Hearing meeting could be

successful. Dean Ruger’s behavior was a clear violation of the reasonable accommodation

requirement of the ADA as well as the guarantees of fundamental fairness and the protection of

Faculty members’ rights as guaranteed in the Handbook.

       I am aware that in a letter dated July 15, 2022 to Prof. Wax, you would not give her more

time to move to disqualify proposed Hearing Board members. And, in his letter to me dated July

29, 2022 (Ex. 7), Associate General Counsel Burke gave me until the end of August to do so, but

– as explained herein – Prof. Wax needs more time because of her medical condition. We urge

you to reconsider and postpone these proceedings until Prof. Wax’s treatment is complete. The

medical evidence provided establishes that Prof. Wax cannot participate in a hearing that seeks

major sanctions and will involve dozens of witnesses, extensive and detailed submissions from

her and her attorney, and hundreds of pages of documents. Being forced to participate before she

is sufficiently recovered from her cancer and its treatment will seriously compromise her health,

impede her recuperation, and undermine here ability to defend herself. As a matter of federal

law, failure to grant her enough time to recover will be a violation of the reasonable

accommodation requirement of the ADA as well as the guarantee of fundamental fairness

provided in the Handbook. I am flabbergasted that the University is treating a tenured professor




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who has cancer this way, and I am confident that the Faculty Grievance Commission will feel

the same.

       In his letter of July 29, Associate General Counsel Burke wrote that, “It is not our

position that Prof. Wax must take a continuous leave of absence to be entitled to an

accommodation[.]” (Ex. 7) That is not true. When Prof. Wax asked for more time to prepare a

defense to the Charges, the University offered her a leave. But a leave will not relieve Prof. Wax

of the enormous ongoing burden of having to deal with the Charges. To the contrary, it would

lead to the very opposite effect. The proceedings initiated by Dean Ruger, which threaten Prof.

Wax’s job, livelihood, and reputation, and which require a constant and unrelenting investment

of time and energy, are causing Prof. Wax the utmost in stress, and have already impeded her

treatment and recuperation. These proceedings are not only detrimental to her health but also

directly contrary to her doctor's advice and admonition, as detailed in the June 27, 2022 letter

from her oncologist, Dr. Amy S. Clark (Ex. 6), and the April 15, 2022 letter from Dr. Gary

Freedman (Ex. 5).

       Dr. Wax’s physicians have concluded that the extra obligations entailed by these

proceedings will compromise her physical and psychological health and will interfere with her

treatment and recovery. That should be enough to grant her the accommodation for which she is

asking. The suggestion that Prof. Wax must take a leave from teaching in the next academic

year as a condition of any postponement is itself a violation of the ADA. It is an inadequate

response to Prof. Wax’s limitations and circumstances, and it is not the reasonable

accommodation to which she is legally entitled under the ADA.

       As I explained in my July 20, 2022 letter to Associate General Counsel Burke (Ex. 8)

(and he did not take issue with it), students, junior faculty, and fellows at Penn now regularly



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contact Prof. Wax with requests to meet with her to voice their unhappiness with the dogmatic

campus climate and the often one-sided education they are receiving, their disagreement with the

prevalent ideas on campus, their desire to hear and debate unpopular views, and their dismay at

the vendetta against her. They seek support and advice from Prof. Wax on how to deal with the

oppressive and frightening conditions created by the “woke” orthodoxy now prevalent at Penn.

Prof. Wax has devoted a significant amount of time and energy to responding to these requests

and meeting and counseling students. According to many of these students Professor Wax is the

only faculty member taking on this role and shouldering this responsibility at Penn. Students

repeatedly tell her in private that she is the one faculty member to whom they can disclose their

opposition to what is happening on campus.

       Given her unique role at Penn, and the pleas of her students and supporters worldwide,

Professor Wax has promised that she will not surrender to the speech police or abandon the

people on campus who rely on her presence and advice. Prof. Wax views those promises as a

sacred obligation which she is duty-bound to fulfill. It is essential to her mental and physical

well-being that she continue to advise students in fulfillment of her pledges as well as teach her

classes. Prof. Wax, therefore, cannot agree to take a leave of absence as a condition for getting

more time to prepare to defend herself against the Charges. She cannot agree to a violation of

the ADA.




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II.   The University’s Refusal To Provide Information About Proposed Hearing Board
      Members Renders Meaningless Her Right To Move To Disqualify Them For Prejudice.

             In his letter of July 29, 2022, Associate General Counsel Burke refused to provide me

   with the information necessary to determine whether Prof. Wax should move to have any of the

   proposed Hearing Board members disqualified for prejudice. (Ex. 7.) This information, which is

   solely within Penn’s possession, custody, and control, is essential to my client’s ability to assess

   the impartiality of the proposed members. Only the University has access to information which

   will determine whether the proposed Hearing Board members will be prejudiced against my

   client based on, among others, attendance at Anita L. Allen’s February 16, 2022 presentation to

   the Faculty Senate. Access to this information is guaranteed by the Handbook. See Handbook, §

   II.E.16.4.D (University must provide Respondent with “copies of any other University

   documents that are relevant to the respondent’s procedural . . . rights in this matter”) (emphasis

   added).

             Associate General Counsel Burke’s position that the University is not obligated to

   provide this information because the word “discovery” does not appear in the Handbook is

   spurious, and it demonstrates the need for a pre-Hearing neutral third-party, which I discuss

   below in Section VII. First, this is not “discovery” – no one is going to depose the proposed

   members. If the proposed Hearing Board members have memorialized their pre-conceived

   conclusions, Prof. Wax has the right to that information. Second, the Handbook gives the

   Respondent the “opportunity” to move to disqualify proposed Hearing Board members “for

   prejudice.” Handbook, II.E.16.4.B (emphasis added). That “opportunity” is meaningless if the

   University will not, at a minimum, provide emails from the proposed Members that discuss Prof.

   Wax or Prof. Allen’s presentation. There is simply no way that Prof. Wax can know if the

   proposed Members are “prejudiced” if the University does not provide the information that



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    only it has. And if the University does not provide the information that only it has, then the

    “opportunity” to move to disqualify for prejudice is meaningless. Third, Prof. Wax is

    contractually guaranteed the right to a “fair” hearing that protects her “rights,” and it is obviously

    grossly unfair if, on the one hand, the University gives her the right to move to disqualify

    proposed Hearing Board members for prejudice but, on the other hand, it refuses to provide her

    with the information necessary to do so. As Chair, you can correct this inequity. Fourth, this is

    information that as Chair you should want to know, too. If the University is interested in a fair

    and rights-based proceeding, we all need to know whether any of the proposed Hearing Board

    members will be going into the Hearing with prejudicial preconceptions or a pre-existing animus

    against Prof. Wax.

           The only fair and rights-based way of reading this provision of the Handbook is to

    conclude that Prof. Wax is entitled to the information. The Handbook guarantees fairness and a

    protection of rights, and that is why it mandates access to University materials. Handbook, §

    II.E.16.4.D. The commitment to fair treatment means that Prof. Wax has a right to obtain

    materials relevant to the proceedings, including basic information about any pre-existing bias

    proposed Hearing Board members may have against her. Until the materials are received, Prof.

    Wax objects to all proposed Hearing Board members and does not consent to any further

    proceedings.

III.   The Charges Should Be Dismissed And A New Charging Party Ordered To File A
       Revised Charging Document.

           The Handbook contractually guarantees Prof. Wax a procedure that is fair and that

    protects her rights. Handbook § II.E.16. This means, in turn, that the charging document must,

    at a minimum, provide her with adequate notice of what exactly she is being charged with, and




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which specific, non-vague Penn rule, regulation, guideline, manual or condition of employment

she violated. The Charges do not do that. You should, therefore, as Chair, dismiss the current

Charges and instruct a new Charging Party to submit a revised charging document that corrects

these defects. 54F




         A.          The Problems With The March 2, 2022 Charges And The Hearing Board
                     Request.

                     1. The Charges Do Not Contain A Complete And Final List Of All
                        Statements And Actions That Are Allegedly Sanctionable.

         The Charges use the phrase “including but not limited to” when discussing allegedly

sanctionable statements by Prof. Wax. Charges at 5 (Ex. 3). Thus, by Dean Ruger’s own

admission, the Charges are incomplete. We therefore do not know all the statements and actions

that will be at play at the Hearing. That is obviously inadequate for a document which intends to

be the basis for a major sanction against a tenured professor.

         That same is true for the additional charges in the Hearing Board Request, some of which

are based on events that post-date March 2, 2022. 6 The continuous addition of new and
                                                             5F




unanticipated charges on an open-ended basis is unconscionable. It places a burden on Prof.

Wax that is impossible to meet. The piling on of charges and accusations on a continuous,

ongoing basis, and the failure to produce a complete and locked-in set of charges, violates the

fundamental promise of fairness guaranteed in the Handbook, and makes it impossible for Prof.

Wax to prepare an adequate defense.




5
  As explained above, because of the importance of this matter, and the number of years that have transpired, a final
set of written charges should be issued now. At a minimum, the final written charges to be submitted one month
before the Hearing need to correct the errors in the current Charges.
6
  The Hearing Board Request, for example, refers to an interview Prof. Wax gave to Tucker Carlson in January
2022, and released to the public in April 2022, one month after the Charges were filed; and it talks for the first time
about an investigation by Quinn Emanuel.




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       The allegations in the Charges and the Hearing Board Request are also fragmentary,

random, sketchy, and incomplete. Despite repeated requests, Prof. Wax has never received a

final, comprehensive, and complete statement of all charges lodged against her. And she has

never been provided with all the materials and evidence that the Hearing Board will consider in

evaluating the Dean’s request for “major sanctions.”

       This request is not new. Prof. Wax has already asked for a complete, comprehensive, and

detailed account of the charges that will be presented against her and all the information that

Dean Ruger possesses in support of them. She asked for this to prepare for the Handbook-

mandated, May 11 Pre-Hearing Meeting. Dean Ruger refused. To this day, Dean Ruger

continues to withhold those materials. He has yet to turn over a comprehensive list of all alleged

statements, comments, and remarks that are the basis for his request for sanctions against Prof.

Wax.

       The fundamental fairness guaranteed by the Handbook requires that the Charging Party

provide Prof. Wax with a complete and comprehensive list of charges, and all evidence it has in

support of those charges.

               2. The Charges Are Not Presented In A Coherent And Intelligible Manner.

       The March 2, 2022 written description of charges is presented in a manner and form that

makes it extremely difficult if not impossible for Prof. Wax adequately to respond to and defend

herself against those charges. The document (written by the Dean of the Law School) is a

thrown-together, disorderly, haphazard jumble of random allegations, fragments, isolated

phrases, snippets, and stray remarks. (The same description applies to the Hearing Board

Request.) The Charges should resemble an indictment or a complaint, containing a short and

plain statement of the claim showing that the Charging Party is entitled to relief, but it does not.



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       Instead of presenting, in numbered paragraphs, allegations containing date, time, place,

content and context of allegedly sanctions-worthy statements and actions, the Charges are a

tangle of half-baked, deracinated accusations, in some cases lifted from sloppy, distorted,

mangled, internet comments or stale student recollections. There is no coherent, intelligible, or

chronological order one would expect in a professionally crafted statement of claims. In some

instances, the allegations repeat fragmentary phrases and misleading sound bites that were lifted

second-hand from sensationalistic media reports. The Charges do not reflect any careful review

of original source materials, and frequently mischaracterize them. (One must be concerned if

this is how Penn Law teaches students to draft complaints, indictments or even pre-litigation

correspondence.) Moreover, General Counsel White has repeatedly promised that all

anonymous allegations would be deleted from the Charges and from all documents filed by Dean

Ruger in this case. This has not been done.

       The Charges have created confusion and uncertainty as to what exactly Prof. Wax is

being charged with. I can only conclude, therefore, that the document is part of a war of attrition

designed to impose a maximally vexatious burden on Prof. Wax with the ultimate purpose of

wearing her down and driving her from Penn.

       The difficulties deliberately imposed on Prof. Wax are compounded by the fact that:


            •   The filings contain no cross-references to the initial April 2021 complaint or the
                Rodriguez Report;

            •   There is no indication of which allegations are from the April 2021 complaint
                and which are new to the 2022 filings; and

            •   There is no comprehensive list setting forth when or where Prof. Wax supposedly
                made the allegedly sanctions-worthy statements, who witnessed them, or other
                pertinent facts about the setting in which they were purportedly made.




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       Similarly, the Hearing Board Request repeats many previous charges, but also adds new

ones. The document does not indicate which charges are old or new and it does not cross-

reference to the previous March 2, 2022 charges or the April 2021 complaint. (Prof. Wax has

also never been given a complete list of the complaining parties and the Charging Party’s

witnesses and their contact information.)

               3. The Charges Unfairly Exclude Crucial Contextual Information.

       Particularly egregious is the Charge’s lack of crucial contextual information essential to a

full and accurate picture of the statements or comments allegedly made by Professor Wax at

Penn and elsewhere. This information is absolutely necessary to evaluate the alleged comments’

accuracy, veracity, legitimacy, appropriateness, and status as protected academic expression. In

the case of comments made in podcasts, speeches, interviews, articles, or other extramural

contexts, the remarks included in the charging documents are routinely devoid of pertinent

information on the questions under discussion, the policy issues being addressed, or the

arguments being made. For remarks based on student recollections, which are mostly stale,

fallacious and, for reasons explained in greater detail below, simply incredible, there is little or

no information on the precise setting in which they were made, who witnessed them, their

relevance to the lesson, subject, or topic under discussion, or whether or by whom they are

corroborated. The overall result is a dishonest, partial, twisted, distorted, and misleading picture

of Prof. Wax’s actual words without proper checks on the trustworthiness and accuracy of the

reports.

       I will not elaborate in this memorandum on each instance of the distortions contained in

the Charges and Hearing Board Notice. But here is one salient example of how the Charges

mischaracterize and misrepresent Prof. Wax’s words by lifting phrases out of context. In




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referring to a speech Prof. Wax made at a National Conservatism convention in Washington DC,

the Charges allege that Prof. Wax said that “our country would be better off with more whites

and fewer nonwhites.” That fragmentary phrase, lifted entirely out of context, could not be more

misleading.

       If presented accurately, the Charge would have noted that Prof. Wax was criticizing

conservatives for abandoning sound immigration policies because they were worried about being

labeled racists. She was addressing immigration policies that have an impact on racial groups,

not immigration policies that are based on membership in a racial group. She then noted that

proponents of the policies she was advocating might nonetheless be criticized unfairly and

inaccurately as believing that the United States “would be better off with more whites and fewer

nonwhites.” Prof. Wax, in other words, never said that the United States would be better off

with more whites and fewer nonwhites. Rather, she was criticizing conservatives for abandoning

their principles because they were worried about distorted accusations of racism by liberal

critics. It should be obvious that urging conservatives not to be intimidated by the misguided use

of race-based accusations is not sanction-worthy speech. Rather, it is a legitimate point that an

academic addressing immigration policy is entitled to make. In no way could Prof. Wax’s

remarks be reasonably construed as endorsing so-called “white supremacy.” Yet that was the

import of the dishonest media reports upon which Dean Ruger carelessly relies in the Charges.

               4. By Alleging That Prof. Wax “Crossed A Line,” Dean Ruger Is Inventing
                  A Code Of Conduct That Is Nonexistent At The University.

       The allegations are also seriously unfair because they rest on a vague and undefined

standard of what materials can be presented in class, and what speakers can be invited to speak at

Penn Law. As a matter of fundamental fairness, it is incumbent on Penn to clarify these




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standards. In faulting Prof. Wax’s decision to invited Jared Taylor to speak to her seminar on

Conservative Political and Legal Thought, for example, which is discussed in additional detail

below in Section V.D., the Charges refer to a supposed “line” that has been “crossed.” A “line”

is not a rule, regulation, statute, or guideline that puts a tenured professor on notice as to whom

she can or cannot invite. It is, instead, a meaningless, vacuous, and conclusory cliché. It

provides no clear, principled notice or usable guidance as to what types of pedagogical choices

are allowed or forbidden.

       Dean Ruger does not connect this purported “line” to any Penn rule or regulation which,

if violated, would result in a loss of tenure. The standard that Dean Ruger seeks to invoke here is

entirely fabricated and made up for the purpose of punishing Prof. Wax for expressing and

exposing students to unpopular views.

       Dean Ruger’s depiction of Prof. Wax’s pedagogical choices as worthy of sanctions is not

only incoherent but it is also downright dangerous. It is impossible for academics such as Prof.

Wax, or anyone else, to know which readings, topics, or speakers will pass muster or will subject

them to sanctions or penalties. Will a Black Studies professor be sanctioned if she invites a

speaker who believes that all white Americans are racists? Would such a speaker cross Dean

Ruger’s fanciful “line”? To relegate such choices to the whims of students and University

administrators, without an explicit definition and the citation of authority or applicable rules, is

arbitrary and capricious and violates fundamental principles of fairness. Professors are entitled

to clear prior notice of when and how they are deemed to transgress. Without a detailed, precise,

and specific description of the supposed “lines” between acceptable and unacceptable speakers,

readings, and class materials, professors face the constant danger of falling into traps for the

unwary. Absent such information, every professor who deviates in the slightest from the rigid




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orthodoxy of approved opinion prevalent at any moment on campus risks crossing this supposed

“line” and potentially putting his or her job and career in jeopardy.

       Under the regime announced in the Charges, teachers like Prof. Wax, who dare to teach a

course in conservative thought in which students are informed and educated about dissident ideas

and positions, would be in constant danger of falling afoul of Penn’s ad hoc and arbitrary

restrictions. (And, of course, if the pendulum ever swings the other way, extreme feminist

professors would face similar predicaments if, for example, they invited a speaker who believed

that all consensual sex was rape.) Indeed, the proscription against “crossing the line,” whatever

that means, has no limiting principle, and could potentially exclude a considerable chunk of the

materials presented in many University courses. Anyone who teaches a class where students

may encounter readings, authors or ideas that could conceivably be labelled “racist” or “white

supremacist” or subject to other similar descriptions, however arbitrary, would be put in

jeopardy. Assigning Mein Kampf or other writings by Nazis in a class on World War II would

be potentially risky. Any assignment in a class on slavery that does not condemn the practice to

a student’s satisfaction would risk offending or traumatizing that student. If the political

orthodoxies on campus ever change, English professors may think twice before assigning the

anti-Semitic writers T.S. Eliot and Ezra Pound or asking students to read Yeats’ Leda and the

Swan, which deals with rape. The possibilities are endless.

               5. Prof. Wax Cannot Be Sanctioned Based On Course Content.

       Moreover, to provide basic fairness and adequate notice to Prof. Wax (and anyone else

who will, one day, present course content to which some people at Penn will object), it is

incumbent upon Penn to conduct a comprehensive review of the contents of Prof. Wax’s course

on Conservative Thought, including all assigned readings and topics, before this case goes any




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   further. Dean Ruger’s attempt to cite Jared Taylor’s appearance and the assignment of an

   interview with Enoch Powell as reasons to sanction Prof. Wax raises the real possibility that she

   will be punished for other items on her syllabus that Penn now believes violate its standards of

   political correctness. Prof. Wax should not be left guessing if further charges will be brought

   against her based on her efforts to educate her students on the topic of her seminar and which

   items on her syllabus will next be used against her.

          Penn’s effort to sanction Prof. Wax for her course content presents the possibility for

   serious inequity. Prof. Wax is entitled to be treated no worse than other professors at Penn:

   white, Black, liberal, or conservative. It is entirely possible, and indeed likely, that other

   professors are committing, or have committed, infractions by presenting materials in their classes

   that violate Penn’s supposed “standards” and which “cross” whatever (imaginary and arbitrary)

   “line” that Penn might choose to draw. To safeguard Prof. Wax’s interest in consistent,

   evenhanded, and fair treatment compared to other University faculty, it is necessary for Penn to

   conduct a systematic and comprehensive review of all other courses, reading lists, assignments,

   and syllabi at Penn and the results of that review must be made available to Prof. Wax.

IV.   The Charges Fail To Put Prof. Wax On Notice Of The Specific, Non-Vague Penn Rule,
      Regulation, Guideline, Mandate Or Condition Of Employment She Allegedly Violated.

          The Charges, Hearing Board Request, and other documents filed by Dean Ruger make

   repeated use of subjective, vague, and undefined terms and labels, and they do not state which

   specific, non-vague Penn rule, regulation, guideline, mandate, or condition of employment has

   been violated. This makes it impossible for Prof. Wax to respond to and defend against the

   Charges.




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        Because the Charges do not state how Prof. Wax violated a specific, non-vague Penn rule

or other source of authority when she made the statements alleged in the Charges, the Charges

rely on character assassination and name-calling. The Charges slap labels on her political,

cultural, and legal observations and, based on those labels, seek a major sanction. The use of

subjective, vague, vacuous, and undefined terms to attack and disparage and penalize Prof. Wax

violates fundamental standards of fairness and due process which are guaranteed by the

Handbook. It offers her no notice of which utterances will subject her to the threat of sanctions

at Penn. You should, therefore, as Chair, dismiss the Charges and instruct the new Charging

Party to submit a revised charging document that does not rely on such tawdry smear tactics.

        For example, Dean Ruger accuses Prof. Wax of making what he describes as

“derogatory” statements against individuals at Penn. He then relies on these statements as

grounds to impose “major sanctions” against her. But, at the same time, the Dean fails to allege

under what authority Prof. Wax can be sanctioned for making such “derogatory” statements.

The Charges do not state what rule, regulation, guideline, mandate, or condition of employment

Prof. Wax allegedly violated by making allegedly “derogatory” statements.

        Nor has Dean Ruger identified any basis for the supposed requirement to refrain from

“derogatory” comments as a condition of serving as a faculty member at Penn. That is because

there is none. There is no document at Penn that stands for the proposition that a tenured faculty

member must refrain from derogatory comments about her colleagues or risk major sanctions.

On the contrary, professors are fully entitled to express critical, pejorative, or negative judgments

in their role as academics and intellectuals. 7 Such judgments are a routine and legitimate part of
                                                  6F




7
 Imagine for a minute the number of charges that would be brought by the University against tenured professors for
making derogatory comments about their colleagues if conversations at faculty get-togethers at the Penn Club were
secretly recorded.




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political, cultural, legal, and moral analysis. Basic principles of academic freedom protect such

statements from penalty.

       The request for sanctions based on supposed “derogatory” statements is entirely

fabricated and made up for the purpose of penalizing Prof. Wax because she expressed views

that are politically unpopular on campus, are critical of present University practices, and that

elicit opposition from a vocal faction of left-leaning activist and minority students and outsiders

who demand absolute deference and conformity. An imagined prohibition on “derogatory

comments” is unjustified and illegitimate, and it cannot form the basis for any sanctions against

Prof. Wax.

       The Charges also use vague, open-ended, and abstract phrases like “mission,” “values”

and “standards” without ever offering a precise definition of those terms or citing to any specific,

pertinent, and relevant rule imposed on Penn faculty. Nor is there any attempt to explain how

Prof. Wax’s allegedly sanctionable statements violate pertinent requirements. Likewise, Dean

Ruger accuses Prof. Wax of running afoul of the “basic norms of civil and professional

behavior.” But he never specifies or describes with any particularity the behaviors or norms to

which he is referring. The Charges do not cite to any Penn regulation that Prof. Wax allegedly

violated.

       The Charges, in other words, are a classic example of the application of an ex post facto

approach to my client’s legal rights. There are no rules, regulations, guidelines, mandates, or

conditions of employment which put Prof. Wax on notice that she would be sanctioned if she

uttered allegedly derogatory or critical comments about colleagues or members of the Penn

community or made any of the other remarks cited in the charging documents. This makes




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sanctioning her for these statements completely unfair and it deprives her of her rights, which is

a violation of the Handbook.

        The lack of definitions in the Charges also raises a host of questions about the nature of

the standards imposed and how they are being applied. For instance,

           1. Does Dean Ruger’s characterization of Prof. Wax as “racist, sexist, and
              xenophobic” count as an example of “derogatory” statements by a Penn member
              that justify the imposition of sanctions?

           2. Do Dean Ruger’s statements to students at a secret town hall meeting in
              September 2019 that Prof. Wax’s presence at Penn Law “makes me angry, it
              makes me pissed off,” and that it “sucks” that Prof. Wax ”still works here,” count
              as examples of “derogatory” statements by a Penn member that justify the
              imposition of sanctions?

           3. Is the accusation that Prof. Wax promotes “white supremacy” a derogatory
              statement forbidden by Penn rules? Which rules? What is “white supremacy” in
              the context of academic debate and how is it defined?

           4. Do student accusations against Prof. Wax, including allegations of discrimination
              and bias, come within the prohibition of “derogatory” statements that justify
              sanctioning the speaker?

           5. Do comments by Penn members and students on campus bashing President
              Trump and his supporters, or accusing conservatives or Republicans of promoting
              “fascist” or “undemocratic” policies and measures count as “derogatory”?

           6. Do such statements violate Penn’s “behavioral” standards?

All these questions must be answered. If not, the Charges violate Prof. Wax’s right to be put on

notice of what Penn rule she allegedly violated which would support a major sanction against

her.

        Instead of identifying and specifying the rules or regulations that Prof. Wax supposedly

violated, and that are claimed to require or justify major sanction against her, Dean Ruger

repeatedly uses open-ended and undefined terms and labels. The result is that Prof. Wax has not

been provided with adequate notice of what exactly she must prepare to counter or refute at the



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Hearing. Above all, it is never explained in the Charges which of Prof. Wax’s remarks,

comments, and statements warrant a penalty or sanction, and why they do. As a matter of

fundamental fairness, which is guaranteed to Professor Wax as a Penn faculty member, penalties

cannot be exacted upon a respondent when the rule allegedly violated is so vague. See, e.g.,

Johnson v. United States, 576 U.S. 591, 595 (2015) (“[T]he Government violates this guarantee

by taking away someone's life, liberty, or property under a criminal law so vague that it fails to

give ordinary people fair notice of the conduct it punishes, or so standardless that it invites

arbitrary enforcement.").

       By using undefined terms – which creates a fuzzy moving target that no one can possibly

comprehend or anticipate – the Charges are a cynical, thinly disguised attempt to punish Prof.

Wax her for her unorthodox positions. The accusations as stated violate basic guarantees of

academic freedom of thought and expression and the protections afforded by her tenure contract

at Penn. As Chair you should therefore dismiss the Charges and direct the new Charging Party

to file a revised charging document which does not violate these basic legal principles

guaranteed to Prof. Wax by the Handbook.

       Others have noted that the Charges are not a valid legal document alleging forms of

misconduct that require a major sanction. For example, in a July 18, 2022 letter from the

Academic Freedom Alliance (the “AFA”) to Penn President Elizabeth Magill, the AFA noted

that Penn had officially acknowledged “the importance of a system of tenure for faculty

members as the preeminent means of fostering and protecting academic freedom in teaching and

in scholarly inquiry.” (Ex. 9 at 1.) But, as the AFA concluded, the Charges are an attempt to

undermine tenure “as an indispensable means of protecting academic freedom.” Id.




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             In accord with Penn’s pledge of tenure protections, and the contractual obligations that

     the grant of tenure to Prof. Wax entails, Penn’s ploy to punish Prof. Wax for her speech by

     applying and manipulating terms and deploying non-existent information should not be allowed

 to succeed. The Charging Party must either define his terms in a way that provides fair notice or

 drop the charges against Prof. Wax.

V.       The Charges Paint An Untrue Picture Of Prof. Wax Based On One-Sided And
         Incomplete Information.

             The University has been mistreating Prof. Wax and violating basic standards of decency

     for years in response to her unorthodox, conservative points of view, especially as they relate to

     affirmative action and immigration. At a student town hall meeting on September 19, 2019 (to

     which Prof. Wax was not invited), Dean Ruger told students that Prof. Wax’s presence at Penn

     Law “makes me angry, it makes me pissed off” and also that it “sucks” that Prof. Wax ”still

     works here.” 8 (Ex. 10 at 12.) The April 27, 2021 complaint filed against her was not given to
                    7F




     her until June 10, 2021. She was not told about the submission of the Rodriguez Report and had

     to track it down herself. Dean Ruger has repeated the assertion that minority students can expect

     Prof. Wax to be biased against them even after Prof. Rodriguez found no evidence of any such

     bias. For the past two years, Dean Ruger has barred Prof. Wax from serving on any faculty

     committees at Penn Law. She was never told about the Quinn Emanuel investigation, discussed

     for the first time in Dean Ruger’s Hearing Board Request (Ex. 4 at 2), and wasn’t interviewed by

     that firm. She repeatedly asked for more time because of her health and was constantly rejected.

     Dean Ruger has failed to mention the many laudatory letters in Prof. Wax’s support that have

     been submitted to him by present and former students, and he has not included those materials in


     8
       See https://www.plannedman.com/lifestyle/professor-wax-vs-her-university/, a story that accurately repeats
     remarks from a transcript of the meeting prepared by the Foundation for Individual Rights in Education from a
     student recording that was attached to the prior motion for Dean Ruger’s recusal as a Charging Party (Ex. 10).




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his charges or submissions to the Faculty Senate. Nor has he alluded to or discussed the

University-wide Lindback teaching prize Prof. Wax received in 2015, which is an honor that has

been awarded to less than a handful of Penn Law professors. The list goes on.

        I am therefore not surprised by the incredibly one-sided, incomplete, and false picture of

my client that the Charges paint. It is outrageous that the Dean of a law school has submitted

such charges. The Charging Party turned what should have been an unbiased, straightforward

charging document that fairly presented the facts and the rules that Prof. Was allegedly violated

into a laundry list of character assassination labels. It is worth noting the many ways the

charging documents in this matter have grossly manipulated the facts, taken language out of

context, and left unmentioned exculpatory evidence. Indeed, an impartial assessment of the

Charges against Professor Wax leads to the inexorable conclusion that no charges should have

been filed at all.


        A.      The Misuse Of The Rodriguez Report.

        Dean Ruger states in his Hearing Board Request that the Rodriguez Report “credited

many of the allegations made against Wax.” (Ex. 4 at 2.) He also states that the Report

“revealed additional instances of inappropriate conduct” (id.), but he identifies no examples or

details. The Dean’s description of the Rodriguez Report is inaccurate, to say the least, and it

completely ignores findings that, in fact, cast doubt on the charges against Prof. Wax or state

conclusions in her favor.

        Attached to this memorandum as Exhibit 10 is Prof. Wax’s motion for the

disqualification of Dean Ruger as Charging Party. In that document, Prof. Wax discusses in

detail the many ways Dean Ruger manipulated the Rodriguez Report. For example, Dean Ruger

does not mention or discuss Professor Rodriguez’s signal conclusion that his investigation



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revealed no instances of bias or discrimination in Prof. Wax’s actual teaching and treatment of

students. Specifically, the report states that “There was certainly no evidence from these

interviews to suggest that [Prof. Wax] graded minority students differently, denied them access

to professional opportunities over which she had some modicum of control, or singled them out

for special ridicule or disparagement.” (Ex. 2 at 40-41) (emphasis added).

       Dean Ruger also ignores important aspects of the Rodriguez Report by repeating

accusations based on Prof. Wax’s alleged stray remarks that the investigator found to be

inconsequential, ambiguous, potentially inaccurate, unsupported, or exaggerated. For example,

the Charges cite anonymous student objections to a comment Prof. Wax made at a panel

discussion at Penn Law held years ago that “you can have two plants that grow under the same

conditions, and one will just grow higher than the other.” After analyzing the remark and its

context, Prof. Rodriguez stated that he “cannot conclude that this statement was derogatory

under the clear definition of that term.” (Ex. 2 at 15.) He added that, “What I can say is the

overall contours of Professor Wax’s scholarship on group difference and equality principles

does not, on my best reading, support the assertion that she views Black individuals as

biologically inferior to Whites.” Id. (emphasis added).

       Dean Ruger’s filings also disregard other observations in the Rodriguez Report that cast

doubt on the seriousness or credibility of accusations made against Prof. Wax. For example,

Professor Rodriguez states that “there is no basis to believe that Prof. Wax has in fact been

discriminating against Black students in grading their exams,” and that the fears expressed by

Black students that Prof. Wax “will not give them a fair shake” in her classes or her evaluations

are “largely unwarranted.” Id. at 21 (emphasis added). In other words, Prof. Rodriguez found

that Black students’ anxiety about whether Prof. Wax would evaluate them fairly had no




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objective or reasonable basis whatsoever. This is hardly surprising. As explained more fully

below, the fears of bias are contrary to the plain evidence and are irrational and illogical

considering the blind grading protocol that is mandated in Prof. Wax’s Civil Procedure and

Remedies classes.

       Dean Ruger fails to mention these critical facts. The Charges also simply ignore Prof.

Rodriguez’s important conclusion that there is no evidence that Prof. Wax is biased against

minority students. Contrary to the report’s findings, and with no justification whatsoever, the

Charges nevertheless repeat the nefarious accusation that Prof. Wax’s statements would “lead

reasonable students to conclude that they will be judged and evaluated based on their race,

ethnicity, gender, or sexual orientation rather than on their academic performance.” (Ex. 3 at 7.)

       Dean Ruger disregarded critical findings in the Rodriguez Report when he drafted his

Charges and accused Prof. Wax of being biased against minority students. He failed to disclose

the Rodriquez Report to Prof. Wax in a timely fashion, and she only found out about the report

by asking Prof. Rodriguez directly. Dean Ruger attempted to hide the report from Prof. Wax,

Penn students, and the Penn community for more than seven months. His attempt to hide and

then blackwash the Rodriguez Report was dishonorable, dishonest, and an egregious violation of

Penn’s pledge of fundamental fairness towards accused University members.

       So, on the one hand, Prof. Rodriguez concludes that Prof. Wax is not biased against

minority students, but Dean Ruger, on the other hand, cites the Rodriguez Report as proof that

Prof. Wax is biased against minority students. If we were in federal or state court, Dean Ruger

would be sanctioned.




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       B.      The Misuse Of Student Allegations.

       The Charges and Hearing Board Request contain numerous claims that are distorted,

misleading, stale, or just plain fanciful. Particularly egregious are remarks dating from years ago

that students claim Prof. Wax made either inside or outside the classroom (it is often not clear).

In many cases Prof. Wax never made the statements the students reported. Not surprisingly,

those statements have never been verified, corroborated, or substantiated. Nor have relevant

contextual details, including classroom or other setting, lessons presented, or topics under

discussion, ever been revealed or explained. Without this additional information, the credibility

of these accusations cannot be accurately assessed, which will make it impossible for Prof. Wax

adequately to defend herself. Although this is not the place to refute or deal with each and every

charge, Prof. Wax’s need for the information requested in this memorandum in order to mount a

full defense is obvious.


       C.      The Omission Of Key, Material Facts.

       You will not find in any of Dean Ruger’s submissions a reference to the fact that many of

the comments attributed to Prof. Wax were allegedly made before she received the Lindback

Award for Distinguished Teaching in 2015. That University-wide prize for extraordinary and

outstanding performance in the classroom, which is Penn’s highest teaching honor, has been

awarded to less than a handful of law professors at Penn. Prof. Wax’s record was examined in

detail and reviewed with a fine-tooth comb prior to presenting her with the award. The intense

and exhaustive scrutiny of Prof. Wax’s record that preceded her receiving the Lindback Award,

and which was conducted by Dean of Students Gary Clinton and other officials at Penn Law and

at Penn’s central campus, included a comprehensive review of student evaluations, interviews

with a range of students, and a careful solicitation of student comments. This thorough




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examination of Prof. Wax’s record did not uncover any evidence of the comments alleged in the

Charges. No students objected, either before or after the fact, to Prof. Wax receiving this award.

        The allegations of supposedly objectionable comments that predate the Lindback Award

therefore simply lack credibility. They are most likely the product of faulty student recollections

years after the fact, tainted and inspired by Dean Ruger’s repeated criticisms, the hostility of

activist students objecting to Prof. Wax’s political views, and the relentless social media

campaign against her. (As Prof. Rodriguez observed in his report, it is “difficult to separate the

consternation with [Prof. Wax’s] expressed views themselves and the way these views affected

her treatment of students.”). (Ex. 2 at 40. 9)  8F




        D. The Baseless And False Assertions About Jared Taylor.

        Dean Ruger is seeking a major sanction against Prof. Wax because she invited Jared

Taylor to be a guest speaker in her Conservative Political and Legal Thought seminar, which the

Dean claims, “cross[ed] [a] line.” (Ex. 3 at 2.) Dean Ruger also alleges that Mr. Taylor’s views

have led to “violence towards minorities in this country.” Id.

        These assertions are meritless. The seminar on Conservative Political and Legal Thought

in which Mr. Taylor spoke is designed to educate students on the full spectrum of conservative

and right-of-center positions in the United States historically and at present, from moderate

conservative to the far right. It should be obvious that the presentation of a speaker and the

assignment of readings in the seminar are meant to inform and educate the students on these

topics, and not to endorse a position. It is bizarre, ludicrous, and entirely antithetical to the



9
 Despite the implausibility of accusations dating from before the 2015 Lindback Award, Prof. Wax is nonetheless
entitled to inspect the record and files compiled by Penn Law and Gary Clinton in support of her Lindback Award,
which are pertinent to the credibility of the accusations and essential to her defense in this case.




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University’s educational mission to suggest that students in a seminar addressing contemporary

conservative thought should be barred from hearing from a leader of a sizeable conservative

organization or from learning about that organization’s activities and beliefs. It is equally

outlandish to seek to sanction a professor for presenting this material. Are liberal professors

treated this way when they invite speakers who espouse that all white Americans are inherently,

systematically, and structurally racists? No.

       The complaints about Mr. Taylor also fail to mention the relevant fact that Prof. Wax

sought and received permission to invite Mr. Taylor to address her class and asked for and

received reimbursement from Penn Law for the student lunch at which Mr. Taylor spoke. The

Charges do not allege that the students in Prof. Wax’s seminar objected to hearing Mr. Taylor or

were disturbed, upset, “harmed,” or “traumatized” by what he had to say. In fact, the session

was extraordinarily successful and resulted in a lively discussion, with students and Prof. Wax

challenging many of Mr. Taylor’s assertions and ideas. But you won’t read about that in the

Charges.

       Dean Ruger also fails to mention that Mr. Taylor has been invited to speak on many other

college campuses and has also appeared frequently on numerous mainstream media programs

and popular podcasts. He has appeared and debated Black scholar Wilfred Reilly at Kentucky

State University, an Historically Black University. Professor Carol Swain, a Black professor,

has invited him to address students at Vanderbilt University. More examples can be found here:

https://americanmind.org/salvo/brazen-falsehood/. On September 2, 2022, Mr. Taylor is slated

to speak at Arizona State University at the invitation of that university’s chapter of the College

Republicans.




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          Moreover, Dean Ruger has provided no evidence whatsoever to support the pejorative,

groundless, and inflammatory accusation that Jared Taylor’s views have led to “violence” toward

minorities. This assertion is completely unproven and unsubstantiated. It is incumbent on Penn

to produce facts and evidence to support this claim. Relying on animadversions directed at Mr.

Taylor from the Southern Poverty Law Center (not an unbiased source) is simply inadequate.

Professor Wax’s ability to defend herself against the Charges based on Mr. Taylor’s presentation

and the contents of her course requires that Penn provide critical information relevant to this

charge.


          E. The Misuse Of The Enoch Powell Interview.

          All the above objections apply with equal force to Dean Ruger’s assertion that Prof. Wax

should be sanctioned for assigning in her Conservative Thought Seminar an interview with

Enoch Powell, a mid-20th century British politician and parliamentarian. Once again, the

content of the reading was squarely within the ambit of the seminar and relevant to the subject

matter being presented. This material was assigned to educate students about an historically

important conservative figure’s positions and thoughts on topics such as immigration and the

continuity of Western societies. The notion that the assignment of this material constitutes an

infraction against supposed University “rules” or “standards” is not only baseless and

nonsensical, but it constitutes educational malpractice. What is next? Will tenured professors at

the University of Pennsylvania be terminated if, in a seminar on European twentieth- century

conservative thought, they assign the writings of Sir Oswald Mosley?




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VI.   Dean Ruger Must Be Disqualified As The Charging Party Based On His Demonstrated
      Bias Against The Respondent.

          Dean Ruger should be disqualified as the Charging Party because he has demonstrated

   extreme bias and animus against Professor Wax. This bias fatally taints his allegations against

   her and requires his removal. A new Charging Party must be assigned before the process can

   continue.

          On May 6, 2022, Prof. Wax moved for the disqualification of Dean Ruger as the

   Charging Party. (Ex. 10.) The motion explained in detail the myriad reasons why Dean Ruger

   cannot be the Charging Party, and why the Charges should be withdrawn; the evidence of his

   bias is overwhelming.

          Not surprisingly, the Dean refused to disqualify himself. It is therefore now up to you, as

   Chair, to determine the matter. Because the evidence supports the disqualification of Dean

   Ruger as the Charging Party, the current Charges must be withdrawn, and a new Charging Party

   appointed.

          Prof. Wax provided Dean Ruger with evidence of his bias. That should be enough. But,

   in doing so, she was at a disadvantage because she was denied access to additional facts,

   materials, documents, and communications regarding his bias and animus which are in the

   custody, possession, and control of Penn. Specifically, the University should provide Prof. Wax

   with all of Dean Ruger’s communications, e-mails, texts, internet posts, talks, and speeches

   regarding Prof. Wax. The University should also produce any documents he helped to prepare at

   Penn that mention Prof. Wax and are related in any way to the charges against her.




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VII.       The Handbook’s Guarantee That Prof. Wax Will Be Treated Fairly Requires That A
           Neutral Third-Party Be Retained To Make All Pre-Hearing Procedural Decisions.

               Section II.E.16 of the Handbook states in relevant part that the procedures for sanctioning

    a member of the University “must be handled fairly” and that it is “essential to have a process

    that . . . protects the rights of faculty members” (emphasis added). The University is therefore

    contractually, legally, and morally obligated to provide Professor Wax with a process that is fair

    and protects her rights.

               The University has not done so. It has denied Prof. Wax’s multiple requests under the

    ADA for a postponement of these proceedings for a sufficient period that will allow her to fully

    recuperate from her cancer and recover from the effects of her cancer treatment. Dean Ruger

   refused to recuse himself as the Charging Party, notwithstanding his documented bias against

       her. And Associate General Counsel Burke, in his July 29 letter to me, refused to disclose basic

       information about whether the proposed Hearing Board members are impartial, which is the only

       way Prof. Wax could make an informed decision about whether to move to disqualify them for

       prejudice. (Ex. 7.)

               The galling part of the process, of course, is that the University, which is a party to the

       proceeding, is the entity making these decisions. That does not a fair and rights-protecting

       procedure make. Penn cannot be both an interested party and the decisionmaker on procedural

       questions that are crucial to an impartial resolution of the Charges. The University is acting as

       prosecutor and judge with no checks or balances on its power to make decisions critical to the

       conduct of the process. The Hearing Board is both the factfinder and the tribunal determining

       sanctions. This situation violates Prof. Wax’s contractual right to a fair proceeding that protects

       her rights.




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               Therefore, to ensure fairness and demonstrate to the watching world that the University

    and its Law School are committed to procedural fairness, the University should appoint a neutral

    third-party to decide all pre-hearing procedural questions, including what information must be

    provided to Professor Wax so she can defend herself against the Charges. Having a pre-hearing

    neutral third-party is the only way that the issue of whether Dean Ruger should be disqualified as

    the Charging Party can be fairly decided, especially since he is a colleague of the Hearing

    Board’s members. Only a pre-hearing neutral third-party can fairly decide whether proposed

    Hearing Board members should be disqualified and what information is required to make that

    call. And it should be up to a neutral third-party whether Prof. Wax’s requests for information,

     clarification, and forensic examination of student records, as detailed in this memorandum, must

     be granted so that she can properly defend herself against the Charges.

               If Penn does not appoint a neutral third-party to decide pre-hearing procedural issues, the

        process will not be fair and Professor Wax’s rights will not be protected, as guaranteed in the

        Handbook, and required by fundamental principles of fairness. Appointing a pre-hearing neutral

     third-party is therefore critical to ensuring a fair hearing that protects Prof. Wax’s rights.

     Without one, there should be no Hearing at all.

VIII.      The University Is Obligated By The Handbook To Provide Prof. Wax With Information
           Relevant To Her Procedural And Substantive Rights.

               A.      An Independent Forensic Expert Must Be Retained To Study Student
                       Performance At The Law School By Race.

               Section II.E.16.4.D of the Handbook states that the University must provide a

    Respondent with “copies of any . . . University documents that are relevant to the respondent’s

    procedural and substantive rights in this matter” (emphasis added).




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       The Charges accuse Prof. Wax of making “inaccurate statements . . . about the

characteristics, attitudes, and abilities” of Penn Law students. They also allege that Prof. Wax

“disseminated false information about segments of the University community.” These

allegations are an obvious reference to Prof. Wax’s statements about Black law student

performance during a discussion of the pros and cons of affirmative action with Professor Glenn

Loury (misspelled as “Lowry” in the Charges) in a blogging heads podcast in 2017. Similarly, in

his Hearing Board Request, Dean Ruger quotes Prof. Wax’s statement in that podcast that “I

don’t think I’ve ever seen a Black student graduate in the top quarter of the [Penn Law School]

class and rarely, rarely in the top half”; “I can think of one or two students who’ve graduated in

the top half of my required first-year course”; and “the Law Review has a diversity mandate.”

My client is also alleged to have said that “no law professor can honestly say [that] Blacks are

evenly distributed throughout the class, top, middle, and bottom.”

       The remarks to which Dean Ruger objects fall into two categories. First, Prof. Wax’s

statement on Mr. Loury’s podcast about student rank in class at graduation relates to her personal

observations regarding overall student performance (“I don’t think I’ve ever seen . . . .”). This

concededly is not an assertion intended to objectively reflect the overall situation at Penn Law,

but only Prof. Wax’s experience. Any claim that Prof. Wax lied about her own observations is

implausible. Prof. Wax has also made positive assertions of fact about actual student

performance in her Civil Procedure class which are in line with previous findings, based on

actual data, about Black student performance at elite law schools. Prof. Wax has also made

statements about the Law Review’s selection procedures at Penn. Both these statements are

subject to objective evaluation based on facts within the possession of Penn Law School.




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        Dean Ruger’s repeated objections to these assertions, which he characterizes as false, are

at the heart of his request for sanctions against Prof. Wax. Penn Law and Dean Ruger should not

be allowed to smear and sanction Prof. Wax for allegedly speaking falsely without backing up

these allegations. Fundamental fairness requires Penn to prove its allegations and to provide my

client with the means to defend against such charges. Therefore, pursuant to the Handbook,

Penn Law must provide Prof. Wax with statistics, facts, evidence, and information about the

performance of Black students at the Law School. This is best done via a forensic analysis by an

independent expert, chosen by both parties and paid for by Penn. 10 Simply put: Penn Law has
                                                                             9F




the evidence that will demonstrate that Prof. Wax’s remarks were accurate and truthful, and

production of this information must occur before any further proceedings in this case take place.

        It bears repeating that the comments to which Dean Ruger objects are in line with facts

reported by many others. As noted by Robert Verbruggen in a 2018 National Review article,

Richard Sander at UCLA wrote in 2004 that, “among elite schools, fewer than 10 percent of

Black students ranked in the top half in terms of first-year grades; at all schools, fewer than 15

percent of Blacks made the top half of third-year cumulative grades.”

https://www.nationalreview.com/corner/if-amy-wax-is-wrong-lets-see-the-data/. An

independent forensic expert will be able to tell us if those patterns are also at work at Penn Law.




10
  Individuals who can perform this analysis include economist Roland Fryer of Harvard, Peter Arcidiacano of
Duke, law professor Richard Sander of UCLA, or Richard Hanania (Center for the Study of Partisanship and
Ideology). An outside expert is necessary to guard against the manipulation of evidence of student grades as well as
student racial identity that might obscure the actual profile of performance across groups.




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         B. An Independent Forensic Examination Of Class Performance By Race Is Needed
            To Test The Accuracy Of Dean Ruger’s Allegations That Prof. Wax’s
            Statements Were “False” Or “Inaccurate.”

         Dean Ruger’s claims that Prof. Wax’s assertions are “false” or “inaccurate” are cited as a

justification for sanctioning her. But Dean Ruger has never provided any data on Black student

performance at Penn Law to back up his accusation. Indeed, he has stated on at least one

occasion that the law school keeps no records by race of student performance – a statement that

is entirely inconsistent with his insistence that Prof. Wax’s assertions are false and inaccurate! 11                10F




If it is true that the law school does not keep records on student performance by race, then no

Charging Party can sustain the burden of proving that Prof. Wax’s statements were “false” or

“inaccurate.” If it is not true, and the law school does keep records on student performance by

race (or they can be determined), then Dean Ruger has been lying and the school has the

information necessary for Prof. Wax to mount a defense.


         C. An Independent Forensic Examination Of Academic Performance By Race Will
            Also Demonstrate That Dean Ruger Breached The University’s Confidentiality
            Rules By Accusing Prof. Wax Of Making “False” Or “Inaccurate” Statements.

         Dean Ruger also accuses Prof. Wax of breaching the University’s rules on confidentiality

by making observations about Black student performance at Penn Law. If that is the case (and

our position is to the contrary), then someone needs to bring charges against Dean Ruger because

he is breaching those same confidentiality rules by stating that Prof. Wax’s statements are false.

Those alleged rules make no distinction between types of assertions revealing information about

student performance, whether positive or less so. The double standard here is manifest and

glaring. Moreover, by commenting on the caliber of Black student performance at Penn Law


11
  See Email From Dean Ruger to Members of the Penn Law Community, dated March 13, 2018 (“Penn Law does
not . . . collect, sort, or publicize grade performance by racial group.”). Even if it is accurate that Penn Law has not,
in the past, collected and sorted performance by racial group, there is no barrier to gathering and analyzing the
pertinent data now.




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and asserting the inaccuracy of Prof. Wax’s claims, Dean Ruger has waived any confidentiality

objections to our requested independent expert and third-party examination and disclosure of the

pattern of student grades by race in these proceedings.


       D. The Independent Forensic Expert Will Also Study Facts Relevant To Whether
          Professor Wax Is “Biased” Against Minority Students Relative To Other
          Professors.

       The Charges also allege that “reasonable” minority students harbor the fear that Prof.

Wax is biased against them, and that she will not evaluate them objectively or fairly. (Ex. 3 at

5.) These contentions were used to strip Prof. Wax of her mandatory first year Civil Procedure

class as well as to justify creating redundant parallel classes for other courses she teaches.

       However, as already noted, Prof. Rodriguez reviewed the allegations from the April 27,

2021 complaint that Black students could not get a “fair shake” in Prof. Wax’s class and found

them “largely unwarranted.” (Ex. 2 at 21.) He ultimately concluded that minority and Black

students’ fears that Prof. Wax would be biased against them were unreasonable and unfounded.

First, there was absolutely no evidence of bias by Prof. Wax against anyone. Id. In addition, the

law school uses a blind grading policy for first-year classes, which Prof. Rodriguez found that

Prof. Wax had never breached. Id. at 21. Prof. Rodriguez concluded that “there is no basis to

believe that Prof. Wax has in fact been discriminating against Black students in grading their

exams.” Id. (emphasis added). The degree of dishonesty shown by Dean Ruger’s failure to

mention the blind grading policy in any of his filings in this case is staggering.

       The blind grading protocol, which is mandatory for all first-year classes, prevents

professors from seeing the identity of students before submitting grades and permits minimal

adjustment of grades thereafter. Because of this practice, Prof. Wax was never aware of the race

of her Civil Procedure students when assigning grades in the course, which were based



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exclusively on their final examination score. Moreover, Prof. Wax never adjusted grades up or

down – even slightly – for class participation or other factors after the names were revealed.

Therefore, it was simply impossible for Prof. Wax to have exercised any bias in her grading or

evaluation of students. This was the conclusion of Prof. Rodriguez.

       In sum, there is no basis whatsoever to conclude that Prof. Wax was biased against

minority students in grading exams for the simple reason that Penn’s blind grading policy makes

that impossible. Nonetheless, Dean Ruger continues to repeat, as a basis for sanctioning Prof.

Wax, that “reasonable” minority students could conclude that she will be biased against them

and will treat them unfairly. (Ex. 3 at 7.) To discredit these scurrilous claims and conclusively

demonstrate their lack of any reasonable or objective basis, a forensic expert must be retained to

study the grades handed out to Prof. Wax’s students by race or minority status. The expert will

compare the grades assigned in Professor Wax’s classes to those assigned in other mandatory

Civil Procedure classes, as well as in other first-year blind graded courses in other subjects.


       E. The Law School Must Produce All Information On How Members Of The Law
          Review Are Chosen And The Extent To Which Race Is A Factor.

       Dean Ruger has also faulted Prof. Wax for suggesting, allegedly falsely, that the Penn

Law Review practices some form of racial affirmative action. The Dean’s accusation is puzzling

given Penn Law Review’s own public admission that the Law Review has used race as a factor

in choosing student members and leaders, as documented in a 1995 New York Times article. See

https://www.nytimes.com/1995/07/07/us/law-review-masks-diversity-in-a-new-admission-

system.html?smid=em-share.

       No evidence has been offered that the Law Review’s policies or practices have changed

since that admission. To clarify whether Penn Law Review continues to use affirmative action in




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selecting members and editors, Prof. Wax is entitled to have evidence pertinent to that question

made available for analysis and examination.


       F. What The Independent Forensic Analysis Will Entail.

       The analysis by an independent forensic expert will be based on a review of student

grades, class rank, and class honors at Penn Law by race, with a focus on Black versus non-

Black student performance for the years 2001-2022 (Prof. Wax’s years teaching at Penn Law).

Names will be redacted, and the focus will be on first-year, blind graded classes, but it will also

include grades from upper years, both blind graded and not. Upper year classes that are not blind

graded should be analyzed separately because they might be less probative of actual racial

differences in academic achievement in light of trends in grade inflation and the potential efforts

of instructors to try to create more racially equalized results. The analysis will also include

Black versus non-Black student GPA and class rank at graduation.

       Relevant information for the analysis can be gleaned in part from documents listing

graduating students by class rank that have been prepared yearly for use by the Penn Law

Clerkship committee on which Prof. Wax served for many years. Those rank lists can then be

matched up with information on students’ race from admissions files and other sources of

information. (The outside forensic expert will apply his expertise to the question of how best to

perform the analysis.) Other pertinent sources of information in Penn Law records must also be

made available so that a complete and comprehensive analysis can be performed.

       The forensic expert will also compare the academic records and credentials of Black

versus non-Black law review members from 2001-2022. The analysis will focus on first year

grades in blind-graded classes, which is the most important information available to the Law




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Review at the time membership decisions are made. But it will also include scrutiny of the

overall records of Law Review members by race for all three law school years.

       The forensic analysis will also include (but will not be limited to) the following:

   1. A statistical comparison of the grades of Black students versus non-Black students in all
      first-year blind graded classes from 2001-2022, including an analysis of whether Black
      students are uniformly represented throughout the grade distribution in each class on each
      subject and, if not, the extent to which their grades deviate from an expected uniform
      distribution of Black students for each class in each subject and overall. This should
      include specific information on the percentage of Black students’ final grade rankings in
      each segment of each first-year class, including all deciles, the top half, and in the top
      quarter of each class.

   2. An analysis of whether the distribution of Black student grades in Prof. Wax’s first year
      Civil Procedure class from 2001-2018 (when the Dean stripped her of first-year teaching
      responsibility) differs or deviates from the distribution for classes taught by other Civil
      Procedure professors, and by other professors in other first-year subjects. This analysis is
      necessary to determine whether there is any objective evidence that Prof. Wax is “biased”
      in her evaluation of Black students compared to other first year professors in Civil
      Procedure and other subjects.

   3. Data on the distribution from 2001-2022 of graduating Black students in the law school
      class, including their ranking compared to other students and the percentage of Black
      students who receive honors at graduation compared to their presence in the class overall.
      This would include, but would not be limited to, documents listing graduating students’
      class rank prepared yearly for the faculty Clerkship Committee at Penn Law.

   4. The first-year grades and GPA, final all-year GPA, and final class rank of Black versus
      non-Black student editors and editorial board members of the Penn Law Review for
      2001-2022.

       G. Now Is The Time To Release Information About Grade Performance By Race At
          The Law School.

       Prof. Wax’s demand for a forensic analysis of class performance by race is an issue of

fundamental fairness, the protection of rights, and fidelity to the Handbook which guarantees

Prof. Wax access to information concerning her substantive rights. The University cannot seek

to sanction Prof. Wax for her comments on Black student performance at Penn Law while, at

the same time, refusing to provide information about Black student performance at Penn Law.




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As Robert Verbruggen bluntly puts it in his article: “if Penn Law is different” from the

outcomes at elite schools like UCLA that also practice affirmative action, “let’s see some

numbers.” Indeed. Let’s see some numbers. Those numbers are essential to my client’s

defense; the production of those numbers is guaranteed by the Handbook; and the fairness

guaranteed by the Handbook mandates their production.

       It is also long past time for Penn to reveal the factual basis and underlying evidence

pertinent to the accusation that Prof. Wax spoke inaccurately about the racial pattern of student

performance at Penn Law, that “reasonable” minority students can expect her to be biased

against them, and that Prof. Wax falsely asserted that Penn Law Review takes race into account

in choosing its members and editors. The disclosure and examination of all materials pertinent to

these allegations are essential to my client’s ability to defend herself against charges that are

grievously injurious to her reputation and that the Dean is relying on in his request for “major

sanctions” against her.

       The evidence relevant to these claims and essential to Prof. Wax’s defense is solely in the

possession, custody, and control of Penn Law. Therefore, the Law School and Dean Ruger must

permit and arrange for a thorough and comprehensive forensic examination and analysis by an

outside expert of the data, evidence, and facts pertinent to those accusations. A person agreed

upon by both parties must be appointed at Penn’s expense.

       In sum, fundamental fairness requires that Professor Wax be given evidence pertinent to

her affirmative defenses to the Charges. That can only be done, in this case, by an independent

forensic analysis approved by both parties. The University’s failure to provide the evidence

requested would violate basic principles of justice and fairness. Fidelity to fairness and Prof.

Wax’s rights are guaranteed by the Handbook. They are also Penn Law School values that it



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pledges to honor and uphold, and that are essential to the standards that the Law School sets for

its students. Without Penn’s disclosure of the necessary data and information, Prof. Wax will be

unable to mount a defense to the Charges. It would be as if a prosecutor refused to provide

exculpatory Brady material but went full steam ahead with a trial. It’s unconscionable. Under

such circumstances, any hearing would be a show trial worthy of Stalin.

       If Penn fails to either provide the information requested, or retain an agreed-upon

forensic expert, Prof. Wax will continue to suffer from the unsubstantiated and unproven

accusations that she spoke falsely about student performance and the Law Review admission

process. Failure to provide the information means that the University will be keeping from her

evidence that only it has and that will categorically rebut the charge that she is biased against

minority students. And all of this will transpire while grievous damage is done to her academic

and personal reputation. The situation must be rectified.


       H. Ramifications Of Not Producing The Information Requested.

       If the University refuses to provide Prof. Wax with information about grade performance

at the Law School by race, then Dean Ruger must publicly retract his statement that Prof. Wax

spoke falsely and inaccurately about Black Penn Law student performance. Failure to produce

the material would also require that Dean Ruger publicly retract his statement that “reasonable”

Black Penn Law students can expect and fear that Prof. Wax will be biased against them. He

would also have to publicly retract his assertion that Prof. Wax spoke falsely about the Penn Law

Review’s use of race-conscious methods to select editors. Finally, he would have to restore Prof.

Wax’s prerogative to teach first year Civil Procedure and ensure that she has the option to do so

in fulfillment of her teaching duties.




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          Conversely, if the data is made available and it does prove that Professor Wax’s

   observations about Black Penn Law student performances were accurate and true (and not

   “inaccurate” and “false”), then, obviously, the Charges must be withdrawn, and the Dean must

   make the public statements outlined above. This is because accusing a professor of “racism”

   without proof or validation is not only unfair, unjust, and contrary to basic principles of due

   process, but it is also libelous. If Penn Law and the Dean fail to provide evidence requested or,

   in the alternative, fail publicly to retract the charges against Prof. Wax, then Penn Law and Dean

   Ruger will be subject to a libel claim.

IX.   Other Information Which The University Must Provide Before Prof. Wax Can File An
      Answer.

          Prior to any further proceedings in this case, Prof. Wax must be provided with complete,

   comprehensive, and detailed information and clarification on all the allegations against her, and

   the materials and documents pertinent to those allegations. These are absolutely necessary for

   Prof. Wax to provide an affirmative defense and to fulfill Penn’s contractual guarantee of

   treating her fairly and protecting her rights, as memorialized in the Handbook. Prof. Wax must

   also be given ample time to investigate and prepare for any subsequent hearing.

          Therefore, to streamline the process and create a useable record for the Hearing Board

   and any tribunal which may review the process, we also request that you, as Chair, instruct the

   University to provide the following:




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        1. A revised charging document that:

                 a. Presents the charges in an orderly, chronological, and accessible format to

                     which we can provide an Answer; 12     11F




                 b. Includes the dates on which Prof. Wax’s alleged statements were made,

                     provided in chronological order and with cross references between documents

                     for each statement;

                 c. Contains a complete statement of all allegations, accusations, and charges that

                     will be presented to the Hearing Board;

                 d. Includes an accurate and complete explanation of the context for the alleged

                     remarks cited in the Charges and that honestly and accurately captures the

                     content of the argument or point Prof. Wax was making or position she was

                     stating; and

                 e. Attaches as exhibits all supporting materials and pertinent reports for each

                     allegation.

        2. All evidence upon which the new charges are based.

        3. A list identifying every individual who lodged complaints against Prof. Wax, their

            years attending Penn Law School, if pertinent, and their current contact information.

        4. All memoranda, transcripts, reports, and all other documents prepared by Professor

            Daniel Rodriguez in connection with his investigation.

        5. Precise, specific, and particularized definitions of the terms “racist, sexist,

            xenophobic, and homophobic,” “white supremacist” and “white supremacy.”




12
  Ideally, a revised charging document would resemble a complaint or indictment with numbered paragraphs to
enable Prof. Wax to prepare an answer and affirmative defenses.




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 6. A statement that, in connection with those terms, provides Prof. Wax with the

    following information:

        a. Where those definitions are found in materials governing the speech and

            expression by University members;

        b. The official policy, procedure, guideline, manual, or other written

            communication containing those definitions and forbidding statements

            meeting the definitions;

        c. How and whether those definitions apply to each alleged statement, comment,

            or remark by Prof. Wax as set forth in the revised charging document; and

        d. The reasons that those statements serve as justification for officially

            penalizing or sanctioning Prof. Wax, and the source of authority for such

            sanctions in the materials governing faculty speech.

 7. A precise definition and explanation of the “mission, values and standards” of the

    University, and a statement of the official policy, procedure, guideline, manual, or

    other written communication setting forth those definitions.

 8. A precise definition and explanation of the “basic norms of civil and professional

    behavior” which Professor Wax allegedly violated, and a copy of any University

    policy, procedure, guideline, manual, or other written communication which sets forth

    those “behavioral norms” in precise, particularized, and specific terms that provide

    ample and adequate notice to University members enabling them to determine which

    pronouncements violate those standards.

 9. Based on the definitions provided in the items above, a precise and detailed

    explanation of why each of the alleged statements or remarks made by Prof. Wax, as




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    listed in the revised charging document, meets the definitions, and how, exactly, those

    statements violate the “missions, values and standards” of the University and the

    applicable “basic norms of civil and professional behavior.”

 10. A definition of the term “derogatory” as applied to Prof. Wax’s statements; the

    source of the prohibition against making “derogatory” statements; an explanation of

    how the term, as defined, applies to her supposedly offending statements; and an

    explanation of whether the term, as defined, applies to and renders actionable

    statements by University members accusing Prof. Wax of “racism, sexism,

    xenophobia, homophobia” or otherwise criticizing her supposed remarks or

    statements, such as Dean Ruger’s comments at the September 19, 2019 secret Town

    Hall meeting with students. (Ex. 10 at 3.)

 11. A precise definition and explication of the “core values” of the University and any

    official document, policy, guideline, memorandum, procedure, or other written

    communication which memorializes what the “core values” of the University are.

 12. All other statements by Penn members that have ever been found by Penn to be:

        a. “racist, sexist, xenophobic, and homophobic”;

        b. “white supremacist”;

        c. violative of the “mission, values and standards” of the University;

        d. violative of the “basic norms of civil and professional behavior”;

        e.   violating a prohibition on “derogatory” comments that Penn has deemed

             actionable or the basis for sanctions against a Penn University member.

 13. The name of any University member who was sanctioned or terminated by the

    University for undermining the “core values” of the University or for making “racist,




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             sexist, xenophobic, and homophobic,” or “white supremacist” statements, or who was

             found to have violated the “mission, values and standards” of the University, or the

             “basic norms of civil and professional behavior,” or to have made “derogatory”

             comments about Penn members or others.

        14. In connection with any of the findings and violations listed in items 12 and 13 above,

             provide as well:

                 a. The contact information for the individual(s);

                 b. The charges in each instance;

                 c. The evidence presented in each instance;

                 d. Any written documents generated in connection with each instance; and

                 e. The disposition of any charges and the sanction imposed, if any.

        15. All records related to the Quinn Emanuel investigation, including amounts invoiced

             and paid, reports, memoranda, transcripts, and other documents, as well as names and

             contact information for every person interviewed or consulted by the law firm in this

             matter. 13
                     12F




        16. All evidence that the Charging Party intends to introduce in support of the allegation

             that Jared Taylor’s views have led to violence towards minorities.

        17. All letters and correspondence that Dean Ruger has ever received from students and

             other individuals that are critical of Penn’s treatment of Prof. Wax and that have been

             submitted in support of her, her teaching, her role in the University, her right to free

             expression, her opinions, or are otherwise relevant to the charges against her.




13
  That Prof. Wax was never informed of the Quinn Emanuel investigation and never interviewed by that firm is
shocking.




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 18. All evaluations, including student comments and ratings, in courses Prof. Wax has

    taught at Penn Law from 2001-2022.

 19. The complete file and materials relevant to Prof. Wax’s 2015 Lindback Award,

    including documents prepared, materials collected, and interviews conducted by Dean

    Gary Clinton as well as all communications, documents, and reports prepared by

    other University officials in connection with the decision to award the Lindback

    Award to Prof. Wax.

 20. Any study, document, or analysis of which Penn or Dean Ruger is either aware or

    which is in their possession, custody, and control, which demonstrates or supports the

    claim that Jared Taylor’s views have incited or caused “violence towards minorities

    in this country.”

 21. The name and contact information of any individual who was the victim of violence

    that Penn claims was caused by the views expressed by Jared Taylor when he was on

    campus; and any evidence that Mr. Taylor’s appearance as a speaker in Prof. Wax’s

    Conservative Thought seminar caused harm to any student or University member,

    including students in Prof. Wax’s Conservative Thought class.

 22. A comprehensive, point by point review addressing the statements, findings, and

    conclusions in the Rodriguez Report regarding the charges filed against Prof. Wax in

    April 2021, and an adjustment of charges in accordance with his findings on bias and

    other relevant matters.

 23. A detailed, precise, and specific definition and description of the “line” that Professor

    Wax’s invitation to Jared Taylor to speak to her Conservative Thought seminar

    allegedly “crossed,” the source(s) in the Handbook or elsewhere for the definition and




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    description of that “line,” and the basis in the University’s rules or regulations for

    imposing on Penn members the obligation not to “cross” such a “line.”

 24. The results of conducting an item-by-item review of Prof. Wax’s Conservative

    Thought seminar syllabus and reading lists for all the years she has taught the course

    at Penn, with a full evaluation and explanation of whether each item has or has not

    “crossed a line” as defined by Penn.

 25. Complete information on whether and when other syllabi and courses at Penn and

    Penn Law have been examined and reviewed for “crossing the line” or for other

    infractions and offenses of supposed “standards” or “values” of the University. The

    information must include, but is not limited to, a comprehensive report on whether

    Penn has reviewed and evaluated other course syllabi for items or readings by

    individuals who, for example, have expressed any negative opinions of minority

    groups or have ever held views that Penn defines or characterizes as “racist,” “sexist,”

    “xenophobic,” “white supremacist,” “homophobic,” “derogatory” or in violation of

    Penn’s supposed “values,” “mission,” or “behavioral standards.”

 26. For each statement, remark, or comment allegedly made by Prof. Wax as reported by

    a student, faculty member, or other person affiliated with Penn:

        a. Whether the comment was made in class or out of class.

        b. For alleged in-class comments:

                i. In which course it was made, and on what date;

               ii. What lesson was being presented in that session and what topic

                   addressed;




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             iii. How the supposed statement was relevant to the topic, and how it

                  came up or was introduced in discussing the topic;

             iv. Whether and when the student complaining of the remark reported the

                  remark to Dean Gary Clinton or to any other staff member at Penn

                  Law;

              v. A list of all students and individuals who were present when the

                  alleged remark was made;

             vi. A list of other students who were present and who have corroborated

                  the remark; and

            vii. A list of the other students who were present and who reported the

                  remark to Dean Gary Clinton or other staff members at Penn.

       c. For out of class remarks:

              i. The date of the supposed statement, remark, or comment;

              ii. The occasion or context for the alleged remark – e.g., a formal panel

                  discussion, academic presentation, social gathering, meal or coffee

                  with students, informal conversation in a Penn building or elsewhere,

                  during Prof. Wax’s office hours. etc.;

             iii. The topic or issue being addressed and how the remark related to those

                  or came up in the proceeding or conversation;

             iv. A list of students or others who heard or witnessed the supposed

                  comment or remark;




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               v. A list of other students or individuals present when Prof. Wax made

                   the supposed remark or comment and who have corroborated them;

                   and

               vi. When or whether the other students or individuals present reported the

                   comment or remark to Dean Gary Clinton or other staff at Penn.

 27. All communications on whether Penn has ever imposed any type of sanction,

    including “major sanctions,” on any other professor or University member for

    engaging in speech or expression in or outside of class allegedly in violation of

    “university standards.”

 28. All communications regarding whether other University members have been found to

    have committed a “major infraction” or to have evinced a “disregard” for the Penn

    Community, and whether any of those individuals have been sanctioned for their

    speech, opinions, or expression.

 29. For the years 2000 to 2022:

        a. The name of any individual who was alleged to have committed a major or

            minor infraction of “University standards” and, in connection therewith,

            provide as well:

                i. The charges;

               ii. The evidence presented against this individual; and

               iii. Any documents generated in connection with the charges.

        b. The name of any individual who was terminated by the University for

            committing a major infraction of “University standards” and, in connection

            therewith, provide as well:




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                        i. The charges;

                       ii. The evidence presented against this individual; and

                      iii. Any documents generated in connection with the charges.

X.   Prof. Wax’s Offer To Resolve The Matter.

        Dean Ruger wrote to Prof. Wax that he intended to file charges with the Faculty Senate

 unless “a mutually agreed resolution of the issues presented” could be reached, as mandated by

 the Handbook. (Ex. 3 at 10.) But he has never made a concrete offer of settlement. Instead, he

 has simply informed Prof. Wax of the option of retiring on the same terms available to other

 Professors of her age and experience. That is not a settlement offer.

        Professor Wax believes that a settlement in this matter is possible. The charges against

 her bring to the fore critical issues of academic freedom and expression. The crux of the dispute

 concerns alleged statements and comments that Dean Ruger and Penn tar as “racist, sexist,

 xenophobic, and homophobic” or otherwise find worthy of sanctions. Some of those allegations

 are simply false and some deliberately or carelessly misrepresent her remarks and positions, but

 others refer to Prof. Wax’s actual words. Prof. Wax considers the statements she actually made

 to be protected speech, fact-based opinions, and the expression of positions and views on

 sometimes controversial topics that were arrived at through research, teaching, reading, and

 observation. Under fundamental principles of academic freedom, Prof. Wax is fully entitled to

 say what she said without penalty or sanction.

        The charges against Prof. Wax, and the University’s justifications for those charges, are

 also relevant to the adequate training of lawyers. Penn Law graduates must operate within an

 adversary system that requires them to hear and deal with a wide range of positions and opinions,

 including many with which they adamantly disagree. They must also operate within a free



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society in which large numbers of citizens do not share their assumptions, attitudes, beliefs, or

values. It is vital to the quality of education at Penn and Penn Law that the members of the

University community be able to discuss a range of ideas pertinent to law and policy freely and

openly without fear of discipline, punishment, or penalty.

       Dean Ruger and members of the Penn Law community, including many students and

alumni, have evinced a dismaying lack of understanding of the core axioms and tenets of free

expression, the meaning of the University’s declared commitments to freedom of thought and

speech for faculty and other members, the obligation to show tolerance toward a wide range of

dissenting ideas, and the contractual guarantees and protections afforded faculty by tenure.

Instead of correcting this ignorance and these misunderstandings, Dean Ruger has reinforced and

perpetuated them. On the Penn law website, Dean Ruger is quoted as stating that, “A great law

school should reflect the diversity of opinion and background that exists in the outside world.”

In a presentation to the Faculty Senate in February 2022, Law Professor Anita Allen

acknowledged that Penn is committed to upholding the principles and practices enshrined in the

First Amendment of the Federal Constitution. However, in bringing charges against Prof. Wax

for her expressed beliefs, opinions, and statements, Penn has ignored and contravened these

commitments, to the distress and confusion of many Penn members and students.

       A well-established tenet of First Amendment doctrine, designed to protect the expression

of a “diversity of opinion” that the Dean states is a core principle of Penn Law School, is the oft-

repeated precept that a listener’s offense, upset, hurt, distress, or other negative emotional or

psychological response, cannot be allowed to silence speakers or form the basis of any sanctions

or formal penalty imposed on them. This is known as the “heckler’s veto” principle. Penn Law

School has egregiously failed to inform and instruct students that giving in to a “heckler’s veto”




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on campus is a grievous threat to free speech practices and academic values more generally. To

the contrary, Penn Law and Dean Ruger have flouted this basic, central principle by encouraging

and permitting students and others to exercise a “heckler’s veto” over Prof. Wax. By giving in to

students’ untutored, uninformed, emotional reactions and whims, and by uncritically indulging

indiscriminate claims of “offense,” “harm,” and emotional “trauma,” Dean Ruger and Penn Law

are using a “heckler’s veto” to suppress unpopular ideas on campus by attempting to punish Prof.

Wax for her unapproved opinions. By doing this, Dean Ruger and Penn Law have repudiated

long-standing and vital protections for dissenting voices and betrayed fundamental principles of

academic free speech and expression.

       Penn Law’s abandonment of the responsibility to teach and enforce the basic democratic

principles of free expression and tolerance calls out for correction. The mishandling of Professor

Wax’s case represents a “teachable” moment for the students, faculty, Penn Law alumni, and the

public. Prof. Wax therefore proposes that the Charges against her be withdrawn, and that Penn

Law set up a series of tutorials and presentations on classic free speech principles, defenses,

political roots, and educational and democratic benefits. These tutorials would look at past and

present defenses of free expression on campus, including but not limited to the Yale Woodward

Report, the Chicago Principles, the Kalven Report, and the American Association of University

Professors’ statements defending professors’ expressive rights. See, e.g., the 1994 AAUP

statement On Freedom of Expression and Campus Speech Codes, stating that, “On a campus that

is free and open, no idea can be banned or forbidden. No viewpoint or message may be deemed

so hateful or disturbing that it may not be expressed.”

       Some of the tutorials should present the positions put forward in a document posted on

the Heterodox Academy website on August 5, 2022, entitled Merit, Fairness, and Equality by




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Dorian Abbot, Ivan Marinovic, Richard Lowery, and Carlos Carvalho, which eloquently and

candidly explains the basis for a principled opposition to current illiberal, “woke” practices on

campus, and argues for an alternative approach centered on free expression and the search for

truth.

         Members of the Penn community and others would be invited to address and explore,

among other things, the importance and benefits of a free and open exchange of ideas in the

context of educating young people, with an emphasis on training attorneys to function within an

adversary system in which they must hear, consider, and deal with all sides of important legal

and policy questions.

         The program would include presentations and seminars on substantive topics related to

Prof. Wax’s statements and positions and conservative opinion generally. Such presentations

would ensure that members of the Penn Law community hear conservative perspectives and

points of view that are rarely if ever articulated or fully explored on campus today. Professor

Wax’s course in Conservative Political and Legal Thought provides a usable blueprint for the

topics and ideas to be covered by these presentations. Hearing those viewpoints is essential to

the proper education of Penn Law students and students at Penn more generally.




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                                             Conclusion

       I respectfully request that you postpone these proceedings until Prof. Wax’s cancer

treatment is completed. You are putting her health at danger.

       I cannot know whether to move to disqualify proposed Hearing Board members if the

University does not give me basic information about whether they have been compromised by,

for example, the Anita Allen presentation. Please have the University provide that information.

       A new charging document, filed by a new Charging Party who is not biased against my

client and that corrects the defaults in the Charges, should be ordered. As Chair, it is your job to

make sure that there is an even playing field for Prof. Wax. Given the severity of the charges,

and the fact that the University is both charging party and investigative officer and judge, it is

necessary that you retain a neutral third-party to determine pre-hearing issues. Please do so.

       The University has in its possession, custody and control, access to information which

demonstrates the falsity of some of the allegations against Prof. Wax. Especially important is the

retention of an independent forensic expert to analyze law student performance by race.

Likewise, the University must provide information and clarification relevant to its decision to

seek sanctions for instances of speech and expression or for comments Prof. Wax has allegedly

made. Please instruct the University to retain the requested expert and provide the other

information requested.




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       Finally, I have presented a good-faith settlement proposal which will make the University

of Pennsylvania the gold standard in how to deal with preserving academic freedom against

claims of allegedly sanctionable speech. I encourage you to give it serious attention.

Dated: August 31, 2022

                                                     By:     _________________
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